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                       Exhibit 13
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   B O I E S ,            S C H I L L E R                 &        F L E X N E R              L L P
30 SOUTH PEARL STREET ● 11TH FLOOR ● ALBANY, NY 12207 ● PH: 518.434.0600 ● FX: 518.434.0665



                                                   March 4, 2014

      VIA E-MAIL AND FIRST CLASS MAIL

      Hon. Vaughn R. Walker (Ret.)
      c/o Mr. Jay Weil
      Federal Arbitration, Inc.
      288 Hamilton Avenue, 3rd Floor
      Palo Alto, California 94301
      jay.weil@fedarb.com


             Re:     In re Cathode Ray Tube (CRT) Antitrust Litigation
                     MDL No. 1917; Case No. 07-cv-5944 SC (N.D. Cal.)

      Dear Judge Walker:

              Pursuant to Rule 7-3(d)(2) of the Local Rules of Practice in Civil Proceedings before the
      United States District Court for the Northern District of California, the Direct Action Plaintiffs
      respectfully submit this Statement of Recent Decision and hereby bring to your attention the
      recent decision in Vichi v. Koninklijke Philips Electronics, N.V., et al., C.A. No. 2578-VCP, slip
      op. (Del. Ch. Feb. 18, 2014) (“Vichi Decision”).

              This decision pertains to the Direct Action Plaintiffs’ Motion to Compel production of
      the European Commission’s decision concerning its investigation into the price-fixing of CRTs.
      See Vichi Decision at 36-37 & n.180 (describing how the European Commission made a partially
      redacted copy of its CRT decision available to the Delaware Court of Chancery, as well as to the
      parties to the Vichi litigation).

             A copy of the Vichi Decision is attached hereto as Exhibit A.


                                                   Respectfully,

                                                   /s/ Philip J. Iovieno
                                                   Philip J. Iovieno
                                                   Liaison Counsel for the Direct Action Plaintiffs
      Exhibit A

      cc (via electronic mail only):

      Defense counsel of record
      Class counsel of record
      California Attorney General




                                              WWW.BSFLLP.COM
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      IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE


CARLO VICHI,

            Plaintiff,

     v.
                                                  C.A. No. 2578-VCP
KONINKLIJKE PHILIPS ELECTRONICS,
N.V., LG.PHILIPS DISPLAYS FINANCE LLC,
and LG.PHILIPS DISPLAYS
INTERNATIONAL LTD.,

            Defendants.



                                    OPINION

                           Date Submitted: June 3, 2013
                          Date Decided: February 18, 2014


Rolin P. Bissell, Esq., Tammy L. Mercer, Esq., Paul J. Loughman, Esq., Elisabeth S.
Bradley, Esq., YOUNG CONAWAY STARGATT & TAYLOR, LLP, Wilmington,
Delaware; David R. Marriott, Esq., David Greenwald, Esq., CRAVATH, SWAINE &
MOORE, LLP, New York, New York; Attorneys for Plaintiff.

Raymond J. DiCamillo, Esq., Susan M. Hannigan, Esq., RICHARDS, LAYTON &
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Esq., William E. Schroeder, Esq., Adam R. Brebner, Esq., SULLIVAN & CROMWELL
LLP, New York, New York; Attorneys for Defendant Koninklijke Philips Electronics,
N.V.


PARSONS, Vice Chancellor.
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       This action arises out of a dispute between a Netherlands holding company,

Koninklijke Philips N.V. (―Philips N.V.‖ or ―Defendant‖), which controls a large,

international business organization with hundreds of subsidiaries, and an Italian

businessman, Carlo Vichi (―Vichi‖ or ―Plaintiff‖), who is the managing shareholder and

founder of a large television manufacturing and sales company in Italy.

       Philips N.V. was a participant in a joint venture, LG.Philips Displays Holdings

B.V. (―LPD‖), that did business with Vichi and many other entities worldwide. LPD

needed financing and approached Vichi for a substantial loan of €200 million. Vichi,

who had a longstanding business relationship with Philips N.V. and, in particular, with

one of its subsidiaries, agreed to make the loan. The joint venture eventually went into

bankruptcy and defaulted on its financial obligations, including the loan from Vichi.

       Vichi claims that Philips N.V. and the LPD salespeople who pitched him the loan

(alleged agents of Philips N.V.) committed fraud by misrepresenting the joint venture‘s

financial condition and prospects and by falsely promising Vichi that Philips N.V. would

stand behind LPD to ensure it could meet its financial obligations. Vichi therefore asserts

that Philips N.V. is liable for the losses he has suffered.

       This litigation has been pending for more than seven years, during which time the

Court has issued multiple written opinions and numerous oral rulings.           Vichi has

advanced many different claims, but only two survived at the time of trial: his respective

claims for fraud and deceit under Delaware and Italian law. The Court conducted a five-

day trial in December 2012. Toward the end of the pretrial proceedings, however, Vichi

sought to expand the scope of this litigation dramatically to include discovery and

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potential claims of antitrust violations based on, among other things, reports that Philips

N.V. and LPD were being investigated by the European Commission of the European

Union for involvement in a worldwide price fixing cartel. For the most part, I denied that

request without prejudice to Vichi‘s ability to pursue such claims in another action and in

other forums. I left open the possibility, however, that Vichi might be able to use his

allegations of price fixing in support of his claims for fraud in this action. In that regard,

and in the interest of keeping this already protracted litigation within manageable bounds,

I refused to permit Vichi to try in this case, even as part of his fraud claim, the question

of whether or not Philips N.V., in fact, had engaged in illegal price fixing. Rather, I

indicated that if a judgment or its equivalent were entered in another forum finding that

Philips N.V. or LPD had engaged in price fixing, and the judgment were entitled to

preclusive effect in this proceeding, Vichi could seek to admit it.

       Ultimately, shortly before trial in this action, the European Commission

announced that it was fining seven groups of companies, including Philips N.V. and its

LPD joint venture partner, for their involvement in a worldwide price fixing cartel in the

cathode ray tube market. Following this revelation, Vichi introduced additional evidence,

moved to supplement his pleadings, and argued at trial that the failure of Philips N.V. and

its agents to disclose LPD‘s involvement in this illegal cartel, which predated the

negotiation of the €200 million loan and persisted throughout its duration, constituted an

additional basis for finding that Philips N.V. defrauded Vichi.

       This Opinion constitutes my post-trial findings of fact and conclusions of law on

Vichi‘s claims. The parties and their counsel raised a plethora of issues and invoked not

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only Delaware law, but also the law of at least three foreign jurisdictions. After reciting

the relevant facts and procedural background and briefly summarizing the parties‘

contentions, I initially address a procedural issue. Vichi moved for leave to file a third

supplemental and amended complaint to conform the pleadings to the evidence presented.

I grant that motion in the sense of allowing Vichi to pursue a claim for negligent

misrepresentation, but deny his attempt to add a claim for civil conspiracy. To clarify the

record, I also grant Vichi leave to file a third supplemental and amended complaint

effectively supplementing his pleading to reflect the European Commission‘s decision in

the price fixing case and certain other price fixing evidence while deferring temporarily

the question of the admissibility of that evidence.

       I then turn to the question of the applicable law. For the purpose of asserting an

affirmative defense based on the English statute of frauds, Philips N.V. argued that

English law should apply based on an English choice of law provision in the notes that

the parties used, at Vichi‘s suggestion, to accomplish the loan. Analyzing the scope of

that provision in accordance with English law, however, I determined that the provision

did not extend to non-contractual claims, and that it could not be invoked by nonparties to

the notes, such as Philips N.V. Thus, Vichi‘s fraud and negligent misrepresentation

claims against Philips N.V. are not subject to the English statute of frauds. In addition,

Vichi argued that Italian law should apply to his claims. Vichi failed to demonstrate,

however, the existence of a true conflict between Delaware and Italian law that would

affect the outcome of the case. Therefore, I generally have applied Delaware law to

Vichi‘s claims.

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       Next, I explore the role of the proffered evidence of price fixing. For the reasons

previously stated, I focused my attention on whether any of the evidence presented is

preclusive as to whether Philips N.V. or the joint venture, LPD, engaged in illegal price

fixing. As discussed in Section IV.B infra, I concluded that the European Commission

decision preclusively held that LPD actively participated in an illegal price fixing cartel.

I did not find the decision preclusive, however, as to Philips N.V.‘s knowledge of or

involvement in the cartel. The European Commission‘s key findings in that regard

involved imputed or constructive knowledge or involvement on the part of Philips N.V.,

and any findings as to actual knowledge, for example, were not necessary to the

European Commission‘s decision to hold Philips N.V. liable, as LPD‘s parent company.

I also excluded most of the non-preclusive price fixing evidence that Vichi sought to

admit as inadmissible hearsay or needlessly cumulative. Nevertheless, I have considered

some non-preclusive evidence relating to price fixing, including minutes from cartel price

fixing meetings, but only insofar as that evidence was relevant to Vichi‘s fraud claims.

       In terms of the merits, I begin my analysis with Philips N.V.‘s laches defense.

Vichi based his fraud claim on both affirmative misrepresentations and material

omissions related to: (1) Philips N.V.‘s purported promise to ―stand behind‖ LPD; (2)

LPD‘s financial condition and prospects; and (3) LPD‘s participation in and reliance on

illegal price fixing. Based on disclosures that he received both before and shortly after

execution of the loan, however, Vichi was at least on inquiry notice of the first two of

those categories more than three years before he commenced this litigation. Thus, those

aspects of his fraud claim are barred by laches. Vichi was not on notice, however, of the

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price fixing related aspect of his fraud claim, because the relevant facts were inherently

unknowable until well after the critical date for laches purposes. Thus, that aspect of his

claim is not barred by laches.

       The parties also litigated questions of vicarious liability. To ensure the absence of

a genuine conflict between Delaware and Italian law, I considered Vichi‘s theories of

vicarious liability under the laws of both jurisdictions. Under Delaware law, Vichi

asserted that Philips N.V. could be held liable on a theory of apparent agency for the

tortious conduct of two LPD salespersons who participated in the loan negotiations,

Felice Albertazzi and Fabio Golinelli.      Philips N.V. never held out Albertazzi and

Golinelli as being its agents and, based on the information that was available to Vichi at

the time of the loan, I found that it was unreasonable for him to believe that Albertazzi

and Golinelli were agents of Philips N.V. Thus, under Delaware law, they were not

apparent agents of Philips N.V. for purposes of vicarious liability. Under Italian law, for

an alleged principal to be held vicariously liable for the acts of an agent, he must have

employed the agent or assigned or authorized him to perform the task that led to the

liability. Philips N.V. did not employ Albertazzi and Golinelli and it was not shown to

have assigned or authorized them to perform the tasks as to Vichi that gave rise to Vichi‘s

claims. Thus, Philips N.V. is also not vicariously liable for Albertazzi and Golinelli‘s

conduct under Italian law.

       Finally, I consider the merits of Vichi‘s claims for fraud and negligent

misrepresentation. Based on my conclusion as to laches and my rejection of Vichi‘s

indirect theory of liability, I focus on the only remaining aspect of Vichi‘s fraud claim:

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i.e., that Philips N.V. committed fraud by failing to disclose LPD‘s involvement in illegal

price fixing. The record arguably supports an inference that Philips N.V. was aware of

LPD‘s involvement in illegal price fixing and had a duty to disclose that involvement.

Nonetheless, I found that Vichi failed to establish that Philips N.V. is liable for fraud for

three reasons. First, it is unlikely that Philips N.V. issued the challenged statements

directly made by it with the intent to induce Vichi to make a loan to LPD. Second, there

is no evidence that, in lending money to LPD, Vichi actually relied upon the statements

that gave rise to Philips N.V.‘s duty to speak. And third, there is no evidence that the

undisclosed information—namely, LPD‘s involvement in illegal price fixing—actually

led or contributed to LPD‘s bankruptcy or ultimate inability to repay the loan. Thus,

Vichi failed to satisfy the ―loss causation‖ component of proximate causation. Similarly,

due to Vichi‘s failure to establish reliance or proximate causation of damages, I

concluded that he had not shown Philips N.V. to be liable for negligent

misrepresentation.

       For these reasons, I conclude that Philips N.V. is not liable to Vichi on any of the

claims he presented at trial. In reaching this conclusion, I am especially mindful of a few

key points. First, Vichi lent €200 million to LPD and, after receiving the specified

interest on that amount for several years, lost his entire principal. Second, as a result of

an extensive investigation, the European Commission fined Philips N.V. hundreds of

millions of euros for the roles its subsidiaries, including LPD, played in a worldwide

price fixing cartel.   In the accompanying press release, the European Commission

described the cartel as: ―among the most organized . . . that the Commission has

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investigated.   For almost 10 years, the cartelists carried out the most harmful

anticompetitive practices, including price fixing, market sharing, customer allocation,

capacity and output coordination and exchanges of commercially sensitive information.‖ 1

The European Commission also noted that the cartels had a direct impact on customers in

the European Economic Area, ultimately harming final consumers, and that the

companies involved ―were well aware they were breaking the law.‖ If these findings are

true, Philips N.V. and the related Philips companies involved engaged in serious

wrongdoing. To the extent Vichi and his affiliates were injured by the anticompetitive

actions alleged, they can seek appropriate remedies for it. The question in this litigation

is whether Philips N.V. should be held responsible for the loss Vichi suffered on the loan

he made to LPD. I conclude the answer is no.

                               I.        BACKGROUND2

                                    A.     The Parties

       Plaintiff, Vichi, is a citizen of Italy and resides outside Milan.3 In 1945, shortly

after the end of World War II, Vichi founded a company named Mivar di Carlo Vichi




1
       JX 945. As this press release constitutes hearsay, I did not rely upon it in reaching
       my legal conclusions in this matter. I refer to the press release here only because
       much of the EC‘s decision is still under seal, and this statement as to the EC‘s
       actions provides useful context to this ruling.
2
       Unless otherwise noted, this background is drawn from the stipulated facts section
       of the parties‘ Joint Pre-Trial Stipulation and Order (Nov. 21, 2012).
3
       Vichi Dep. 5. See also JX 765.

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S.a.p.a. (―Mivar‖).4 Mivar entered the television manufacturing industry over forty years

ago,5 and it is now the largest television producer and manufacturer in Italy.6

       Defendant, Philips N.V.,7 is a publicly listed holding company organized under the

laws of the Netherlands and headquartered in Amsterdam.8 Philips N.V. is the parent of

the Philips family of companies, which includes hundreds of subsidiaries operating in

over 80 countries worldwide in a diverse group of industries, ranging from healthcare to

consumer lifestyle and lighting.9 Some of those subsidiaries are identified generically,

such as Philips International B.V., while others are by product line, such as Philips

Lighting B.V., and still others by geography, such as Philips Holding USA Inc.10



4
       Tr. 20 (Necchi). References in this form are to the trial transcript. Where the
       identity of the testifying witness is not clear from the text, it is indicated
       parenthetically after the page citation.
5
       Necchi Dep. 212.
6
       Tr. 20 (Necchi).
7
       On August 19, 2009 and March 3, 2011, I granted default judgments against two
       defendant entities closely related to the joint venture, LG.Philips Displays Finance
       LLC and LG.Philips Displays International Ltd., respectively. For purposes of
       this Opinion, therefore, I only refer to Defendant in the singular, which denotes
       Philips N.V.
8
       JX 831 at 25 (Philips N.V.‘s Annual Report for 2011).
9
       Id. at 95, 103, 111, 129. Where possible, I distinguish between Philips N.V. and
       its various subsidiaries. In many exhibits and at various points in the briefing,
       depositions, and trial testimony, however, the precise entity being referred to is
       unclear. If the Philips entity being referred to is not reasonably clear, I use the
       general term ―Philips.‖
10
       Id. Ex. 8.

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                                      B.       Facts

            1.      Vichi’s and Mivar’s historic relationship with Philips

       In the 1950s, Vichi started doing business with the Philips family of companies,

including Philips Società per Azioni (―Philips Italia‖), a wholly owned subsidiary of

Philips N.V.11 The Philips group of companies was Mivar‘s most important supplier,12

and Vichi was one of Philips‘s biggest Italian clients.13 Over time, Philips developed the

trust, respect, and appreciation of Vichi, who attributed much of his success to Philips.14

In his business dealings with Philips Italia, Vichi often interacted with two salespeople,

Felice Albertazzi and Fabio Golinelli.15

       During a four-year period in the late 1980s, Albertazzi visited Vichi at Mivar on

almost a monthly basis as a salesman for Philips‘s semiconductor business.16 Albertazzi

described his relationship with Vichi at that time as ―the relationship that normally exists

between . . . a young man who has just got his university degree with a bright future and

the guru of the electronic industry. . . . [H]e was a reference point. There was a lot to



11
       See Vichi Dep. 24–25; Tr. 948–49 (Spaargaren); JX 211A at 13843, 13845; JX
       831 Ex. 8.
12
       Tr. 44–45 (Necchi).
13
       Tr. 948 (Spaargaren); Albertazzi Dep. 42–43.
14
       See Tr. 21, 44–45 (Necchi); Albertazzi Dep. 56–59; JX 211A at 13843, 13845; JX
       199 at 806.
15
       Tr. 948–49, 951 (Spaargaren); Albertazzi Dep. 44–45; Spaargaren Dep. 405 (May
       25, 2012).
16
       Albertazzi Dep. 44.

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learn from his business and his lessons.‖17 Albertazzi had a high regard for Vichi, and

Vichi, in turn, trusted and respected Albertazzi.18 Vichi also had a good relationship with

Golinelli, who assisted in Albertazzi‘s sales efforts at Mivar.19 In 1990, Albertazzi began

working for a different business group within Philips Italia and, as a result, had less

frequent contact with Vichi over the next ten years.20

                              2.     The formation of LPD

       On June 11, 2001, Philips N.V. and LG Electronics, Ltd. (―LGE‖), a South Korean

company, created a joint venture called LG.Philips Displays Holdings B.V., i.e., LPD.21

LPD was formed to market and sell cathode ray tube (―CRT‖) products,22 including both

color picture tubes (―CPT‖), which are used in televisions, and color display tubes

(―CDT‖), which are used in computer monitors.23 LPD had a number of subsidiaries,

including LG.Philips Displays Finance LLC (―LPD Finance‖) and LG.Philips Displays

International Ltd. (―LPD International‖).24 At a meeting before the formation of LPD




17
       Id. at 41–42.
18
       Id. at 46.
19
       See Tr. 38–39 (Necchi).
20
       Albertazzi Dep. 8, 42–44.
21
       JX 93.
22
       See id. at 21264–66.
23
       JX 806 at 7.
24
       Id. at 46.

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attended by representatives of both LGE and Philips N.V., the parties discussed the

importance of consolidation and raising prices to the success of the joint venture:

              This new [joint venture] is aiming at consolidation of
              CPT/CDT industry. Message to shareholders, bankers and
              employees was that in terms of CDT there will [be] 4
              companies left in 2005 ([LPD]/SDI/CPT/Sony). Prices might
              go up if consolidation happens, otherwise our profitability
              will never be realized.25

       A Philips N.V. press release announcing a letter of intent to form LPD declared

that ―the new company will ensure a global leadership position in the CRT market.‖ 26 In

the press release, LGE‘s Vice Chairman and CEO, John Koo, was quoted as stating that

―the decision for the alliance [between LGE and Philips N.V] was made in order to

become the Global leader amidst fierce competition.‖27 Gerard Kleisterlee, Executive

Vice President and COO of Philips N.V., was quoted as stating that ―[t]he joint venture

[i.e., LPD] puts us in a clear cost leadership position in a mature market. Based on the

relationship we have developed with LG . . . we have full confidence in this new joint

venture.‖28

       LPD was financed with a $2 billion syndicated bank loan (the ―Bank Loan‖).29

The proceeds of the Bank Loan were used to pay $255 million to Philips N.V. for its



25
       JX 86 at 48093.
26
       JX 51 at 1220.
27
       Id. at 1221.
28
       Id.
29
       Tr. 936 (Spaargaren).

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glass business and $1.1 billion to LGE for its CRT business,30 although both parent

companies transferred their CRT businesses into the joint venture.31 Philips N.V. owned

a bare majority of the shares (50% plus one share) to avoid paying licensing fees for

certain patents and technologies.32 Nevertheless, LGE and Philips N.V. nominated equal

numbers of LPD executives and supervisory board members and shared in decision

making for LPD.33 Going forward, Philips N.V. and LGE would engage in the CRT

business exclusively through LPD.34 In 2001, Mivar was informed that Philips would be

conducting its CRT business through LPD, ―but that nothing would really change in

terms of products, quality, people [Mivar] dealt with or counterparts.‖35

       LGE and the Philips group of companies, including Philips Italia, provided

services to LPD through ―Service Level Agreements‖ or ―SLAs.‖36 Under those SLAs,

the Philips group provided to LPD, among other things, ledger, human resource,

environmental, and export control services.37 Of particular note, Philips Italia and LPD




30
       Id.; Spaargaren Dep. 126 (May 24, 2012).
31
       See JX 93 at 21252, 21258, 21260, 21264–65.
32
       Tr. 870 (Spaargaren); Spaargaren Dep. 123–25 (May 24, 2012).
33
       Tr. 871–72 (Spaargaren); JX 93 at 21312–18.
34
       See supra note 31.
35
       Necchi Dep. 28; see also Tr. 40–41 (Necchi).
36
       Tr. 877, 952 (Spaargaren); see generally JX 938.
37
       Spaargaren Dep. 298–301 (May 24, 2012); see generally JX 938.

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entered into a ―Sales Support Agreement,‖ whereby Philips Italia agreed to promote and

support the sale of certain products in Italy and Slovenia as LPD.38 As part of that

agreement, Albertazzi and Golinelli would ―provide their services full time‖ to LPD and

could not ―be replaced or reassigned without prior consultation of [LPD].‖39 In return,

LPD reimbursed Philips Italia for the cost of those services.40       The Sales Support

Agreement discussed the ability of either Philips Italia or LPD to bind the other and

provided that ―neither party has any authority to assume or create any obligation on

behalf of the other party, express or implied.‖41 Philips N.V. was not a party to, or even

mentioned in, this SLA.

       Although Albertazzi and Golinelli‘s services had been assigned contractually to

LPD, they worked out of the offices of Philips Italia and remained on Philips Italia‘s

payroll.42   During the relevant period, they both took actions that emphasized their

connection to the larger Philips group of companies. For example, at various times

during his tenure at LPD, Albertazzi used a Philips email address.43 Golinelli similarly

used a Philips email address and also employed email signatures that referred to LPD at



38
       JX 105.
39
       Id. ¶ 3.3, Ex. A.
40
       Id. ¶ 7.1, Ex. A.
41
       Id. ¶ 3.4.
42
       See olde Bolhaar Dep. 306–07, 481–82; Spaargaren Dep. 276–79 (May 24, 2012).
43
       See, e.g., JX 195; JX 198 at 39306; JX 199; JX211A at 13846–47.

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Philips Italia, sent emails that bore the Philips brand logo, and used a Philips business

card.44 Moreover, Golinelli sent letters, faxes, and invoices bearing Philips Italia‘s name

and Philips N.V.‘s trademark.45

                             3.      LPD’s early struggles

       From the outset, LPD struggled beneath the weight of a high overall cost structure,

which included substantial financing costs.     Jan Oosterveld, Philips N.V‘s Head of

Corporate Strategy and Vice Chairman of LPD‘s Supervisory Board,46 acknowledged

internally that Philips N.V. and LGE had ―loaded LPD with a lot of problems and a tight

financing structure.‖47 Guido Demuynck, another member of LPD‘s Supervisory Board,

would later admit that, in hindsight, ―LPD had a too high cost structure to have any

chance of being competitive in the market.‖48

       By the end of October 2001, LPD was ―in bad shape‖ and needed to ―be

restructured aggressively‖ by reducing headcount by 15,000 and closing half the

company‘s factories.49   The $1.35 billion payment to LPD‘s parents was seen as a



44
       See Tr. 94–95 (Necchi). See, e.g., JX 205; JX 230; JX 248; JX 260; JX 267; JX
       343; JX 508.
45
       See, e.g., JX 176; JX 379; JX 448; JX 493; JX 581; JX 697.
46
       JX 855 Revised Sched. A.
47
       JX 515 at 104664 (December 13, 2002 email from Oosterveld to various Philips
       N.V. executives).
48
       See Demuynck Dep. 51, 113–14 (May 11, 2012).
49
       JX 932.01 at 1328.

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―burden‖ on the joint venture.50 Moreover, ―fierce price erosion and the global slow-

down . . . weakened the financials of LPD.‖51 Just four months after LPD was formed,

―access to new funding [was] limited if not impossible.‖52

       In late 2001, LPD proposed a $600 million equity injection by LGE and Philips

N.V.53 Ultimately, LGE and Philips N.V. decided instead to inject extra capital totaling

$250 million and to provide extra guarantees totaling $400 million.54 To further alleviate

LPD‘s need for cash, Albertazzi was directed by Jim Smith, his superior at LPD, to

shorten payment terms and seek pre-payments from LPD‘s customers, including Vichi.55

                          4.        The Loan from Vichi to LPD

                               a.      Proposal of the Loan

       In early 2002, at the request of Albertazzi and Golinelli, Vichi agreed to make pre-

payments to LPD, which grew from approximately €10 million early on to €20 million.56

In April 2002, those pre-payments evolved into a formal short term commercial loan of

€25 million from Mivar to LPD, which LPD repaid in June 2002.57 In his role as ―Sales



50
       Id. at 1330.
51
       JX 131 at 11324.
52
       Id. at 11326.
53
       Id. at 11324.
54
       JX 837 at No. 9; JX 932.03 at 44306.
55
       Albertazzi Dep. 31, 97–98.
56
       Id. at 97–98; Tr. 45–46 (Necchi).
57
       Tr. 45–49 (Necchi); Necchi Dep. 27–28, 299, 303; JX 376A; JX 376B.
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Director Region Europe‖ of LPD, Albertazzi was authorized by LPD to sign all

documents concerning the €25 million loan on its behalf.58

       While negotiations as to the €25 million loan were still ongoing, Albertazzi asked

Vichi if he was interested in strengthening his relationship with Philips through a second,

larger loan that ultimately became the €200 million loan at the center of this litigation

(the ―Loan‖).59 In that regard, Golinelli requested Albertazzi‘s ―special availability‖ for

the Loan negotiations, because of his preexisting relationship with Vichi.60

       In an email from Albertazzi to Kiam-Kong Ho, LPD‘s Global Head of Treasury

and Finance,61 Albertazzi urged fast repayment of the €25 million loan:

              [I]n order just to keep our face and to leave the ―door open‖
              for the second loan (which is the real target) we have to take
              the money this month and than [sic] we give back next month
              (April) or the month after (May) at our full convenience.62

After initial discussions with Vichi, Albertazzi reported internally at LPD that ―I am sure

[Vichi] would be extremely pleased to help our company based on the big esteem and

gratitude for the 55 years relationship and support from Philips.‖63 Similarly, Golinelli



58
       See JX 268.
59
       Tr. 49–51 (Necchi).
60
       JX 253 (April 17, 2002 email from Golinelli to Albertazzi) (internal quotation
       marks omitted).
61
       JX 855 Revised Sched. A. Previously, Ho was Philips N.V.‘s Regional Head of
       Corporate Finance. Id.
62
       JX 217 at 13860.
63
       JX 211A at 13843.

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reported in the same time frame that ―Vichi still likes [Philips], because of the help given

to his company during the last 30 to 55 years . . . ; he is willing to help [Philips] but

certainly.‖64 Golinelli also stated that, in subsequent loan negotiations, he and Albertazzi

should ―carefully pamper‖ Vichi and ―give him the absolute trust that [LPD] won‘t

fail.‖65

           Vichi and his representative and financial advisor, Vittorio Necchi, negotiated the

terms of the Loan with representatives of LPD, including Albertazzi and Golinelli.66

Necchi testified that, during these discussions, Albertazzi repeatedly emphasized his

connection to Philips, assuring Vichi at various times that ―he was a Philips man,‖ ―his

[s]kin was 100 percent Philips,‖ and that ―he actually worked in Eindhoven at Philips‘

headquarters.‖67 According to Necchi, Albertazzi characterized the contemplated

transaction as ―a 200 million euro loan, which would be made with LPD, but . . . was

actually with Philips.‖68 Vichi similarly averred, at deposition,69 that Albertazzi and



64
           Id. at 13845.
65
           Id. (internal quotation marks omitted).
66
           Tr. 50–51 (Necchi).
67
           Tr. 55–56, 71–72, 76–77.
68
           Tr. at 55. See also Tr. 71 (Necchi) (―[Albertazzi] said that the transaction would
           be an operation that Mr. Vichi was doing with Philips via LPD.‖).
69
           Vichi did not testify at trial, but rather appeared by deposition only. Counsel for
           Vichi attributed his absence to ―the narrowing of the issues and Mr. Vichi‘s age
           and present condition.‖ Docket Item (―D.I.‖) No. 676 (Dec. 7, 2012 letter from
           Pl‘s Counsel to Ct.). At the time of trial, Vichi was about 90 years old. See Pl.‘s
           Pretrial Br. 1.

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Golinelli represented to him that they were ―100 per cent employees of Philips‖70 and

asked him to loan money to ―to Philips through [LPD].‖71

Albertazzi denies misleading Vichi as to the nature of the Loan transaction and claims

that he told Vichi explicitly on numerous occasions that the Loan would be with LPD and

not with Philips.72     I find Albertazzi‘s testimony on this point to be credible.

Nonetheless, the record reflects that Vichi chose to treat the Loan transaction as being a

deal with Philips through LPD,73 and that Albertazzi was aware of this fact during

negotiations.74 According to a later internal email by Albertazzi, dated January 2006,

―[a]ll the people who are familiar with the MIVAR loan, know that mr. Vichi gave the

money in order to help Philips and that he was convinced (in good faith) to have given

[it] to Philips (consider[ing] LPD just as one branch—like many other[s]—of Philips).‖75

In the same email, Albertazzi noted that this imprecise characterization was ―[d]espite the




70
       Vichi Dep. 52.
71
       See id. at 21.
72
       Albertazzi Dep. 130 (―[T]o Mr. Vichi I told ten times, ‗Mr. Vichi, you are not
       giving the money to Philips, you are giving to LPD.‘‖). See also id. at 215.
73
       See Vichi Dep. 21 (―I lent the money to Philips through LPD‖); id. at 22 (―I signed
       a paper saying that I was lending 200 millions to LPD Finance, but I thought that
       it was an extension of Philips, like all others.‖)
74
       See Albertazzi Dep. 212.
75
       JX 754.

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fact that we (I myself) reminded him—several times in the last 4 years—that he gave the

money not to Philips but to another company.‖76

                   b.      Philips N.V.’s involvement in the Loan

       Philips N.V. was aware that LPD was seeking the Loan from Vichi. Philips

N.V.‘s Board of Management, including Kleisterlee, by that time Philips N.V.‘s CEO,

and Johannes Hommen, Philips N.V.‘s CFO,77 attended joint venture review meetings, or

―barrel meetings,‖78 in April, May, and June 2002 where the Loan was considered.79

Specifically, the presentations regarding LPD given at those meetings included a slide

with a timeline of upcoming events that stated that LPD was ―[e]xpect[ed] to conclude

deal with a customer Mivar group to raise Euro 200M 5 year money at a price equivalent

to a BBB-/BB+ credit rating.‖80

       Jan Maarten Ingen Housz, Philips N.V.‘s Global Head of Corporate Finance,81 and

Frans Spaargaren, Head of Philips N.V.‘s Joint Venture Office,82 also were informed



76
       Id.
77
       JX 855 Revised Sched. A.
78
       See Tr. 881 (Spaargaren) (―A barrel meeting was an institution in Philips where
       basically all product divisions or other organizations within Philips reported the
       results and the business situation to a selected group of people from the board of
       management of Philips.‖).
79
       See Tr. 956–62 (Spaargaren); JX 266 at 4710; JX 276 at 34422; JX 346 at 4928.
80
       Id.
81
       JX 855 Revised Sched. A; Tr. 954 (Spaargaren).
82
       Tr. 860 (Spaargaren).

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about the Loan. On April 8, 2002, Ho sent an email to Housz and Spaargaren requesting

comments on and disclosing LPD‘s ―discussion with Mivar, where an opportunity

exist[s] . . . to do a private placement of [LPD‘s] corporate debt . . . . because of their

long history of dealing with Philips, about 40 years in all.‖83 In later discussions, Ho

advised Spaargaren that the potential lender was Vichi,84 whom Ho described as a ―long-

term and reliable customer.‖85 Spaargaren told Ho that he ―had no objections and that

[Ho] should continue discussions‖ as to the Loan.86 At deposition, Housz denied taking a

firm stance one way or another, but acknowledged that he ―may have said that [he] was

not against [the Loan].‖87

                c.       Representations concerning LPD and the Loan

       In the months following the initial proposal of the Loan, Vichi and Necchi had

numerous meetings and communications with LPD representatives, including Albertazzi,

Golinelli, and Ho.88 At his deposition, Vichi stated that, in deciding whether or not to

make the Loan, he relied principally upon his advisor Necchi and on verbal statements

made by Albertazzi and Golinelli regarding the Loan:




83
       JX 235 at 4692.
84
       See Tr. 956 (Spaargaren).
85
       Id. at 967–68.
86
       Id. at 956.
87
       Ingen Housz Dep. 103.
88
       See Tr. 50–57, 59–73, 77 (Necchi).

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                 Q: And you relied on Dr. Necchi to make decisions for you in
                 connection with the loan? A: Yes. . . . Q: At the time of the
                 loan, you trusted Dr. Necchi to do what was best for you? A:
                 Obviously.89

                 Q: Why do you believe Philips was supposed to pay you back
                 the 200 million euros? A: I decided to give the loan after
                 talking and after dealing with Philips employees, whom I had
                 known for a long period of time and whom I trusted
                 completely. Q: And are you referring to Mr. Albertazzi and
                 Mr. Golinelli? A: Yes. Q: Anyone else? A: No.90

As to LPD, Vichi asserted that Albertazzi and Golinelli told him that Philips ―had set up

this extension, this branch, to ideally manage the change in the TV industry, the change

from the tubes to the panels, but especially the technological change from analog [to]

digital, to satellite, [etc.], and I thought that Philips was [the] top in this context.‖91

       According to Necchi, Albertazzi told him and Vichi, among other things, that:

LPD ―was a very solid, strong company with a bright future;‖92 although ―there were

some challenges that had to be met, . . . the company was well suited to rise to these

challenges‖;93 ―there were a lot of opportunities in terms of market;‖ 94 LPD ―had become




89
       Vichi Dep. 50–53.
90
       Id. at 61.
91
       Id. at 52.
92
       Tr. 56.
93
       Id. at 72.
94
       Id.

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a market maker and a price maker all over the world;‖95 and LPD was ―in a position to

look at everybody from top down.‖96 Albertazzi corroborated that he told Vichi, among

other things, that LPD was a ―strong company,‖ that was ―profitable,‖ ―in good shape,‖

and ―had a plan to cut costs in a very effective manner.‖97 Albertazzi also acknowledged

telling Vichi that LPD was ―a very competitive company‖98 that was ―better position[ed]

than its competitors.‖99

        In addition, Albertazzi purportedly assured Necchi and Vichi that ―behind LPD,

there was Philips,‖ and that ―Philips would stand behind LPD . . . allow[ing] LPD to meet

the obligations that they were undertaking with respect to Mr. Vichi.‖100 Albertazzi

denied having made these statements,101 but admitted telling Vichi that although LPD did

not require the support of its shareholders (i.e., Philips N.V. and LGE), it nevertheless

had their full support.102




95
        Id. at 72–73.
96
        Id. at 79.
97
        Albertazzi Dep. 148–50.
98
        Id. at 150.
99
        Id. at 258.
100
        Tr. 56 (Necchi).
101
        Albertazzi Dep. 145–46.
102
        Id. at 149.

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        Recent revelations suggest that, at the time of the Loan negotiations, LPD was

involved in an illegal price fixing cartel—a fact that would not be revealed publicly for

almost another decade.103 The record indicates that Albertazzi probably knew of LPD‘s

price fixing activities,104 yet neither he nor any other LPD representative disclosed LPD‘s

cartel involvement to Vichi or Necchi.105

                              d.      Approval of the Loan

        In April 2002, at an early stage of the Loan negotiations, Vichi and Necchi

engaged as an advisor and arranger in connection with the Loan a large Italian bank,

Monte dei Paschi di Siena Finance, Banca Mobiliare S.p.A. (―MPS Finance‖).106 In an

email to Necchi, MPS Finance discussed the interest rate spread of the Loan to LPD:

               We feel that the spread that MIVAR can reasonably ask from
               the issuer [i.e., LPD] is around 180-190 [basis points]. This is


103
        LPD‘s participation in one or more cartels is discussed in greater detail in Section
        I.B.8 infra.
104
        See Albertazzi Dep. 370–71; JX 690.
105
        See Tr. 84, 89, 361 (Necchi); Albertazzi Dep. 375 (―Q: You never told Mr. Vichi
        that LPD was part of a scheme to fix prices of CRT products, correct? A: I have
        to count to ten before giving you an answer. I want to be polite and say that these
        are really idiot questions, and I‘m polite with my words. Because I don‘t even
        manage to find an hypothesis of answer. Mr. Marriott has to understand that his
        question is nonsense to me. What do you expect me to say to your question? Do
        you want me to answer yes, I should have informed Mr. Vichi about what? I
        mean, your question is nonsense to me.‖).
106
        See Tr. 64–65, 182–83 (Necchi); JX 788; JX 806 at 79–80 (―Vichi subsequently
        engaged [MPS Finance] as advisor and arranger for the potential loan. The loan
        would be issued in the form of bonds. MPS Finance would manage the issue of
        the Notes. MPS Finance fulfilled in fact a double role, namely advisor of Mr.
        Vichi and manager of the transaction.‖).

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               given that, while [Philips N.V.] pays + 40 on mid-swaps for 2
               year [bonds], given that the joint venture is 50% with the
               South Korean partner, we have to assume a worse risk spread,
               i.e., [LGE], which pays +190 in USD on 3 year [bonds].107

        Necchi testified that he ultimately recommended that Vichi make the Loan based

on Albertazzi, Golinelli, and Ho‘s statements and ―[o]n the basis of everything that ha[d]

been said, and on the basis of the fact that there was Philips behind, and that LPD was a

strong company with a brilliant future and a positive outlook.‖108 Vichi agreed to make

the Loan, relying, as noted earlier, on his advisor Necchi and on verbal representations

made by Albertazzi and Golinelli,109 as well as on advice and information provided by

MPS Finance.110




107
        JX 231 (some alterations in original).
108
        Tr. 88–89 (―Q: What impact did the statements made by Messrs. Albertazzi,
        Golinelli and Ho have on the decision to make the loan . . . A: It was fundamental.
        It was the basis upon which it was decided to enter in this agreement.‖).
109
        See supra notes 89–90 and accompanying text.
110
        Although Necchi claimed at trial that, as far as he knew, Vichi never met with any
        representatives of MPS Finance before the closing of the Loan, see Tr. 88, the
        record clearly shows that MPS Finance served as a financial advisor to Vichi in
        connection with the Loan, see JX 788 (July 5, 2007 letter from Vichi to MPS
        Finance, stating: ―[I]n April 2002, I addressed myself to [MPS Finance] to obtain
        the latter‘s assistance concerning the possible underwriting . . . of bonds to be
        issued by LPD . . . in the amount of 200 million euros. . . . The issue‘s operation
        was then handled directly by MPS Finance, which carried out, also on my behalf,
        the relevant company and financial statement audits and drew up and negotiated
        with the issuer, also on my behalf, the relevant contract documents.‖).

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        Spaargaren, as Head of Philips N.V.‘s Joint Venture Office, approved the Loan in

June 2002.111 LPD‘s Supervisory Board, half of whose members were appointed by

Philips N.V., also approved the transaction.112

        The parties reached an agreement, and on July 9, 2002, LPD Finance, a Delaware

LLC, issued €200 million worth of floating rate notes (the ―Notes‖),113 which

subsequently were acquired by Vichi. The Notes were guaranteed by LPD and had a

five-year term ending in 2007. The agreed interest rate was 262.5 basis points over the

six-month Euro Interbank Offered Rate (―Euribor‖).114 The Notes transaction comprised

a series of documents signed by employees of LPD, including the Notes themselves, a

Put Option Agreement, a Fiscal Agency Agreement, a Subscription Agreement, and a

Guarantee by LPD.115       These documents each contained a choice of law provision

specifying that the agreements are to be ―governed by, and shall be construed in

accordance with, English law.‖116 Philips N.V. was not a party to any of the agreements

constituting the Notes transaction.




111
        Tr. 971 (Spaargaren).
112
        See JX 696.
113
        JX 418.
114
        Id. at 26270–71.
115
        JX 414; JX 418; JX 419; JX 420; JX 427; JX 428; JX 429.
116
        See, e.g., JX 418 at 26239; JX 427 at 21820; JX 429 at 23371; accord JX 419 at
        26316.

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        The Loan (i.e., acquisition of the Notes) was authorized by Vichi, made using his

money, and executed by an Italian fiduciary company called SIREF Fiduciaria S.p.A.

(―SIREF‖).117     Following execution of the Loan, Vichi loaned the Notes to Mivar,

through SIREF,118 to reduce his tax liability.119 The record indicates, however, that Vichi

bore the risk of loss on the principal of the Notes throughout the relevant time period.

                             5.      The Offering Circular

        As early as April 2002, the parties had discussed the possibility of listing the

Notes on the Luxembourg Stock Exchange.120 In furtherance of that listing, the parties

prepared an offering circular (the ―Offering Circular‖) that was directed at prospective

purchasers of the Notes. On June 28, 2002, to assist in drafting the Offering Circular, Ho

provided certain materials to MPS Finance and Allen & Overy LLP, an international law

firm that had been retained by MPS Finance in connection with the Notes transaction.121

Among the documents Ho provided were LPD‘s 2001 annual report, LPD‘s 2001 audited

financial statements, LPD‘s first quarter 2002 unaudited financial statements, and a




117
        See Tr. 99–103 (Necchi); JX 672 at 93 (July 8, 2002 letter from Vichi to SIREF
        authorizing SIREF to enter into the Notes transaction); JX 672 at 97 (a June 25,
        2002 letter drafted for SIREF by Vichi, instructing the Banca Agricola Mantovana
        S.p.A. to acquire the Notes for €200 million).
118
        See Tr. 103–04, 109–12 (Necchi); JX 767; JX 765; JX 416.
119
        See Vichi Dep. 65.
120
        JX 248.
121
        See JX 381; JX 351; JX 807 ¶ 53.

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capitalization table for LPD.122       Those materials revealed that LPD was struggling

financially and, like other CRT manufacturers, was confronting serious challenges in the

marketplace. Among other things, the materials disclosed that:

                       ―The past six-months has been a challenging and
                        difficult period for our company [i.e., LPD].
                        Deteriorating market conditions impacted across
                        businesses all over the world. . . . Against this
                        backdrop, we could not finish this period profitable
                        . . . . The difficult start of our Company forced us to
                        speed up our restructuring . . . .‖123

                       ―For the six month period [before] December 31, 2001
                        . . . . [o]verall volume in the CRT market fell by 13%.
                        Prices fell across all the product types by 25–30% in
                        CDT and 10–15% in CPT. The CDT market was
                        particularly hard hit by falling PC demand and price
                        competition from LCD monitors.‖124

                       LPD had ―negative net earnings of USD 348 million‖
                        for 2001,125 and suffered a net loss of $196 million in
                        the first quarter of 2002.126

                       LPD ―has not adhered to certain financial covenants
                        set out in the [$2 billion Bank Loan] facility agreement
                        . . . which could result in cancellation of the loan
                        facility.‖127




122
        JX 381.
123
        Id. at 22979.
124
        Id. at 22984.
125
        Id. at 22979.
126
        Id. at 23017–18.
127
        Id. at 22996.

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                       ―The road to making 2002 a Successful Turnaround
                        Year will not be easy . . . . Looking at the future, we
                        continue to face a difficult and challenging year
                        . . . .‖128

                       ―[W]e certainly will be forced to accelerate a number
                        of measures . . . to survive in this highly competitive
                        market. These include, amongst others, speeding up
                        the migration of our industrial base to low cost regions
                        . . . .‖129

                       ―Most of our competitors are already stretched and do
                        not have much room for potential restructuring and
                        strengthening,‖ and ―[LPD] is one of the limited few in
                        this business that has the potential for further
                        strengthening.‖130

Those materials also stated that ―[LPD] and all of its employees are required to behave

ethically and business practices throughout the world are to be conducted in a manner

that is above reproach.‖131

        In addition to these materials, on July 2, 2002, Ho provided Allen & Overy with a

draft information memorandum containing additional information pertaining to LPD and

the Notes. The information memorandum disclosed that ―[t]he PC monitor market faced

a significant downturn in 2001 resulting in a weaker long-term outlook,‖132 and that LPD




128
        Id. at 22979.
129
        Id. at 22980.
130
        Id. at 22981.
131
        Id. at 22988.
132
        JX 388 at 23086.

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was expected to continue losses through 2002.133 It also noted that CRT ―[p]rices have

stabilized since the end of last year,‖ and that ―[w]e have in fact witnessed moderate

upwards price adjustments of approximately 5% across the board,‖ which it characterized

as ―an encouraging sign for the CRT industry.‖134 Referring to the Notes, the document

information memorandum stated that ―[f]or the avoidance of doubt, these notes do not

carry the implicit nor explicit guarantee of Philips and [LGE].‖135 Rather, the draft made

clear that the Notes would be issued by LPD Finance and guaranteed by LPD.136

        The final Offering Circular was issued on August 26, 2002.137 By that time, the

Notes already had been privately placed with Vichi, through their acquisition by the

SIREF fiduciary company. Nonetheless, Vichi requested that LPD apply for a public

listing, apparently for tax reasons.138 In December 2002, Vichi instructed SIREF to sell

€5 million of Notes on the Luxembourg Exchange to a third party purchaser for the

purpose of valuing his holdings.139




133
        Id. at 23119.
134
        Id. at 23088.
135
        Id. at 23085.
136
        Id. at 23081.
137
        See JX 466.
138
        See JX 806 at 81.
139
        JX 672 at 94–95.

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        The Offering Circular disclosed that the Notes were subject to some serious risks.

Those disclosures include that:

                       ―The initiatives we have undertaken in restructuring
                        our business, even if successfully implemented, may
                        not be sufficient . . . . [LPD] expect[s] to incur losses
                        for sometime and . . . cannot give assurance that [it]
                        will achieve profitability soon.‖140

                       ―In the future, [LPD] may not be able to secure
                        financing necessary to operate our business as
                        planned.‖141

                       ―We are highly dependent on a USD 2 billion
                        syndicated bank facility to fund on-going business. . . .
                        Compliance with [the bank loan] covenants, in general,
                        will require EBITDA improvements . . . . We face
                        refinancing risk in year 2004 when a large part of the
                        USD 2 billion facility expires . . . .‖142

                       LPD was ―highly dependent on a few key‖ customers
                        and suppliers and was facing a ―continued slowdown
                        in spending‖ by its customers, which had ―materially
                        and adversely affected‖ revenues.143

                       ―Neither Philips nor LGE is a party or a guarantor to
                        the Notes.‖144




140
        JX 466 at 29827, 29832.
141
        Id. at 29830.
142
        Id. at 29831.
143
        Id. at 29829–30.
144
        Id. at 29833.

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        Unsurprisingly, LPD and Philips N.V. did not disclose, in the Offering Circular or

otherwise, that LPD was involved in a scheme to fix, maintain, and stabilize prices.145

Nor did Vichi or Necchi have any reason to believe that LPD and its parents, Philips N.V.

and LGE, were conducting LPD‘s business in a manner other than one that was above

reproach.146

               6.      LPD’s deterioration and attempted restructuring

        In the years following Vichi‘s Loan to LPD, LPD‘s financial condition worsened.

In 2002 and 2003, LPD reported net losses of $532 million and $872 million,

respectively.147 In late 2003, a restructuring of the Bank Loan became necessary, as it

appeared that LPD would be unable to meet the Bank Loan‘s financial covenants because

of its deteriorating financial condition.148 The contemplated restructuring would have

extended the maturity date of the Bank Loan beyond the then-existing maturity date of

the Notes.149 Consequently, Philips N.V. and LPD approached Mivar and Vichi in late

2003 to negotiate a corresponding restructuring of the Notes that, among other things,

would extend their maturity date.150




145
        See Tr. 84, 361 (Necchi).
146
        Tr. 361 (Necchi).
147
        JX 684 at 22600.
148
        JX 932.12 at 1593–94.
149
        See JX 606; JX 615 at 2674.
150
        See Tr. 114 (Necchi); JX 615 at 2675; JX 618; JX 621 at 1926.

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        The individuals representing LPD in the attempted renegotiation of LPD‘s

obligations under the Notes included LPD‘s CFO, Peter van Bommel, as well as

Albertazzi and Golinelli,151 who appear to have been brought into the restructuring

negotiations by LPD because they were people whom Vichi trusted.152 Philips N.V.‘s

corporate treasurer, Peter Warmerdam, also participated in the negotiations on behalf of

both parent companies—Philips N.V. and LGE.153 In that capacity, Warmerdam attended

several meetings with LPD and Vichi and submitted at least one restructuring proposal to

Vichi.154 Albertazzi and Golinelli‘s role in the restructuring negotiations appears to have

been fairly limited; Albertazzi testified that he served primarily as a chauffeur, translator,

and general facilitator.155 Albertazzi also forwarded various communications to Vichi

from Philips N.V. and LPD.156

        During the negotiations, Vichi countered LPD‘s initial renegotiation proposal with

a request that the LPD shareholders—Philips N.V. and LGE—each agree to guarantee



151
        JX 618.
152
        See JX 632 at 8820 (meeting minutes from January 21, 2004 meeting between
        LPD and Bank Loan Steering Committee, noting ―Peter van Bommel gave an
        update on Mivar discussions. . . . In the near future, LPD will try to work through
        the people whom Mr. Vichi trusts.‖).
153
        Warmerdam Dep. 27–28, 198–202. See also Spaargaren Dep. 391–92 (May 25,
        2012).
154
        See Warmerdam Dep. 202–04; JX 649.
155
        Albertazzi Dep. 266, 268.
156
        See, e.g., JX 649; JX 651; JX 714.

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50% of the value of the Notes in exchange for his agreement to restructure their terms.157

Philips N.V. and LGE responded to this counterproposal by offering to provide a partial

guarantee of $50 million each.158 Vichi declined that offer, and the Notes were never

restructured.159

        In June 2004, LPD, Philips N.V., LGE, and the lenders under the Bank Loan

agreed to a restructuring plan that did not require Vichi‘s participation.160 Pursuant to

that plan, the lenders syndicate extended the end of the repayment period for the Bank

Loan from 2006 to 2010.161 In exchange, Philips N.V. and LGE each contributed an

additional $250 million in capital to LPD and each provided a $50 million guarantee on

the Bank Loan.162

                           7.      LPD files for bankruptcy

        In 2004, LPD reported a net loss of $171 million.163 In 2005, despite the recent

restructuring, LPD‘s financial condition began to unravel because of rapidly deteriorating

market conditions.164 These conditions included substantial price erosion and decreased

demand for CRTs, caused largely by unanticipated and rapidly increasing competition




157
        See JX 647.
158
        See JX 654.
159
        Tr. 114 (Necchi); JX 807 ¶ 129.
160
        JX 806 at 72.
161
        Id. at 74.
162
        Id. at 72–73.

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from liquid crystal displays (―LCDs‖).165 By October 2005, LPD was anticipating a net

annual loss of $785 million.166 As a result, LPD management concluded that, in order for

the company to meet fully its obligations under the Bank Loan and the Notes, it would

need a further equity injection of $1.3 billion.167 LPD proceeded to request that amount

from its shareholders.168

        In December 2005, Philips N.V. declined LPD‘s request for further financial

support.169   In January 2006, unable to meet its debt obligations, LPD filed for

bankruptcy in the Netherlands.170

        Just days before the bankruptcy filing, Albertazzi sent the following email to

several members of LPD‘s Executive Board:

              [B]ased on my understanding of things that are going to
              happen in the next days [referring to the impending
              bankruptcy], there‘s another important element which is a real
              concern and that LPD and Philips should take care of: mine
              (and my family) safety.



163
        JX 684 at 22600.
164
        See generally JX 806.
165
        See JX 932.21 at 1517; JX 932.18 at 1539-40; JX 932.19 at 1531-33; JX 932.20 at
        1523-25.
166
        JX 932.20 at 1523.
167
        See JX 932.21 at 1518.
168
        See JX 742A at 160264-65.
169
        Id.
170
        JX 806 at 204.

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              As already explained several times: mr. Vichi see me as the
              key ―reference‖, the ―guarantee‖ of his 200M Euro. We
              know very well that this interpretation is not correct at
              all . . . , but still remains the fact that he see me as . . .
              responsible [for] his money in LPD and Philips.171

        On November 29, 2006, eleven months after LPD‘s bankruptcy, Vichi

commenced this litigation against Philips and various other named defendants. In his

complaint, Vichi asserted numerous claims, including breach of contract and fraud,

among others, and sought to recover the money that he lost as a result of LPD‘s default

on the €200 million loan.172

      8.      The European Commission’s investigation of price fixing activities

        On December 5, 2012, after six years of contentious litigation in this action and a

mere five days before the trial began, a significant development occurred on the price

fixing front. The European Commission (the ―EC‖) announced that it had fined seven

groups of companies, including the Philips group, for their participation in two CRT

cartels: one for CPT and the other for CDT.173 As previously noted,174 the EC‘s press

release summarized the charges as follows:

              The two CRT cartels are among the most organised cartels
              that the [EC] has investigated. For almost 10 years, the
              cartelists carried out the most harmful anti-competitive


171
        JX 752.
172
        The procedural history of this action is discussed in more detail infra in Section
        I.C.
173
        JX 945 at 1.
174
        See supra note 1 and accompanying text.

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                practices including price fixing, market sharing, customer
                allocation, capacity and output coordination and exchanges of
                commercial[ly] sensitive information.175

The press release further stated that ―[t]he investigation also revealed that the companies

were well aware they were breaking the law.‖176            Of the €1,470,515,000 in fines

reportedly imposed on the seven cartel participants, €313,356,000 was assessed against

Philips N.V. and another €391,940,000 was assessed jointly and severally against Philips

N.V. and LGE.177 Finally, the press release indicated that ―[t]he case law of the European

Court of Justice (ECJ) and the Antitrust Regulation (Council Regulation 1/2003) both

confirm that in cases before national courts, a Commission decision is binding proof that

the behaviour took place and was illegal.‖178

        The EC‘s actual decision is confidential and has not been made available to the

public, but a redacted portion of it eventually was provided to the Court and to the parties

to this dispute. Initially, Vichi attempted unsuccessfully to obtain a copy of the decision

from Philips N.V.179 At Vichi‘s request, this Court then made a request for international

assistance to the EC. In response, the EC made available a partially redacted copy of



175
        JX 945 at 1.
176
        Id. at 2.
177
        Id. at 3. The EC stated that it reduced Philips N.V.‘s actual liability for these fines
        by 30% under the EC‘s leniency program based on its cooperation in the price
        fixing investigation. See id. at 1–3.
178
        Id. at 4.
179
        D.I. No. 692 (Dec. 18, 2012 letter from Pl.‘s Counsel to Ct.)

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Section 6 of the EC‘s decision in case AT.39437—TV and Monitor Computer Tubes (the

―EC Decision‖).180 In that decision, the EC held Philips N.V. liable for its involvement

in both the CPT and CDT price fixing cartels during the periods before and after the

formation of LPD.181

        In the period before the formation of LPD, the EC found that Philips N.V.

participated in the price fixing cartels via numerous Philips N.V. subsidiaries that were

active in the CRT sector.182 The EC Decision states:

               [Given] the functioning of the CRT business, it is concluded
               that all the Philips‘ CRT business constituted a single
               undertaking, consisting of legal entities controlled by [Philips
               N.V.] The latter had the power to control and actually
               controlled the Philips entities involved in the CRT business
               . . . . [T]he Commission holds [Philips N.V.] liable in its
               quality [as] the ultimate parent company of all subsidiaries
               that were active in the CRT sector.183

Thus, the EC concluded that Philips N.V. was ―liable for [the] exercise of decisive

influence as parent company over its subsidiaries directly involved in the infringements,

concerning respectively CDT for the period between 29 January 1997 and 30 June 2001

and CPT for the period between 29 September 1999 and 30 June 2001.‖184 The EC fined



180
        That redacted decision was submitted to the Court by counsel for Philips N.V. on
        March 7, 2013. D.I. No. 735. I address the admissibility and preclusiveness of the
        EC Decision infra in Section IV.B.
181
        EC Decision ¶¶ 754–755.
182
        Id. ¶¶ 755, 781.
183
        Id. ¶ 781.
184
        Id. ¶ 786.

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Philips €313,356,000 for its involvement in the CRT price fixing cartels before the

formation of LPD.185

        As mentioned previously, in June 2001, Philips N.V. and LGE formed LPD to

carry on their combined CRT business.186 To that end, each of the parent companies

transferred their CRT-based assets and subsidiaries to LPD on its formation.187 The EC

held that, in so doing, Philips N.V. and LGE effectively ―restructured their CRT business

that was involved in the cartels and transferred it to a joint venture,‖ and that ―[a] number

of legal entities of [LPD] continued the participation in the cartel behaviour.‖188 The EC

also found that ―when transferring their respective CRT businesses to [LPD], [Philips

N.V.] and [LGE] were in effect using this joint venture as a vehicle to continue their

involvement in the CDT and CPT cartels.‖189 The EC therefore concluded that ―[f]rom 1

July 2001 onwards [Philips N.V.] participated in the CDT and CPT cartels through the

joint venture [LPD] and from that moment onwards the Commission holds it jointly and

severally liable with the other parent company [LGE] for the infringements committed by

the joint venture.‖190 For their joint involvement in the CRT price fixing cartels through



185
        JX 945 at 3. The EC also held LGE liable for directly and indirectly participating
        in the CRT cartels in the period preceding the formation of LPD. Id. ¶ 803.
186
        See JX 93 at 21264–66.
187
        Id.
188
        EC Decision ¶ 826.
189
        Id.
190
        Id. ¶ 786.

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LPD, the EC held Philips N.V. and LGE jointly and severally liable for a fine of

€391,940,000.191

        Additional findings of the EC concerning the period after LPD‘s formation that are

relevant to this dispute include the following:

                      [T]he parent companies of [LPD] did not intend to
                       create an independent company. [Philips N.V.] and
                       LGE as shareholders had influence on the most
                       important decisions for the company that was jointly
                       controlled by them. The joint venture was organised
                       in such a way as to allow the shareholders to make the
                       strategic commercial decisions, generate both strategic
                       and operational plans, control the day-to-day
                       management and ensure they were kept informed. . . .
                       [T]he Supervisory Board‘s role was more than just
                       advisory and neutral. It entailed approving major
                       management decisions and was setting the direction of
                       the company's business . . . . [Philips N.V.] and LGE
                       were in a position to and did actually exert a decisive
                       influence over [LPD‘s] commercial policy.192

                      [A]t the time of creation of [LPD] both [Philips N.V.
                       and LPD] were aware or should have been aware of
                       the existence of CDT and CPT cartels. The joint
                       venture continued involvement in the cartel
                       immediately after its creation. . . . [H]aving
                       participated in the cartels themselves previously, and
                       [LPD] continuing that participation, there was an
                       uninterrupted presence in the cartel for both [the]
                       Philips and LGE Groups also after the creation of
                       [LPD] and therefore the parent companies must have
                       known about the continuing participation of [LPD].193



191
        JX 945 at 3.
192
        Id. ¶¶ 836–837.
193
        Id. ¶¶ 838, 897.

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                    Entrusting individuals with consecutive positions in
                     the parent companies and the joint venture constitutes
                     a classic mechanism to keep coherence and
                     information flow within the members of the Group
                     . . . . Many individuals holding senior positions in the
                     joint venture and/or its supervisory and/or
                     management bodies also held simultaneously or
                     consecutively senior positions in a parent company.194

                              C.      Procedural History

        On November 29, 2006, Vichi commenced this action by filing a complaint

against Philips N.V. and other defendants accusing them of breach of contract, fraud,

unjust enrichment, and breach of fiduciary duty, among other things. Over the course of

this protracted litigation, Vichi filed an amended complaint and, later, a second amended

complaint. Also, as previously noted, the Court entered default judgments against the

defendants LPD International and LPD Finance in 2009 and 2011, respectively.

        In September 2008, Defendants Philips N.V., Warmerdam, and Ho moved to

dismiss the claims against them for, among other reasons, lack of personal jurisdiction,

forum non conveniens, and failure to state a claim. In a December 2009 opinion, I

granted the motions to dismiss all claims against Warmerdam and Ho under Court of

Chancery Rule 12(b)(2) for lack of personal jurisdiction.195 I also dismissed Counts III




194
        Id. ¶¶ 838–839.
195
        See Vichi v. Koninklijke Philips Elecs. N.V., 2009 WL 4345724, at *4–12 (Del.
        Ch. Dec. 1, 2009) (hereinafter Vichi I).

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and VIII for veil-piercing and Count X for aiding and abetting breaches of fiduciary duty

against Philips N.V. under Rule 12(b)(6) for failure to state a claim.196

          On July 24, 2012, Philips N.V., the only remaining defendant, moved for summary

judgment on all the remaining claims against it. In a November 28, 2012 Opinion, I

granted summary judgment in Philips N.V.‘s favor on Counts II (unjust enrichment), IV

(breach of implied or oral contract under Italian law), and XI (breach of fiduciary duty

under Dutch law), and dismissed each of those counts with prejudice.197 In that opinion, I

denied Philips N.V.‘s motion for summary judgment in all other respects, including as it

related to Counts V (breach of oral or implied contract under Delaware law), VI (fraud

under Delaware law), and VII (deceit by a third party and bad faith during contract

negotiations under Italian law).198 Thereafter, the parties stipulated to the dismissal of

Count V (breach of oral or implied contract under Delaware law) with prejudice.

          From December 10 to December 14, 2012, I presided over a five-day trial in this

action.         The trial record is voluminous, including over a thousand pages of trial

testimony, more than a thousand joint trial exhibits, and several thousand pages of

deposition testimony from over twenty different individuals.199 After extensive post-trial



196
          Id. at *19–21.
197
          Vichi v. Koninklijke Philips Elecs. N.V., 62 A.3d 26, 61 (Del. Ch. 2012)
          (hereinafter Vichi II).
198
          Id.
199
          I note also that more than a million pages of documents were produced in
          discovery.

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briefing, counsel presented their final arguments on May 1, 2013. On June 3, 2013, I

heard argument on Vichi‘s related motions for leave to file a third supplemental and

amended complaint and to admit Joint Exhibits (―JX‖) 943 and 944. This Opinion

reflects my rulings on those motions and constitutes my post-trial findings of fact and

conclusions of law in this matter.

                              D.      Parties’ Contentions

       The parties submitted over three hundred pages in post-trial briefing. The breadth

and depth of the parties‘ submissions reflected the myriad issues in dispute. Because I

address the parties‘ contentions in greater detail in the Analysis sections of this Opinion,

this summary attempts only to outline Philips N.V. and Vichi‘s arguments, in general, as

to the major issues of the case.

       First, after trial, Vichi filed a motion for leave to file a third supplemental and

amended complaint. Vichi‘s proposed changes include additional factual allegations and

two new counts, for negligent misrepresentation and civil conspiracy, respectively.

According to Vichi, supplementation and amendment of the complaint is appropriate in

light of the findings in the EC Decision. Philips N.V. opposes any supplementation or

amendment to the complaint on the grounds that Vichi‘s motion is procedurally improper

and exposes Philips N.V. to unreasonable prejudice.

       Next, the parties dispute what law should govern Vichi‘s claims. Philips N.V.

avers that because the Notes contain an English choice of law clause and Vichi‘s causes

of action arise from the Notes transaction, English law is controlling. In response, Vichi

contends that the choice of law clause does not reach non-contractual claims such as

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Vichi‘s action for fraud and, even if it did, Philips N.V., as a non-party to the Notes

transaction, would have no right to invoke that provision. Rather, Vichi argues that

because he is an Italian citizen and much of the Notes transaction was negotiated in Italy,

Italian law should apply under Delaware‘s conflict of laws regime.200

        The parties also dispute the admissibility of numerous exhibits that Vichi has

offered into evidence. Of particular note are the excerpt of the EC Decision provided to

the Court and JX 943 and 944, which consist of alleged minutes from numerous CRT

cartel meetings held in violation of EU competition law. Vichi proffers these exhibits as

admissible proof of LPD‘s participation in an illegal price fixing cartel and Philips N.V.‘s

knowledge of that illicit conduct. Philips N.V. contests the admissibility of these exhibits

(and several others) on the grounds that they are hearsay and are unduly prejudicial based

on numerous statements made by Vichi and the Court that this action would not be turned

into an antitrust case.

        Substantively, Vichi asserts that Philips N.V. procured his investment in LPD

fraudulently though affirmative misrepresentations and material omissions regarding: (1)

Philips N.V.‘s promise to ―stand behind‖ LPD; (2) LPD‘s financial condition and

prospects; and (3) LPD‘s participation in an illegal price fixing cartel. Philips N.V.

contends that Vichi‘s action is time-barred under the equitable doctrine of laches.

Specifically, Philips N.V. seeks dismissal of Vichi‘s claims as untimely because Vichi


200
        Although neither party argued that Delaware law should govern Vichi‘s claims,
        both sides briefed the merits of their arguments under Delaware law in the event
        this Court were to find that Delaware law, and not English or Italian law, applies.

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brought his lawsuit after the analogous statute of limitations had run. Vichi responds,

however, that any limitations period on his claims was tolled, and thus his claims are

timely, because either his injury was inherently unknowable or Philips N.V. fraudulently

concealed its misconduct.

       Beyond the applicability of laches, the parties also dispute vigorously the extent to

which Philips N.V. is liable for the conduct of Albertazzi and Golinelli, who were

employed at all relevant times by either LPD or Philips Italia. Vichi asserts that Philips

N.V. is vicariously liable for Albertazzi‘s and Golinelli‘s statements and actions in

connection with the negotiations that led to Vichi‘s purchase of the Notes. Philips N.V.

responds that Vichi knew or should have known that Albertazzi and Golinelli were not

agents of Philips N.V. and that there is no basis to hold it liable for the conduct of either

individual.

       Finally, Vichi and Philips N.V. dispute whether Vichi has proved each element of

his fraud claim by a preponderance of the evidence. Philips N.V. asserts that Vichi has

failed, at a minimum, to demonstrate that any of its purported misstatements or omissions

actually caused Vichi‘s loss. Vichi counters that had Philips N.V. been honest in its

disclosures, he never would have invested in LPD and that LPD‘s bankruptcy was the

result of risks that Philips N.V. misrepresented or failed to disclose.

       I turn now to my analysis of the key issues just outlined.

                II.      MOTION TO SUPPLEMENT AND AMEND

       Before embarking on the task of deciding whether Vichi will be successful on his

claims, I first must determine whether to grant Vichi‘s motion for leave to file the third

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supplemental and amended complaint (―TSAC‖). In the TSAC, Vichi adds facts and

allegations related to the EC Decision, including adding two new subsections to the

factual background of the complaint. The first of those subsections discusses Vichi‘s and

the Court‘s efforts to obtain a copy of the EC Decision between the date it was first

announced, December 5, 2012, and the date that a partially redacted excerpt was

obtained, March 7, 2013.201 The second subsection details many of the EC Decision‘s

key findings,202 including those related to Philips N.V.‘s knowledge of, and involvement

in, the CRT price fixing cartels as well as its influence over LPD.

        Vichi also seeks to add allegations to Count VI (fraud under Delaware law) and

Count VII (deceit by a third party and bad faith during contract negotiations under Italian

law) that are based on the findings of the EC Decision. These include that, ―[b]ecause

Vichi was not provided with truthful information regarding [Philips N.V.‘s] and LPD‘s

involvement in illegal price fixing cartels, Vichi was justified in relying upon the

representations made to him, as well as the artificially inflated financial profile of

LPD‖203 and that ―[a]s a result of his reliance on the above misrepresentations and

omissions, Vichi has suffered damages in an amount in excess of €200 million.‖204 In




201
        TSAC ¶¶ 245–251.
202
        Id. ¶¶ 296–305.
203
        Id. ¶¶ 310, 317.
204
        Id. ¶¶ 311 (Count VI), 318 (Count VII).

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addition, Vichi requests leave to add two new claims, namely, Count XII for negligent

misrepresentation and Count XIII for civil conspiracy.205

        Philips N.V. opposes Vichi‘s motion to supplement and amend his complaint in all

respects. According to Philips N.V., Vichi‘s motion is procedurally improper, untimely,

and would result in manifest prejudice.

        In ruling on Vichi‘s motion to file the TSAC, I must answer two distinct

questions: (1) whether Vichi should be permitted to modify his complaint to reflect the

EC Decision; and (2) whether Vichi should be permitted to amend his complaint to add

two new theories of recovery.206 I address each of those questions in turn.




205
        Id. ¶¶ 319–334.
206
        In addition to the material giving rise to these two questions, the TSAC also adds
        four sections of factual background based on the evidence of price fixing that was
        presented at trial from sources other than the EC Decision (Sections B–E of the
        TSAC‘s Factual Background). Philips N.V. did not specifically contest the
        addition of these sections in its opposing brief or at oral argument. On various
        occasions in the past, however, Philips N.V. has objected strenuously to the
        Court‘s receipt of the third-party evidence of alleged price fixing reflected in
        Sections B–E of the TSAC. In response to Philips N.V.‘s previous objections, the
        Court has noted more than once that it would not consider the third-party evidence
        (apart from the EC Decision) for purposes of deciding whether Philips N.V., in
        fact, engaged in price fixing either directly or indirectly through LPD. The Court
        also has stated, however, that it might admit and consider the third-party evidence
        to the extent it was relevant and admissible in relation to Vichi‘s fraud claim. In
        that context, but only that context, I grant Vichi‘s motion for leave to file Sections
        B-E of the TSAC. The actual admissibility of the evidence referenced in those
        sections is addressed infra in Section IV.

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      A.       Should Vichi Be Permitted to Modify his Complaint to Reflect the EC
                                            Decision?

           In answering this question, a threshold issue is whether Vichi‘s addition of facts

and allegations related to the EC Decision should be treated as supplementation or

amendment of the Second Amended Complaint, which was filed on May 22, 2009. As

this Court noted in Agilent Technologies, Inc. v. Kirkland,207 ―[t]he defining difference

between [amended and supplemental pleadings] is that supplemental pleadings deal with

events that occurred after the pleading to be revised was filed, whereas amendments deal

with matters that arose before the filing.‖ Supplementation of pleadings is governed by

the permissive standard of Court of Chancery Rule 15(d), whereas post-trial amendments

are governed by the relatively more restrictive standard of Rule 15(b).

           Although the commencement of a CRT price fixing investigation by the EC was

disclosed as early as November 2007,208 the EC Decision was not announced publicly

until December 2012 and was not provided to Vichi until March 2013, long after the

Second Amended Complaint had been filed. Nonetheless, Philips N.V. stresses that the

alleged price fixing activities that are the basis of the EC Decision‘s findings occurred in

2007 and earlier, well before the effective date of the Second Amended Complaint. As a

result, Philips N.V. contends that the facts and allegations based on the EC Decision‘s




207
           2009 WL 119865, at *4 (Del. Ch. Jan. 20, 2009).
208
           Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC Ex. A.

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findings that Vichi seeks to add to its complaint relate to earlier conduct and, therefore,

his request should be treated as a post-trial amendment.

        I disagree. Although the EC Decision relates to conduct by Philips N.V. that pre-

dates the filing of the Second Amended Complaint, the EC‘s determinations themselves,

along with their potentially preclusive or persuasive effect on this Court, did not come

into existence until several years after the Second Amended Complaint was filed. The

fact that the EC reached the conclusions that it did, after a protracted adjudicatory

proceeding in which Philips N.V. participated, is relevant evidence in this litigation.

Therefore, I consider Vichi‘s proposed addition of facts and allegations based on the EC

Decision to be supplementation.

        Motions to supplement are governed by Rule 15(d), which provides in relevant

part that: ―[u]pon motion of a party the Court may, upon reasonable notice and upon such

terms as are just, permit the party to serve a supplemental pleading setting forth

transactions or occurrences or events which have happened since the date of the pleading

sought to be supplemented.‖ As noted by this Court, ―Rule 15(d) is a highly permissive

standard.‖209 Motions to supplement should be treated with the same ―liberality‖ as pre-

trial motions to amend, and should be ―freely given.‖210 Leave to supplement may be




209
        Agilent Techs., Inc., 2009 WL 119865, at *5.
210
        Parnes v. Bally Entm’t Corp., 2000 WL 193112, at *2 (Del. Ch. Feb. 8, 2000).

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denied, however, if the plaintiff ―inexcusably delayed in making its request and

defendant is prejudiced as a result.‖211

        Here, Vichi did not delay in making his request. On November 8, 2012, counsel

for Philips N.V. notified the Court and its opposing counsel that the EC was expected to

release a decision in the CRT price fixing case in which Philips N.V. was a party

sometime in early December.212 The substance of the decision was not revealed until the

week before trial, when, on December 5, 2012, the EC published a press release

announcing the decision. Despite timely and vigorous efforts by Vichi thereafter, it was

not until three months later, on March 7, 2013, that a partially redacted excerpt of the

decision was obtained and made available to Vichi, in response to this Court‘s request

(on Vichi‘s motion) for international assistance from the EC. 213 Following receipt of the

partially redacted excerpt, Vichi repeatedly, but unsuccessfully, tried to obtain a full copy

of the EC Decision.214 Because Vichi moved to file the TSAC on April 10, 2013, just

one month after receipt of the redacted excerpt, he did not engage in any inexcusable

delay that would justify denying his motion.

        Philips N.V. also has not shown that it would be prejudiced by Vichi‘s proposed

supplementation of the complaint with information regarding the EC Decision. Philips


211
        Id.
212
        D.I. No. 606 (Nov. 8, 2012 letter from Def.‘s counsel to Ct.).
213
        See D.I. No. 735 (Mar. 7, 2013 letter from Def.‘s counsel to Ct., enclosing EC
        Decision).
214
        See Pl.‘s Mot. for Leave to File TSAC ¶ 14, Exs. E, F.

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N.V. has been on notice of the EC‘s investigations of its alleged price fixing activities for

more than five years.215      In addition, since December 2011,216 Vichi has pursued

discovery regarding Philips N.V.‘s price fixing activities and consistently has argued that

such evidence is relevant to his fraud claim.217 Vichi‘s efforts in this area took on

renewed vigor following Philips N.V.‘s public disclosure in March 2012 that it had

agreed to settle for $27 million a class action lawsuit based on claims that it had fixed

CRT prices.218 Despite Philips N.V.‘s denial of any involvement in price fixing219 and

resistance to discovery on the issue,220 by December 2012, Vichi had accumulated a

significant amount of evidence from other sources related to Philips N.V. and LPD‘s

alleged participation in price fixing.221




215
        See Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC Ex. A.
216
        See Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC Ex. C, Doc. Req. No. 9
        (Pl.‘s Third Set of Interrogs. and Third Req. for Produc. of Docs., Dec. 16, 2011).
217
        See, e.g., JX 836; D.I. No. 332 at 4 (Apr. 13, 2012 letter from Pl.‘s counsel to Ct.).
218
        D.I. No. 332 Exs. D, E.
219
        JX 839 (Apr. 16, 2012 letter from Def.‘s counsel to Ct., stating that ―Philips denies
        . . . allegations‖ of its involvement in price fixing and describing Vichi‘s motion
        for a commission to obtain documents relating to price fixing as ―no more than the
        quintessential ‗fishing expedition‘ with no factual basis whatsoever.‖).
220
        See, e.g., id.; JX 851; JX 849 at Interrog. Resp. No. 6, Doc. Req. Resp. Nos. 17, 20
        (Philips N.V. objecting to discovery requests related to its and LPD‘s alleged
        involvement in CRT price fixing).
221
        The evidence of price fixing that Vichi presented at trial, and Philips N.V.‘s
        objections to it, are considered in greater detail infra in Section IV.

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        When the EC Decision was announced just before trial, Vichi requested

immediately that Philips N.V. produce the full text of that document.222 Philips N.V.

declined that request, citing EC non-discovery policies intended to protect the

confidential information of the parties to a dispute.223 In deference to those policies, I did

not order Philips N.V. itself to produce the EC Decision.224 In a teleconference held

before trial, however, I advised the parties of my assumption ―that it will be proved to me

before I get to making a decision in this action that the European Commission . . . ha[s]

determined that Philips has engaged in price fixing in connection with LPD.‖225

        At the end of trial, I held the record open to permit the possible addition of the EC

Decision.226 The parties and the Court later received the redacted excerpts I have called

the EC Decision and Vichi sought to add them to the record. I allowed that, but did not

require Philips N.V. to submit a post-trial brief until after Vichi made that addition.

Against this backdrop, I find that Philips N.V. had fair notice of the findings contained in

the EC Decision and had an adequate opportunity to offer a defense to those findings

both at trial and in post-trial briefing. I therefore conclude that Philips N.V. will not be

prejudiced by the inclusion of the information regarding the EC Decision in Vichi‘s



222
        Pl.‘s Mot. for Leave to File TSAC Ex. D.
223
        D.I. No. 677 (Dec. 7, 2012 letter from Def.‘s counsel to Ct.).
224
        Tr. of Teleconference, Dec. 7, 2012, at 3–4.
225
        Id. at 4.
226
        Tr. 1015–16.

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TSAC. For these reasons, I grant Vichi‘s motion for leave to file the TSAC as to those

portions reflecting the EC Decision.

             B.      Should Vichi Be Permitted to Amend his Complaint?

        As mentioned previously, Vichi seeks to amend his complaint to add claims based

on two new theories of recovery, namely, Count XII alleging negligent misrepresentation

and Count XIII alleging civil conspiracy. These proposed post-trial amendments are

governed by the first part of Rule 15(b),227 which provides:

               Amendments to conform to the evidence. When issues not
               raised by the pleadings are tried by express or implied
               consent of the parties, they shall be treated in all respects as if
               they had been raised in the pleadings. Such amendment of
               the pleadings as may be necessary to cause them to conform
               to the evidence and to raise these issues may be made upon
               motion of any party at any time, even after judgment; but
               failure so to amend does not affect the result of the trial of
               these issues.

Thus, Rule 15(b) authorizes amendment of the pleadings to conform to issues ―tried by

express or implied consent of the parties.‖ In effect, this requires a showing that the

parties consented, explicitly or implicitly, to the introduction of evidence of the unpled

issue.228 The purpose of Rule 15(b) is ―to encourage the disposition of litigation on its

merits,‖ and the ―decision to permit or deny an amendment is left to the discretion of the


227
        Vichi also attempts to invoke the second part of Rule 15(b) in support of his
        amendments. The latter part of Rule 15(b), however, governs amendment of the
        pleadings in the context of an objection at trial that certain evidence is not within
        the issues framed by the pleadings. See Ct. Ch. R. 15(b). That situation does not
        exist here.
228
        Those Certain Underwriters at Lloyd’s, London v. Nat’l Installment Ins. Servs.,
        Inc., 2008 WL 2133417, at *9 (Del. Ch. May 21, 2008).

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trial judge.‖229 In exercising that discretion, a judge ―must always permit or deny the

amendment by weighing the desirability of ending the litigation on its merits against

possible prejudice or surprise to the other side.‖230 I first consider whether to allow Vichi

to amend his complaint to add a claim of civil conspiracy, and then examine the potential

addition of the negligent misrepresentation claim.

                                 1.      Civil conspiracy

        In the TSAC, Vichi adds a claim for civil conspiracy, alleging that Philips N.V.

and LPD engaged in a conspiracy to run LPD‘s business without disclosing its

involvement in price fixing.231 To make a case for civil conspiracy, a plaintiff must

show: ―(i) a confederation or combination of two or more persons; (ii) an unlawful act

done in furtherance of the conspiracy; and (iii) damages resulting from the action of the

conspiracy parties.‖232




229
        Grand Ventures, Inc. v. Whaley, 632 A.2d 63, 72 (Del. 1993) (citing Bellanca
        Corp. v. Bellanca, 169 A.2d 620, 622 (Del. 1961)).
230
        Bellanca, 169 A.2d at 622. See also 6A Charles Alan Wright, Arthur R. Miller &
        Mary Kay Kane, Fed. Practice and Procedure (―Wright & Miller‖) § 1493 (2008)
        (―Rule 15(b)(2) does not expressly refer to prejudice as a basis for denying an
        amendment to conform to issues that have been introduced without objection; it
        only speaks of consent. Nonetheless, consideration of this factor is a valid exercise
        of the court‘s discretion . . . .‖); Lloyd’s, 2008 WL 2133417, at *7 n.59 (―Rule 15
        is modeled on the Fed. R. Civ. P. 15. Delaware courts routinely look to the federal
        courts‘ application of Fed. R. Civ. P. 15.‖).
231
        TSAC ¶¶ 327–334.
232
        Albert v. Alex. Brown Mgmt. Servs., Inc., 2005 WL 2130607, at *10 (Del. Ch.
        Aug. 26, 2005).

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        As to the consent requirement of Rule 15(b), Vichi has not demonstrated that

Philips N.V. explicitly consented to trial of the civil conspiracy claim. To the contrary,

Philips N.V. specifically objected to Vichi‘s suggestion, on the eve of trial, that the

complaint be amended to add a claim of civil conspiracy.233 Nonetheless, Vichi argues

that Philips N.V. explicitly consented to the addition of that claim through the parties‘

mutual request in the Joint Pre-Trial Stipulation and Order that ―the pleadings be

conformed to the evidence presented at trial.‖234 Fairly read, however, that request only

reiterates the usual post-trial practice, rather than reflecting a blanket consent by the

parties in advance to any particular post-trial amendment.

        Vichi also has failed to establish that Philips N.V. implicitly consented to trial of a

civil conspiracy claim. In that regard, I note that ―[i]mplied consent . . . is . . . difficult to

establish as it depends on whether the parties recognized that an issue not presented by

the pleadings entered the case at trial. If they do not, there is no consent and the

amendment cannot be allowed.‖235            In other words, ―it must appear that parties




233
        D.I. No. 677 (Dec. 7, 2012 letter from Def.‘s counsel to Ct., arguing that ―plaintiff
        should not be permitted to amend his complaint.‖).
234
        Joint Pre-Trial Stip. and Order ¶¶ 40, 42 (Nov. 21, 2012).
235
        Lloyd’s, 2008 WL 2133417, at *9 (quoting 6A Wright & Miller § 1493) (internal
        quotation marks omitted).

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understood evidence introduced without objection was aimed at the unpleaded issue in

order to constitute implied consent.‖236

        In his opening brief in support of his motion for leave to file the TSAC, Vichi

claimed that ―evidence to support a recovery under the theory of civil conspiracy under

Delaware law was presented without objection at trial,‖ but he offered no citation to the

record or other support for this assertion.237 After Philips N.V. noted this deficiency in its

opposition brief,238 Vichi pointed to trial evidence that allegedly supports his claim for

civil conspiracy, namely, price fixing evidence consisting of the EC press release

announcing the EC Decision and minutes from alleged CRT cartel meetings.239

        The evidence of conspiracy that Vichi highlights and the conduct of the parties to

this action do not support the existence of any implied consent by Philips N.V. to try a

claim for civil conspiracy for two principal reasons. First, Philips N.V. persistently has

objected to the evidence of price fixing proffered by Vichi.240 Philips N.V., therefore,




236
        Laird v. Buckley, 539 A.2d 1076, 1080 (Del. 1988) (citing MBI Motor Co. v.
        Lotus/East, Inc., 506 F.2d 709, 711 (6th Cir. 1974)).
237
        Pl.‘s Mot. for Leave to File TSAC ¶ 11.
238
        See Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC 5.
239
        Pl.‘s Reply Br. in Support of Mot. for Leave to File TSAC 20 (citing JX 945; JX
        943).
240
        Philips N.V. has objected in numerous ways to the price fixing evidence that Vichi
        has sought to introduce, including through: (1) a motion in limine; (2) objections at
        trial, see Tr. 306, 1004; (3) its opposition to Plaintiff‘s motion to admit JX 943 and
        944; and (4) its post-trial brief, see Def.‘s Post-Trial Br. 81–89.

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cannot be said to have implicitly consented to the presentation of that evidence, or to trial

of the unpled issue the evidence allegedly supports.241

        Second, by the time of trial, one of Vichi‘s primary theories of recovery was a

fraud by omission theory, based on Philips N.V.‘s and LPD‘s failure to disclose LPD‘s

involvement in price fixing during negotiation of the Loan.242 Thus, the price fixing

evidence that Vichi contends was relevant to the unpled civil conspiracy claim was also

relevant to his pre-existing fraud claim. Furthermore, Vichi gave no express indication at

trial that this evidence was being offered in support of a conspiracy claim. Implied

consent should not be inferred when ―evidence relevant to a properly pleaded issue also

incidentally tends to prove [a] fact not pleaded.‖243 Therefore, even if Philips N.V. had

not objected to this evidence, that fact would not support an inference of implied consent

to trial of the unpled civil conspiracy claim. For these reasons, Vichi has failed to

demonstrate that Philips N.V. expressly or implicitly consented to trial of a claim for civil

conspiracy.



241
        6A Wright & Miller § 1493 (―[W]hen a party has objected to the introduction of
        evidence on a new issue, the opposing party cannot later seek to amend the
        pleadings to conform to the evidence on the ground that the party impliedly
        consented to the trial of that issue.‖).
242
        Pl.‘s Pretrial Br. 18–20.
243
        Laird v. Buckley, 539 A.2d 1076, 1080 (Del. 1988) (citing Stationery & Bank
        Supply v. Harris Corp., 624 F.2d 168, 171 (10th Cir. 1980)). See also Douglas v.
        Owens, 50 F.3d 1226, 1236 (3d Cir. 1995) (―[A]n issue has not been tried by
        implied consent if evidence relevant to the new claim is also relevant to the claim
        originally pled, because the defendant does not have any notice that the implied
        claim was being tried.‖); 6A Wright & Miller § 1493.

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        Moreover, Philips N.V. would be unfairly prejudiced by the addition of a civil

conspiracy claim at this late stage. The primary test for prejudice when a party seeks to

assert a new theory ―is whether the opposing party was denied a fair opportunity to

defend and to offer additional evidence on that different theory.‖244 Although mere delay

generally does not warrant denial of a motion to amend under Rule 15, ―when the delay

combines with other extrinsic factors that result in actual prejudice to the party opposing

the motion, denial is appropriate.‖245

        As mentioned previously, Vichi first began seeking discovery as to Philips N.V.‘s

and LPD‘s involvement in price fixing in December 2011, one year before trial. As a

result of subsequent discovery efforts, which concluded in July 2012, Vichi obtained

what he describes as ―overwhelming proof that Philips and LPD were engaged in an

illegal price fixing scheme that was not disclosed to Vichi at the time . . . [of the] €200

million loan.‖246   The evidence that Vichi accumulated and seeks to have admitted

includes the testimony of Chih-Chun Liu, a former employee of an alleged co-conspirator

of Philips N.V. and LPD in the CRT cartels, and minutes from hundreds of alleged CRT



244
        Those Certain Underwriters at Lloyd’s, London v. Nat’l Installment Ins. Servs.,
        Inc., 2008 WL 2133417, at *10 (Del. Ch. May 21, 2008) (quoting Foraker v.
        Chaffinch, 501 F.3d 231, 245 (3d Cir. 2007)) (internal quotation marks omitted).
        See also 3 James Wm. Moore et al., Moore’s Federal Practice (―Moore‘s Federal
        Practice‖) § 15.15[2] (2007).
245
        Lloyd’s, 2008 WL 2133417, at *10 (quoting Johnson v. Trueblood, 629 F.2d 287,
        294 (3d Cir. 1980)) (internal quotation marks omitted). See also 3 Moore‘s
        Federal Practice § 15.15[2].
246
        Pl.‘s Mot. for Leave to File TSAC ¶ 2.

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price fixing meetings, in many of which LPD or other Philips-affiliated entities

purportedly participated.247

        Based on Vichi‘s own statements, therefore, he had evidence of Philips N.V.‘s and

LPD‘s cartel involvement many months before the EC press release on December 5,

2012, and the start of trial on December 10, 2012. Yet, Vichi waited until the eve of trial

to indicate his intent to amend his complaint to add a claim for civil conspiracy and did

not actually do so until three months later. This late notice deprived Philips N.V. of the

opportunity to conduct discovery to support defenses to or to rebut elements of the newly

asserted claim, including the required element of an agreement between Philips N.V. and

LPD to run LPD‘s business ―without disclosing [its] participation . . . in, and dependence

on, illegal price fixing.‖248 Under these circumstances, I find that Philips N.V. would be

unduly prejudiced if Vichi is permitted to amend his complaint to add a claim for civil

conspiracy.249




247
        See id. ¶ 2 n.3.
248
        TSAC ¶ 328. The parameters of the alleged conspiracy are unclear. If it is a
        conspiracy by Philips N.V. and LPD to fix prices, I already have denied Vichi‘s
        request to include such an unfair competition claim in this litigation. If the
        conspiracy involves an alleged agreement by Philips N.V. and LPD to defraud
        Vichi into making the Loan by concealing their price fixing activities from Vichi,
        that is not the way this action was presented. Rather, the focus has been on Philips
        N.V., its role in LPD, and the actions of alleged agents of Philips N.V. Recasting
        Vichi‘s claim in this manner after over six years of litigation would deprive
        Philips N.V. of the ability to develop fully factual and legal defenses they
        otherwise might have pursued.
249
        See Dillon v. Cobra Power Corp., 560 F.3d 591, 599 (6th Cir. 2009) (finding that
        defendant ―would clearly [be] prejudice[d]‖ where a new claim sought to be
                                           58
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        Therefore, I find that Philips N.V. neither explicitly nor implicitly consented to the

trial of a civil conspiracy claim, and that Philips N.V. would be unfairly prejudiced by its

assertion at this late stage. For these reasons, I deny Vichi‘s motion for leave to file its

proposed civil conspiracy claim as part of the TSAC.

                           2.      Negligent misrepresentation

        In contrast to the civil conspiracy claim, the claim for negligent misrepresentation

that Vichi seeks to add in the TSAC closely corresponds to the existing fraud theories

asserted in the complaint, namely, common law fraud under Delaware law and deceit by

a third party during contract negotiations (or ―deceit‖) under Italian law. Indeed, in

Delaware, ―[a] claim of negligent misrepresentation . . . requires proof of all of the

elements of common law fraud except ‗that plaintiff need not demonstrate that the

misstatement or omission was made knowingly or recklessly.‘‖250              Thus, negligent

misrepresentation is essentially a species of common law fraud with a lesser state of mind

requirement—i.e., scienter is replaced by negligence.251




        asserted under Rule 15(b) ―involves elements for which discovery was never
        conducted‖).
250
        Williams v. White Oak Builders, Inc., 2006 WL 1668348 (Del. Ch. June 6, 2006),
        aff’d, 913 A.2d 571, 2006 WL 3392917 (Del. 2006) (ORDER) (quoting H-M
        Wexford LLC v. Encorp, Inc., 832 A.2d 129, 144 (Del. Ch. 2003)).
251
        ―To successfully assert a claim for negligent misrepresentation [the plaintiff] must
        adequately plead that: (1) the defendant had a pecuniary duty to provide accurate
        information, (2) the defendant supplied false information, (3) the defendant failed
        to exercise reasonable care in obtaining or communicating the information, and (4)
        the plaintiff suffered a pecuniary loss caused by justifiable reliance upon the false
        information.‖ Corp. Prop. Assocs. 14 Inc. v. CHR Hldg. Corp., 2008 WL 963048,
                                            59
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        Moreover, Vichi consistently has asserted that, under Italian law, ―negligence is

sufficient to establish liability‖ for deceit.252 For example, in the Second Amended

Complaint, Vichi pled a theory of negligent misrepresentation in his deceit claim. 253 In

addition, in asserting the absence of a conflict between the laws of Italy and Delaware,

Philips N.V. noted that, in terms of their scienter requirements, ―a Delaware claim for

negligent misrepresentation is no different [than an Italian claim for deceit].‖254

Therefore, with one arguable exception discussed in greater detail below, I find that the

elements constituting a claim of negligent misrepresentation under Delaware law have

been briefed, tried, and argued in this case.

        The sole element of negligent misrepresentation that conceivably does not

correspond to an element of the previously asserted fraud theories is the requirement that,




        at *8 (Del. Ch. Apr. 10, 2008) (citing Steinman v. Levine, 2002 WL 31761252, at
        *15 (Del. Ch. Nov. 27, 2002)).
252
        Pl.‘s Post-Trial Br. 53 (citing JX 865 ¶ 30). All references in this Opinion to
        Plaintiff‘s Post-Trial Brief and Plaintiff‘s Post-Trial Reply Brief refer to the
        revised versions of those briefs that were submitted in response to the Court‘s
        request for briefing from Plaintiff that more clearly distinguished between Philips
        N.V. and its various subsidiaries. See D.I. No. 772 (letter requesting resubmission
        of Plaintiff‘s post-trial briefs); D.I. No. 778 (Pl.‘s revised Post-Trial Br.); D.I. No.
        780 (Pl.‘s revised Post-Trial Reply Br.).
253
        Compare Second Am. Compl. ¶ 191 (―Defendants knew that their statements to
        Mr. Vichi and his agent were false‖) (Count VI—fraud under Delaware law) with
        Second Am. Compl. ¶ 205 (―Defendants knew or should have known that the
        statements or silence described above were false or misleading.‖) (Count VII—
        deceit under Italian law).
254
        Def.‘s Post-Trial Br. 17 n.14.

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to be liable for negligent misrepresentation, a person must have a pecuniary duty to

provide accurate information.255 Philips N.V. contends that the requisite pecuniary duty

can only be shown if the defendant is a person who is in the business of supplying

information. That is, however, an overly narrow statement of the circumstances under

which a person may incur a pecuniary duty under Delaware law.

        The purpose of the pecuniary duty requirement is ―to shield those who gratuitously

provide information from liability under the negligent misrepresentation doctrine,‖256 by

limiting liability to situations in which ―the defendant has a pecuniary interest in the

transaction in which the information is given.‖257       Thus, to succeed on a negligent

misrepresentation claim, a plaintiff must show that the source of the allegedly misleading

information was a defendant who ―expect[ed] to profit from the course of conduct in

which he provide[d] the information, [such that] he c[ould] reasonably be expected to

take reasonable care in providing that information.‖258 One in the business of supplying

information, therefore, may be especially susceptible to negligent misrepresentation

claims. But being a professional information provider is not a prerequisite to incurring a

pecuniary duty that could give rise to liability for negligent misrepresentation.259



255
        See CHR Hldg. Corp., 2008 WL 963048, at *8.
256
        Id.
257
        Restatement (Second) of Torts § 552 cmt. c (1977).
258
        See CHR Hldg. Corp., 2008 WL 963048, at *9.
259
        See Darnell v. Myers, 1998 WL 294012, at *5 (Del. Ch. May 27, 1998); Wolf v.
        Magness Constr. Co., 1995 WL 571896 (Del. Ch. Sept. 11, 1995). In both of
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        Based on the declaration of Vichi‘s Italian law expert, Pietro Trimarchi, it appears

that a negligent misrepresentation claim under Italian law also requires a showing of

something akin to a ―pecuniary duty.‖ According to Trimarchi‘s undisputed statement of

the law on this issue, a deceit claim based on a negligent misrepresentation arises under

Italian law ―when the nature of the contact between the negligent and injured parties

gives rise to a duty of care and justifies reliance by the plaintiff.‖260 This duty of care is

created when ―the information is supplied in a supplier‘s business or professional

capacity, or in a special business relationship, where the defendant has special knowledge

not open to the plaintiff, or if the defendant derives a benefit from the reliance of the

plaintiff.‖261 I find that this ―duty of care‖ requirement for a deceit claim based on

negligent misrepresentation under Italian law is analogous to the ―pecuniary duty‖

requirement of a negligent misrepresentation claim under Delaware law. Thus, the issue

of whether Philips N.V. owed Vichi a pecuniary duty as to the Notes transaction is an

element of Vichi‘s previously asserted fraud theories.

        Here, Philips N.V. owned 50% plus one share of LPD and was the guarantor of

hundreds of millions of dollars of LPD‘s debt. Therefore, Philips N.V. undoubtedly had

an interest in keeping LPD solvent and preventing it from breaching its financial




        these cases, this Court held that the seller of a home had a pecuniary duty to
        provide potential buyers with accurate information.
260
        JX 865 ¶ 30.
261
        Id.

                                           62
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covenants, particularly under the $2 billion Bank Loan. These interests were served by

the €200 million Loan from Vichi, which bolstered LPD‘s solvency and helped it to avert

a breach of its financial covenants.262 These facts suffice to state a prima facie case that

Philips N.V. had a pecuniary interest in the Vichi Loan and therefore owed a pecuniary

duty to Vichi.263

        Based on these facts, I find that Vichi‘s newly proffered claim of negligent

misrepresentation under Delaware law effectively was tried with the tacit consent of the

parties through the trial of Vichi‘s existing claims for fraud. Consequently, the one

element of negligent misrepresentation that conceivably does not correspond to any

element of the previously asserted fraud claims—the existence of a pecuniary duty—was,

in fact, a part of Vichi‘s Italian law fraud claim, and has been a part of this case since at

least the filing of the Second Amended Complaint in May of 2009. As Philips N.V. was




262
        See Ingen Housz Dep. 92–94.
263
        Philips N.V. contends that this Court‘s previous dismissal, at the summary
        judgment stage, of Vichi‘s unjust enrichment claim against Philips N.V. precludes
        a finding that it had a pecuniary interest in the Loan with Vichi. I disagree. The
        unjust enrichment claim was dismissed in part because Vichi failed to establish the
        direct relationship between Vichi‘s impoverishment and Philips N.V.‘s
        enrichment that is needed to prove a claim for unjust enrichment. See Vichi II, 62
        A.3d 26, 61 (Del. Ch. 2012) (―Vichi has failed to create a genuine issue of
        material fact that a direct relationship existed between Vichi's loan and Philips
        N.V.‘s enrichment‖). By contrast, precedents of this Court suggest that even an
        indirect pecuniary interest, if sufficiently apparent, can result in the creation of a
        pecuniary duty. See CHR Hldg. Corp., 2008 WL 963048, at *9 (finding that
        parent holding company had a pecuniary interest in transactions that could affect
        its subsidiary‘s capital structure, and therefore had a pecuniary duty to the
        counterparty in those transactions).

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on notice of and had the opportunity to contest each of the disputed elements of negligent

misrepresentation, the addition of this claim will not cause Philips N.V. to suffer undue

prejudice. Moreover, I find that permitting an amendment to add this claim will serve the

underlying purpose of Rule 15(b), ―to encourage the disposition of litigation on its

merits.‖264 For these reasons and in the exercise of my discretion under Rule 15(b), I

grant Vichi‘s motion to add a claim for negligent misrepresentation as part of the TSAC

and treat that claim as if it had been raised in the pleadings.265

        In addition, I find that the facts and circumstances giving rise to the negligent

misrepresentation claim—namely, Philips N.V.‘s and LPD‘s alleged misrepresentations

and omissions during the Loan negotiations with Vichi—are the same as those that gave

rise to the fraud claims, which were first pled in the original complaint. Therefore, under




264
        Grand Ventures, Inc. v. Whaley, 632 A.2d 63, 72 (Del. 1993) (citing Bellanca
        Corp. v. Bellanca, 169 A.2d 620, 622 (Del. 1961)).
265
        Philips N.V. also argues that Vichi should not be allowed to amend the operative
        complaint to add a negligent misrepresentation claim because that claim would be
        futile. This argument is without merit. An amendment is futile if it would not
        survive a motion to dismiss under Court of Chancery Rule 12(b)(6). Cartanza v.
        Lebeau, 2006 WL 903541, at *2 (Del. Ch. Apr. 3, 2006). However, the ―analysis
        applied to a motion to amend that is filed after a trial has begun must consider the
        evidence the plaintiff has introduced at trial in order to be consistent with Court of
        Chancery Rule 15(b).‖ Cantor Fitzgerald, L.P. v. Cantor, 1999 WL 413394, at *2
        (Del. Ch. June 15, 1999). Because Philips N.V.‘s contention that Vichi‘s
        negligent misrepresentation claim is futile is based on his failure to prove or allege
        that Philips N.V. owed him a pecuniary duty, and because at trial Vichi made a
        prima facie showing that Philips N.V. owed him a pecuniary duty in connection
        with the Notes transaction, the proposed amendment is not futile as a matter of
        law.

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Rule 15(c), the negligent misrepresentation claim relates back to the original complaint

for purposes of the statute of limitations and laches.266

        In summary, therefore, I grant Vichi‘s motion to supplement and amend his

complaint by treating the negligent misrepresentation claim as if it had been raised in the

pleadings and, to clarify the record and avoid confusion, I grant Vichi leave to file a

modified form of the TSAC.          In particular, the modified TSAC shall include all

unchanged material from the previous operative complaint and paragraphs 244 through

326, including relevant section headings, from the proposed TSAC submitted with

Vichi‘s motion. In all other respects, Vichi‘s motion is denied.

        Having determined the full scope of Vichi‘s causes of action, I address next the

applicable law governing Vichi‘s claims.

                             III.      APPLICABLE LAW

        A key issue in this case is whether English, Italian, or Delaware law governs

Vichi‘s claims. In cases where foreign law may be applicable, ―the party seeking the

application of foreign law has the burden of not only raising the issue that foreign law

applies, but also the burden of adequately proving the substance of the foreign law.‖267




266
        Court of Chancery Rule 15(c) provides: ―[a]n amendment of a pleading relates
        back to the date of the original pleading when . . . the claim or defense asserted in
        the amended pleading arose out of the conduct, transaction or occurrence set forth
        or attempted to be set forth in the original pleading.‖
267
        Republic of Pan. v. Am. Tobacco Co., 2006 WL 1933740, at *4 (Del. Super. June
        23, 2006), aff’d sub nom. State of Sao Paulo of Federative Republic of Braz. v.
        Am. Tobacco Co., 919 A.2d 1116 (Del. 2007) (citing 9 Moore‘s Federal Practice
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Philips N.V. argues that English law should govern Vichi‘s claim based on an English

choice of law provision in the Notes. Vichi, on the other hand, asserts that Delaware‘s

conflict of laws rules require the Court to apply Italian law. I consider, in turn, the

applicability of English and Italian law to this case.

                                   A.      English Law

        ―Under general conflict of laws principles, the forum court will apply its own

conflict of laws rules to determine the governing law in a case.‖268 In that regard,

―Delaware Courts will honor a contractually-designed choice of law provision so long as

the jurisdiction selected bears some material relationship to the transaction‖ and the

jurisdiction‘s laws are not ―repugnant to the public policy of Delaware.‖269 Where a

choice of law provision is valid, the question of its proper scope is a question of the

selected jurisdiction‘s laws, as it turns on how the choice of law provision should be

read.270

        The Notes contain a choice of law clause specifying that ―[t]his Note is governed

by, and shall be construed in accordance with, English law.‖271 None of the parties



        § 44.1.04[1] (3d ed. 2006) (―The party that wishes to rely on foreign law has the
        responsibility of demonstrating its content.‖)).
268
        Tyson Foods, Inc. v. Allstate Ins. Co., 2011 WL 3926195, at *5 (Del. Super. Aug.
        31, 2011).
269
        J.S. Alberici Constr. Co. v. Mid-W. Conveyor Co., 750 A.2d 518, 520 (Del. 2000).
270
        See Weil v. Morgan Stanley DW Inc., 877 A.2d 1024, 1032 (Del. Ch. 2005), aff’d,
        894 A.2d 407 (Del. 2005) (TABLE).
271
        JX 427 at 21820.

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contest the validity of this choice of law provision in the Notes,272 and this Court is not

aware of any reason why the parties‘ agreement would violate either of the previously

stated material relationship or non-repugnancy requirements. The parties do dispute,

however, whether the choice of law clause is broad enough to extend to Vichi‘s fraud

claims and whether, if it does, Philips N.V., as a nonparty to the Notes, is entitled to

invoke that provision. Philips N.V. seeks the application of English law primarily to

facilitate its assertion of an affirmative defense under the English statute of frauds.

Specifically, Philips N.V. contends that English law requires that a representation as to

the credit, ability, trade, or dealings of another be in writing to be enforceable.273

        1.     Does the choice of law provision extend to Vichi’s fraud claims?

        The question of whether the English choice of law clause in the Notes extends to

Vichi‘s fraud claims involves the clause‘s scope, and is acknowledged by the parties to

be governed by English law. At trial, Vichi‘s English law expert, Mark Hapgood Q.C.,274




272
        See Postorivo v. AG Paintball Hldgs., Inc., 2008 WL 343856, at *4 (Del. Ch. Feb.
        7, 2008) (―[C]onsistent with the Restatement and well-settled Delaware precedent,
        because the [agreement] designates New York law and neither party challenges
        the applicability of that designation, I analyze the issues presented under New
        York law.‖)
273
        JX 859 ¶ 48, Ex. 13 § 6. See also JX 870 Ex. 3 at 365–66; Tr. 703–06 (Brindle);
        Tr. 503–05 (Hapgood).
274
        ―Q.C.‖ stands for Queen‘s Counsel. The Queen‘s Counsel is described by the Bar
        Council for England and Wales as follows: ―[a] limited number of senior barristers
        receive ‗silk‘—becoming Queen‘s Counsel—as a mark of outstanding ability.
        They are normally instructed in very serious or complex cases. Most senior judges
        once practised as QCs.‖           See The Bar Council, About barristers,
        http://www.barcouncil.org.uk/about-the-bar/about-barristers/ (last visited Feb. 18,
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testified that, under English law, the relevant process for determining the scope of a

choice of law clause is ―simply one of construction which involves giving words their

ordinary and natural meaning.‖275 According to Hapgood, ―any competent draftsman of a

contract being governed by established [English] law‖ would understand the choice of

law language in the Notes to be ―at the very narrowest end of quite a wide spectrum.‖ 276

In this regard, Hapgood contrasted the language of the Notes‘ clause—―[t]his Note is

governed by, and shall be construed in accordance with, English law‖—with more

broadly worded provisions that are commonly used, such as ―this contract and all

disputes under it shall be governed by English law‖ or ―this contract and all disputes

under it or relating to it . . . shall be governed by English law.‖277 Hapgood opined that

the Notes‘ narrow choice of law clause ―would be apt to govern disputes about the

meaning of the contract and contractual rights,‖ but would not reach non-contractual

claims such as the fraud claims asserted by Vichi.278




        2014). The English law experts utilized by Philips N.V., Bankim Thanki and
        Mark Brindle, are also both Queen‘s Counsel. On that basis, and having reviewed
        the accomplishments of both parties‘ experts, I conclude that these experts are
        eminently qualified to testify regarding English law.
275
        Tr. 483–84; see JX 864 ¶ 8.
276
        Tr. 483–84; see JX 873 ¶ 6.
277
        Tr. 483–84.
278
        Id.; see JX 864 ¶ 8; JX 873 ¶ 6.

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        Philips N.V. identified no cases in which a choice of law provision as narrow as

the one contained in the Notes was held to extend to non-contractual tort claims.279

Nonetheless, at trial, Philips N.V.‘s English law expert, Michael Brindle, Q.C., criticized

as outdated Hapgood‘s approach to the construction of choice of law provisions, which

focuses on how wide or narrow the clause is.280 Specifically, Brindle argued that this

―traditional‖ approach was displaced by the House of Lords, England‘s highest court, in




279
        Tr. 485–87 (Hapgood). The only case referenced by Philips N.V.‘s experts that
        contains an equally narrow choice of law clause is The Pioneer Container, [1994]
        2 AC 324 (PC, HK). The choice of law provision in the contract at issue there
        merely stated that ―this . . . contract shall be governed by Chinese law.‖ JX 870
        Ex. 1 ¶¶ 10.59–61. The issue before the court in that case, however, involved the
        scope of the contract‘s jurisdiction clause, which was more broadly worded and
        expressly covered ―any claim or other dispute arising‖ under the contract. Id.
280
        See Tr. 995–97. Philips N.V. substituted Brindle for their original English law
        expert, Bankim Thanki, Q.C., shortly before trial. Brindle did not submit any
        expert declarations of his own, but adopted Thanki‘s expert declarations in their
        entirety. Tr. 691. In a pretrial conference, the Court made clear that the testimony
        of the English law experts would be limited to subjects and opinions that were
        included in the previously submitted expert reports. Pretrial Conf. Tr. at 9, 23,
        37–38, Dec. 5, 2012.

        Vichi objects to Brindle‘s testimony regarding the proper construction of choice of
        law provisions as being outside the scope of Thanki‘s declarations. Pl.‘s Post-
        Trial Br. 85. In his second declaration, however, Thanki asserted that the Notes‘
        choice of law provision ―is apt to cover non-contractual causes of action in
        relation to the Notes‖ and cited for support an English law treatise. JX 870 ¶ 6, Ex
        1. The referenced pages of that treatise discuss, among other things, Fiona Trust
        & Holding Corp. v. Privalov, [2007] 4 All ER 951 (H.L.), which is the primary
        case on which Brindle based his testimony as to the proper construction of such
        provisions. See Tr. 694–95. I therefore find that Brindle‘s testimony was within
        the scope of Thanki‘s declarations, and overrule Vichi‘s objection.

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its 2007 decision in Fiona Trust & Holding Corp. v. Privalov.281 Because Philips N.V.

relies heavily on Fiona Trust for its assertion that the Notes‘ choice of law provision

would extend to Vichi‘s fraud claims, the facts and reasoning of that case deserve close

attention.

        In Fiona Trust, plaintiff ship owners sued for a declaration affirming their

rescission of certain contracts they had entered into with the defendant charterers, on the

grounds that those contracts had been procured by bribery.282 The defendants applied for

a stay of the proceedings on the basis that the contracts entitled them to resolve the

dispute in arbitration. The contracts contained a jurisdiction clause specifying that ―[a]ny

dispute arising under this charter shall be decided by the English courts to whose

jurisdiction the parties hereby agree‖ and an arbitration clause that granted either party to

the contract the option of referring ―any such dispute‖ to arbitration.283 The contracts

also contained a choice of law provision that stated, ―this charter shall be construed and

the relations between the parties determined in accordance with the laws of England.‖284

        The plaintiffs in Fiona Trust argued that the arbitration clause was not applicable

to their claim, because the question of whether the contracts were procured by bribery did

not arise under the charter. In its ruling, the court eschewed case law that drew a fine



281
        4 All ER 951. See Tr. 995–97.
282
        4 All ER at 955 ¶ 1.
283
        Id. at 955–56 ¶ 3.
284
        Id. (emphasis added).

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distinction between arbitration clauses covering disputes ―arising under‖ and clauses

covering disputes ―arising out of‖ the contract.285 Instead, the court asserted that a proper

approach to the construction of arbitration clauses ―requires the court to give effect, so far

as the language used by the parties will permit, to the commercial purpose of the

arbitration clause.‖286    The court found that ―there is no rational basis upon which

businessmen would be likely to wish to have questions of the validity or enforceability of

the contract decided by one tribunal and questions about its performance decided by

another.‖287 The court thus held that the arbitration clause extended to the plaintiffs‘

claim for a declaration that they properly had rescinded the contracts.288

        To support its conclusion that the plaintiffs‘ claim fell within the arbitration

clause, the English court also looked to the choice of law and jurisdiction provisions that

directly preceded the arbitration clause. The court observed that ―[t]here is no sign here‖

that the parties intended these provisions to exclude ―disputes about the charter‘s validity.

. . . [T]he wording is a plain indication to the contrary.‖ 289 Notably, the wording of the

choice of law provision in the contracts at issue in Fiona Trust was broader than that




285
        Id. at 957–58 ¶¶ 11–12.
286
        Id. at 957 ¶ 8.
287
        Id. ¶ 7.
288
        Id. at 958–59 ¶ 15.
289
        Id. at 961 ¶ 27.

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contained in the Notes and explicitly extended beyond the charter to ―the relations

between the parties.‖290

        Brindle characterized Fiona Trust as representing ―a major departure of English

law from its previous approach to arbitration clauses, jurisdiction clauses, or choice of

law clauses‖ and testified that it replaced the ―traditional basis of looking to see how

wide or narrow the clause was‖ with a ―modern approach‖ that asks ―what is it likely that

the parties intended?‖291 Brindle further stated that ―the importance of the way the clause

is phrased is much diminished after Fiona Trust,‖292 and opined that, under the modern

approach, the choice of law clause at issue in this case would be ―apt to cover non-

contractual causes of action in relation to the Notes.‖293

        As an initial matter, after reviewing the House of Lords‘ decision in Fiona Trust, I

am not persuaded that it stands for as marked a departure from a textual approach to

construction of choice of law provisions as Brindle and Philips N.V. contend. For one

thing, the Fiona Trust case involved the interpretation of an arbitration clause, not a

choice of law provision. The court addressed only briefly the scope of the choice of law

provision in the contracts at issue there, and did so primarily to provide context for the

proper interpretation of the arbitration clause.



290
        Id. at 955–56 ¶ 3.
291
        Tr. 695–96.
292
        Tr. 711.
293
        Tr. 693; JX 870 ¶ 6.

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        Moreover, although the court in Fiona Trust eschewed an approach to construction

that split hairs between phrases such as ―arising under‖ and ―arising out of,‖ I do not read

it as diminishing the importance of contractual language in general. To the contrary, the

court stated that a proper approach to construction of an arbitration clause requires the

court to give effect to its purpose ―so far as the language used by the parties will

permit.‖294   Furthermore, in considering the scope of the contracts‘ choice of law

provision, the court expressly considered the wording of the provision as an indication of

the parties‘ intent. Indeed, as noted in a well-respected treatise on English law on which

Philips N.V. relies, ―the pragmatic, and less dramatic, proposition [of Fiona Trust] is that

where parties have made a choice of law which is wide enough to encompass causes of

action which are not contractual, the choice should be given effect, because it would be

commercially irresponsible to do otherwise.‖295

        Nonetheless, even assuming that Philips N.V.‘s articulation of the modern

approach is accurate and that approach would apply here, the facts of this case do not

indicate that the parties to the Notes intended or had a commercial expectation that the

choice of law clause would extend to non-contractual claims. Philips N.V. relies on

Fiona Trust for the proposition that an English court would assume that rational

businesspersons would not agree to have contractual claims and claims based on




294
        Fiona Trust, 4 All ER at 957 ¶ 8 (emphasis added).
295
        A. Briggs, Agreements on Jurisdiction and Choice of Law ¶ 10.63 (2008) (JX 870
        Ex. 1). See also Tr. 693–95 (Brindle).

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misrepresentations related to the contract decided under different systems of law.296 The

court in Fiona Trust, however, based its conclusion about the parties‘ intent on the

commercial unreasonableness of having ―questions of the validity . . . of the contract

decided by one tribunal and questions about its performance decided by another.‖297

Thus, the court implicitly was concerned with the cost and inefficiency of trying such

closely-related claims before multiple tribunals. That concern differs significantly from

applying multiple systems of law within the same litigation, a function that courts

frequently are called on to perform.

        Moreover, Brindle conceded at trial that, under the modern approach, ―[i]f it‘s

thought that the parties deliberately intended a narrow clause, that would obviously be

relevant, because one is looking at the intent of the parties.‖298 The Notes at issue here

were executed five years before Fiona Trust was decided, at a time when both parties

acknowledge that the construction of choice of law provisions in England was governed

by the ―traditional approach,‖ which looked to how broad or narrow the relevant

provision was to determine its scope.299 Against this backdrop, the parties to the Notes

agreed to a provision that stated merely that ―[t]his Note is governed by, and shall be

construed in accordance with, English law,‖ and made no reference to other disputes or



296
        See Def.‘s Post-Trial Br. 15.
297
        Fiona Trust, 4 All ER at 957 ¶ 7.
298
        Tr. 711.
299
        See 695–97 (Brindle).

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claims that might arise out of or relate to the Notes.300 Under these circumstances, I find

that a court applying English law, under either the ―traditional‖ or the ―modern‖

approach, would conclude that the wording of the choice of law provision in the Notes

indicates that the parties did not intend for it to apply to non-contractual claims such as

the fraud claim asserted by Vichi.301 Therefore, I conclude that Vichi‘s claims do not fall

within the scope of that provision and are not subject to English law.

             2.      Can Philips N.V. invoke the choice of law provision?

        Even if the choice of law provision in the Notes were stated broadly enough to

apply to Vichi‘s fraud claim, it appears that Philips N.V. could not avail itself of that



300
        JX 427 at 21820.
301
        See A. Briggs, Agreements on Jurisdiction and Choice of Law ¶ 2.40 (2008)
        (―[W]here a clause in the contract merely says that the contract is governed by a
        particular law, it is harder to see that the parties intended to govern associated or
        related claims framed as torts.‖). Both parties‘ experts appeared to agree that the
        presence of a broadly worded jurisdiction clause in a contract could support a
        broader interpretation of the related choice of law provision. See Tr. 485, 509–10
        (Hapgood); Tr. 714–15 (Brindle). At trial, both parties‘ experts testified that the
        Notes lacked such a provision. See Tr. 510 (Hapgood); Tr. 715 (Brindle). In post-
        trial briefing, however, Philips N.V. highlighted that the Notes did incorporate by
        reference a broadly worded jurisdiction clause from the separate Agency
        Agreement, which stated that ―the courts of England are to have jurisdiction to
        settle any disputes which may arise out of or in connection with the Notes.‖ See
        JX 922.20 at 21817; JX 922.01 at 26283 ¶ 15(2). Neither parties‘ experts opined
        as to whether a jurisdiction clause that is incorporated by reference is given the
        same weight for purposes of construing a choice of law provision as one that is in
        the text of the agreement. Moreover, Philips N.V.‘s own expert did not comment
        upon or address the significance of the incorporated jurisdiction clause. See Tr.
        715 (Brindle). For these reasons, the Notes‘ incorporation by reference of a
        broadly worded jurisdiction clause does not alter my conclusion that an English
        Court would interpret narrowly the choice of law provision at issue here.

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clause, because it is not a party to the Notes. The Notes were issued on behalf of LPD

Finance, guaranteed by LPD, and purchased by Vichi.302 The Offering Circular for the

Notes explicitly states that ―[n]either Philips nor LGE is a party or a guarantor to the

Notes.‖303 Furthermore, both Vichi and Philips N.V. have acknowledged in post-trial

briefing that Philips N.V. is not a party to the Notes.304

        Under English law, the fact that Philips N.V. is a nonparty precludes it from

invoking the Notes‘ choice of law provision. Hapgood testified that, under the privity of

contract doctrine of English law, ―a person who is not a party to the contract . . . may not

defend a claim by reference to the terms of the contract.‖ 305 Brindle agreed that ―English

law does not permit a nonparty to a contract containing a choice of law clause to avail

itself of its benefits.‖306

        Hapgood acknowledged that there is a narrow statutory exception to the privity of

contract doctrine for third party beneficiaries. That exception, however, does not apply to



302
        See JX 427 at 21821. See also supra note 117 and accompanying text.
303
        JX 466 at 29833.
304
        See Pl.‘s Post-Trial Br. 85; Def.‘s Post-Trial Br. 12. At trial, Brindle raised the
        possibility that Philips N.V. could be considered a party to the contract if LPD
        Finance were deemed to have acted as its agent in executing the Notes. Tr. 720–
        21; JX 859 ¶ 14. Philips N.V., however, did not pursue this agency argument in
        its post-trial briefing, perhaps because it would undermine Philips N.V.‘s
        argument that Vichi‘s claim is barred by the English statute of frauds. See Tr.
        724–25 (Brindle).
305
        Tr. 487–88; JX 864 ¶ 8; JX 873 ¶¶ 4–5.
306
        Tr. 719–20.

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promissory notes, such as the Notes at issue in this case, and requires the third party

beneficiary to be specified in the relevant contract, which Philips N.V. was not.307 Thus,

the third party beneficiary exception does not apply here. For the foregoing reasons, I

find, as a matter of English law, that Philips N.V. could not avail itself of the Notes‘

choice of law provision.

        To circumvent this obstacle to its invocation of English law, Philips N.V. argues

for the first time in its post-trial briefing that the determination of whether a party can

invoke a choice of law provision must precede the analysis of that provision‘s validity

and scope and, therefore, should be governed by Delaware law.308 Philips N.V. further

asserts that, under Delaware law, Vichi should be equitably estopped from denying

Philips N.V. the right to invoke the Notes‘ choice of law provision. According to Philips

N.V., equitable estoppel applies here because Vichi has alleged a close relationship

between Philips N.V. and LPD and because the claims against Philips N.V. are ―founded

in and intertwined with the underlying contract obligations.‖309

        As an initial matter, I reject the proposition that the determination of who can

invoke a choice of law provision must precede the analysis of the provision‘s validity and

scope. The ―scope‖ of a choice of law provision refers to how broadly or narrowly that




307
        Tr. 491–94.
308
        Def.‘s Post-Trial Br. 12–13 n.10.
309
        Id. at 12–13 (citing Ishimaru v. Fung, 2005 WL 2899680, at *18 (Del. Ch. Oct.
        26, 2005)).

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provision applies and includes the question of whether the provision created enforceable

rights in third parties.310 The only case Philips N.V. cites in support of its assertion that

Delaware law should govern whether it can invoke the choice of law clause merely stands

for the proposition that a Delaware court will apply its own conflict of laws rules to

determine which jurisdiction‘s substantive law will govern the claims before it.311 As

noted previously, under Delaware conflict of laws rules, the scope of a valid choice of

law provision is determined by the law of the selected jurisdiction—in this case, England.

        Moreover, even assuming that Philips N.V. was correct that determination of its

equitable estoppel argument should precede the inquiry into the choice of law provision‘s

validity and scope, Philips N.V. has failed to demonstrate that equitable estoppel would

be appropriate here for at least two reasons. First, Philips N.V. has cited no cases, from

Delaware or elsewhere, in which a court has applied equitable estoppel to permit a

nonparty to a contract containing a choice of law provision to invoke that provision.

Rather, as Philips N.V. acknowledges, prior decisions in this area have focused on




310
        See Restatement (Second) of Conflict of Laws § 205 cmt. d (1971) (―The local law
        of the state selected by [the choice of law provision] determines whether a third
        party beneficiary obtains enforceable rights under the contract.‖); see also In re
        Peierls Family Inter Vivos Trusts, 59 A.3d 471, 478 (Del. Ch. 2012), aff’d, 77
        A.3d 249 (Del. 2013) (―To resolve choice of law issues, Delaware follows the
        Restatement (Second) of Conflict of Laws.‖).
311
        See Folk v. York-Shipley, Inc., 239 A.2d 236, 240 (Del. 1968) (―It is the general
        rule of conflicts of law that a court in applying the law of another State applies its
        own rule of conflicts and only the internal law of the other state.‖).

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arbitration and forum selection provisions, which present materially different policy

considerations from choice of law provisions.312

        Second, a key justification for the application of equitable estoppel is missing in

this case. In Ishimaru v. Fung,313 this Court equitably estopped a contract signatory from

denying a non-signatory the right to arbitrate. There, the Court observed that ―one of the

primary justifications for [equitable estoppel] . . . is that it is unfair for the signatory to

have it both ways by attributing to a non-signatory the duties of a contract signatory for

purposes of pressing claims but denying the non-signatory the right to invoke the

arbitration clause.‖314 In this case, the analogous clause would be the choice of law

provision, but Vichi does not seek to have it both ways. While Vichi initially sought to

hold Philips N.V. liable under the Notes on a veil-piercing theory,315 I dismissed the

claims premised on that theory of recovery years ago.316           Vichi‘s remaining claims

against Philips N.V. do not arise under, nor do they seek to enforce, the Notes. Rather,



312
        See Wilcox & Fetzer, Ltd. v. Corbett & Wilcox, 2006 WL 2473665, at *4 (Del. Ch.
        Aug. 22, 2006) (applying equitable estoppel to allow a non-signatory to invoke an
        arbitration clause, noting that ―Delaware public policy favors arbitration‖); Ashall
        Homes Ltd. v. ROK Entm’t Gp. Inc., 992 A.2d 1239, 1252–53 (Del. Ch. 2010)
        (applying equitable estoppel to allow non-signatories to invoke a forum selection
        clause, thereby facilitating litigation of contract-based claims against closely
        related signatory and non-signatory defendants in a single tribunal).
313
        2005 WL 2899680 (Del. Ch. Oct. 26, 2005).
314
        Id. at *18.
315
        See Second Am. Compl. ¶ 170.
316
        See Vichi I, 2009 WL 4345724, at *19–20 (Del. Ch. Dec. 1, 2009).

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Vichi seeks to hold Philips N.V. liable for its alleged violation of an independent duty to

avoid engaging in fraud or negligent misrepresentation. Although reference to the Notes

may be required to determine, for example, the extent of Vichi‘s damages, that fact alone

is insufficient to justify the application of equitable estoppel.

        For the foregoing reasons, I conclude that Philips N.V., as a nonparty to the Notes,

cannot invoke the choice of law provision that they contain. On the basis of this finding,

and my prior finding that Vichi‘s fraud claims are outside the scope of that provision

under English law, I conclude that the Notes‘ English choice of law provision is not

applicable to any of the issues in this case. Vichi‘s claims, therefore, are not subject to

English law or Philips N.V.‘s defense based on the English statute of frauds.317

                            B.       Delaware vs. Italian Law

        Having concluded that English law does not apply, I must determine under

Delaware‘s approach to conflict of laws whether Delaware or Italian law will govern

Vichi‘s claims. Delaware‘s choice of law approach requires a two-pronged inquiry.318

First, the Court must ―compare the laws of the competing jurisdictions to determine

whether the laws actually conflict on a relevant point.‖319 If application of the competing

laws would yield the same result, then no genuine conflict exists ―and the Court should


317
        See Def.‘s Post-Trial Br. 16 (―[I]f the Court declines to apply Plaintiff‘s choice of
        English law, the Court should apply the fraud law of Delaware . . . .‖).
318
        Pa. Emp., Benefit Trust Fund v. Zeneca, Inc., 710 F. Supp. 2d 458, 466 (D. Del.
        2010); Laugelle v. Bell Helicopter Textron, Inc., 2013 WL 5460164, at *2 (Del.
        Super. Oct. 1, 2013).
319
        Pa. Emp., 710 F. Supp. 2d at 466.

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avoid the choice-of-law analysis altogether.‖320 Second, if the Court finds that an actual

conflict exists, then it applies the ―most significant relationship test,‖ as set out in the

Restatement (Second) of Conflict of Laws, to determine which jurisdiction‘s laws to

apply.321

        As previously noted, ―the party seeking the application of foreign law has . . . the

burden of adequately proving the substance of the foreign law.‖322 Therefore, Vichi, as

the party seeking application of Italian law, has the burden of adequately demonstrating

its content.

                         1.      Prong 1: actual conflict of law

        Vichi asserts an Italian law claim for deceit by a third party during contract

negotiations and, in the alternative, common law fraud and negligent misrepresentation

claims under the laws of Delaware. According to Vichi‘s Italian law expert, Trimarchi,

under Italian Civil Code § 2043, a plaintiff may recover damages from a third party for



320
        Deuley v. DynCorp Int’l, Inc., 8 A.3d 1156, 1161 (Del. 2010) (quoting Berg
        Chilling Sys., Inc. v. Hull Corp., 435 F.3d 455, 462 (3d Cir. 2006)) (internal
        quotation marks omitted). See also Great Am. Opportunities, Inc. v. Cherrydale
        Fundraising, LLC, 2010 WL 338219, at *8 (Del. Ch. Jan. 29, 2010) (―[B]ecause
        the laws of the several interested states . . . would produce the same decision no
        matter which state‘s law is applied, there is no real conflict and a choice of law
        analysis would be superfluous. Thus, I analyze [the] claims under Delaware
        law‖).
321
        Travelers Indem. Co. v. Lake, 594 A.2d 38, 46–47 (Del. 1991) (adopting the ―most
        significant relationship test‖ set out in the Restatement (Second) of Conflict of
        Laws to determine which jurisdiction‘s laws would govern the rights of litigants in
        a tort suit).
322
        See supra note 267.

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deceit during contract negotiations where: (1) the third party engaged in deceitful conduct

during contract negotiations; (2) the deceitful conduct induced the plaintiff to enter the

contract; and (3) the plaintiff suffered causally related damages.323

        As to common law fraud, the elements of that claim in Delaware are: (1) a false

representation made by the defendant; (2) the defendant‘s knowledge or belief that the

representation was false, or reckless indifference to the truth; (3) an intent to induce the

plaintiff to act or to refrain from acting; (4) the plaintiff‘s action or inaction taken in

justifiable reliance upon the representation; and (5) causally related damages to the

plaintiff.324 In addition to arising from overt misrepresentations, fraud also may occur

through deliberate concealment of material facts, or by silence in the face of a duty to

speak.325 The elements of negligent misrepresentation are substantially the same as those

for fraud, except that the former claim requires that the defendant be subject to a




323
        See JX 865 ¶¶ 27, 37; Tr. 391, 397. Vichi initially asserted claims against Philips
        N.V. under two additional provisions of the Italian Civil Code, namely, § 1337,
        which requires the parties to a contract to conduct themselves in good faith, and
        § 1439, which specifies when fraud can be cause for the annulment of a contract.
        See TSAC at 15 (Count VII); JX 858 Ex. 2. Trimarchi did not address these
        sections of the Italian Civil Code in his expert report or testimony, see JX 865 ¶ 7,
        Tr. 391, and Vichi has not addressed claims under these sections in his post-trial
        briefing. Thus, any claims that initially were asserted under those sections have
        been waived.
324
        See Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del. 1983); In re
        Wayport, Inc. Litig., 76 A.3d 296, 323 (Del. Ch. 2013).
325
        Stephenson, 462 A.2d at 1074.

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pecuniary duty and has a lesser state of mind requirement that, as the name suggests, can

be satisfied by the defendant‘s mere negligence.326

        Philips N.V. contends that, for purposes of this litigation, there are no meaningful

differences between Vichi‘s fraud-related claims under Delaware law and his deceit

claim under Italian law. Vichi, on the other hand, asserts that Delaware law conflicts

with Italian law in the following material respects: (1) the definition of ―fraud‖; (2) the

requirement of justifiable reliance even in cases of intentional fraud; and (3) the standards

for establishing vicarious liability.327 Therefore, I next examine each of those issues to

determine whether any of them present a true conflict in the context of this case.



326
        See supra note 251.
327
        Vichi also appears to assert that Italian law lacks a ―loss causation‖ requirement.
        This alleged difference between the laws of Italy and Delaware is addressed infra
        in the section regarding fraud. For the reasons stated in Section V.C.4, Vichi has
        failed to demonstrate a meaningful difference in the two jurisdictions‘ laws in
        terms of proximate cause or ―loss causation.‖ Thus, Vichi has not demonstrated a
        genuine conflict in that regard.

        Previously, Vichi also asserted a difference between fraud and deceit in terms of
        the mental state that each requires. Under Italian Civil Code § 2043, a claim for
        deceit by a third party during contract negotiations requires the defendant to have
        acted either intentionally or negligently. JX 865 ¶¶ 26–31. Delaware law, on the
        other hand, bifurcates those mental states, requiring a plaintiff to plead claims for
        fraud and negligent misrepresentation separately. See Corp. Prop. Assoc. 14 Inc.
        v. CHR Hldg. Corp., 2008 WL 963048, at *8 (Del. Ch. Apr. 10, 2008). As
        discussed supra in Section II, I have granted in part Vichi‘s motion for leave to
        file the TSAC and treat as already raised in the pleadings his claim for negligent
        misrepresentation under Delaware law. In that regard, as acknowledged by Vichi,
        any conflict that may have existed between the state of mind requirements of
        Vichi‘s Delaware and Italian law claims has been rendered inconsequential, as
        both sets of claims now encompass intentional and negligent mental states. Pl.‘s
        Post-Trial Reply Br. 2 n.1.

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                             a.       Definition of “fraud”

        Vichi perceives a conflict between Italian and Delaware law based on their

differing definitions of ―fraud.‖ In Italy, fraud is one of three forms of conduct that can

form the basis for a deceit claim.328 According to Trimarchi, ―fraud‖ is defined in Italy as

―positive, affirmative conduct involving any kind of maneuvering or trickery that distorts

the truth and induces [the plaintiff] to rely upon an apparent reality which is different

from the actual one.‖329 The other forms of actionable deceitful conduct in Italy include

making a ―misrepresentation‖ and remaining silent in the face of a ―duty to disclose the

truth.‖330

        Under Delaware law, a ―false representation‖ for purposes of fraud generally

arises from three similar types of conduct: ―(1) a representation of false statements as

true; (2) active concealment of facts that prevents their discovery; or (3) remaining silent

in the face of a duty to speak.‖331 Vichi‘s asserted definition of ―fraud‖ in Italy does not

neatly correspond to one of these three categories, but ―affirmative conduct [creating] an

apparent reality which is different from the actual one,‖ would appear to consist of some

combination of affirmative misrepresentations and ―active concealment of facts,‖ both of

which can form the basis for a fraud claim in Delaware. Moreover, Vichi has failed to


328
        JX 865 ¶¶ 26–28.
329
        Id.
330
        Id.
331
        CHR Hldg. Corp., 2008 WL 963048, at *6 (citing Metro Commc’n Corp. BVI v.
        Advanced Mobilecomm Techs. Inc., 854 A.2d 121, 143 (Del. Ch. 2004)).

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provide any example of conduct that would constitute ―fraud‖ under Italian law but

would not be considered a ―false representation‖ for purposes of fraud under Delaware

law.332 Indeed, Vichi‘s own briefing acknowledges the similarities in the underlying

conduct that can give rise to claims for deceit in Italy and common law fraud in

Delaware.333 For these reasons, I find that Vichi has not demonstrated any conflict

between the definitions of fraud under Italian and Delaware law.

                                b.      Justifiable reliance

        Vichi also argues that there is a conflict between the reliance requirements of

common law fraud in Delaware and deceit under the laws of Italy. Under Delaware law,

to establish a claim of fraud or negligent misrepresentation, the plaintiff must

demonstrate justifiable reliance on false representations made by the defendant.334 In that

regard, the misrepresentation forming the basis for the fraud or negligent




332
        The only case Trimarchi cited in support of his proposed definition of fraud under
        Italian law as including the creation of a false ―apparent reality‖ involved a painter
        who signed a counterfeit copy of one of his paintings that later was sold to a third
        party as authentic. Cass. Civ., 4 May 1982, n.2765. Although the Italian court
        characterized the painter‘s deceit in terms of the creation of an ―unjust fact,‖ the
        signature amounted to a false declaration of authorship and equally would have
        qualified as a ―false representation‖ for purposes of Delaware fraud.
333
        See Pl.‘s Post-Trial Br. 36 (noting, as this Court has, that ―[u]nder Delaware law,
        like Italian law, a false representation arises from three types of conduct,‖ without
        specifying any differences).
334
        H-M Wexford LLC v. Encorp, Inc., 832 A.2d 129, 142 (Del. Ch. 2003). See also
        Osram Sylvania Inc. v. Townsend Ventures, LLC, 2013 WL 6199554, at *13, *16
        (Del. Ch. Nov. 19, 2013).

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misrepresentation claim must be material,335 and the plaintiff generally cannot rely, for

example, on puffery,336 expressions of mere opinion,337 or representations that are

obviously false.338

        Vichi and his expert Trimarchi assert that in cases of intentional deceit, Italian

law, unlike Delaware law, does not require that a plaintiff‘s reliance on the defendant‘s

conduct be justifiable or reasonable.339 Instead, they contend that in such cases actual



335
        See Lock v. Schreppler, 426 A.2d 856, 863 (Del. Super. 1981) (―Justifiable
        reliance requires that the representation relied upon involve a matter which a
        reasonable person would consider important in determining his choice of action in
        the transaction in question . . . .‖) (citing Restatement (Second) of Torts §§ 537–
        538 (1977)), superseded by statute on other grounds.
336
        See Trenwick Am. Litig. Trust v. Ernst & Young, L.L.P., 2006 WL 4782378, at *31
        & n.119 (Del. Ch. Aug. 10, 2006); Lazard Debt Recovery GP, LLC v. Weinstock,
        864 A.2d 955, 971 (Del. Ch. 2004).
337
        See Trenwick, 2006 WL 4782378, at *31 & n.119; Great Lakes Chem. Corp. v.
        Pharmacia Corp., 788 A.2d 544, 554 (Del. Ch. 2001) (citing E. States Petroleum
        Co. v. Universal Oil Prods. Co., 2 A.2d 138, 140 (Del. 1938)).
338
        See Ward v. Hildebrand, 1996 WL 422336, at *4 (Del. Ch. July 8, 1996) (―[T]he
        recipient of a fraudulent misrepresentation is not justified in relying upon its truth
        if he knows that it is false or if its falsity is obvious to him‖) (citing Restatement
        (Second) of Torts § 541 (1977)).
339
        See JX 865 ¶ 36 (―Any negligence on the part of the plaintiff in relying on the
        information supplied to him is no defense if the misrepresentation is intentional.‖);
        JX 880 ¶¶ 8–10. See also Tr. 393–94 (Trimarchi). In his post-trial briefing, Vichi
        also contends that the Italian law of fraud, unlike Delaware law, does not require
        that defendant‘s deceitful conduct be material to the plaintiff. Vichi did not
        submit any substantial evidence of foreign law to support this claim, however, and
        his expert did not address it specifically in his expert reports or at trial. Under
        these circumstances, Vichi has failed to meet his burden to demonstrate that a
        conflict exists between Italian law and Delaware law on the requirement of
        materiality. See supra note 267 and accompanying text.

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reliance by the plaintiff is sufficient to establish a defendant‘s liability. Philips N.V. and

its Italian law expert, Andrea Bernava, disagree and assert that Italian courts impose a

reasonableness requirement on a plaintiff‘s reliance in all cases of alleged deceit.340

        Having reviewed translations of the cases relied on by both experts, I find that in

Italy, as in Delaware, a plaintiff‘s reliance must be reasonable, even in cases of

intentional deceit. In reaching this conclusion, I found most persuasive two decisions by

the Italian Civil Supreme Court of Appeal that were cited in Bernava‘s second expert

declaration.341

        The first of those cases involved a plaintiff who had become general partner of a

company that was the lessee under a lease agreement.            Apparently unaware of the

company‘s continuing rights under the original lease agreement, which had an automatic

renewal provision, the general partner entered into a new and different lease on behalf of

the company for the same premises, but on less favorable terms. In evaluating the

plaintiff‘s claim that he had been intentionally fraudulently induced by the lessor to enter

into the second lease agreement, the court stated that:

              [f]raud [―dolo‖] is therefore relevant, and the deceived party
              is protected, only if there is a requirement that sets forth an
              ethical foundation of the protection of good faith; the absence
              of negligence or culpable ignorance in the person who
              alleges to have been a victim of fraud, under the well-known
              adage that errantibus, non dormientibus iura succurrunt [The


340
        See JX 869 ¶ 4; Tr. 744 (Bernava).
341
        JX 869 ¶ 4 (citing Cass. Civ., 23 mar. 2009, n.14628; Cass. Civ., 10 sept. 2009,
        n.19559).

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                 law comes to the rescue of those who err, not those who
                 sleep].342

The court thus upheld the lower court‘s decision to deny the plaintiff‘s fraud claim,

noting that the general partner ―should have known that the [original] contract was still

valid,‖ and that such knowledge was ―certainly within the reach of an operator of average

diligence.‖343

        In the second cited case I found important, the Italian Civil Supreme Court of

Appeal again considered a claim of fraudulent inducement to enter a contractual

agreement. The court upheld the lower court‘s denial of a fraud claim, noting that:

                 the statements made before signing a contract in which a
                 party tries to represent the truth in a more favorable way for
                 his interests (such as the expectation that a company collects
                 on the market) do not enter in the case of ―dolus malus,‖ [i.e.,
                 actionable fraud,] when, in the given context, it is not
                 reasonable to suppose that the other party gave those
                 statements a particular importance, considering the low level
                 of reliability, that it is easy for a normal person to assume that
                 the statements given are simply usual in the methods of a
                 dialectical negotiation.344

In addition, at trial, Trimarchi acknowledged that ―if the truth is patent, then the judge

will not believe that there was reliance.‖345




342
        Cass. Civ., 23 mar. 2009, n.14628 (emphasis added).
343
        Id.
344
        Cass. Civ., 10 sept. 2009, n.19559.
345
        Tr. 392.

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        Together, these Italian Supreme Court decisions and Trimarchi‘s admission at trial

convince me that, under Italian law, actionable fraud will not be found when there is

―negligence or culpable ignorance‖ on the part of the plaintiff, when the representations

relied on are ones to which a normal person would not assign significant weight, such as

puffery during contract negotiations, or where the truth is patent. Thus, I find that both

Italian and Delaware law require that a plaintiff‘s reliance be reasonable or justifiable in

order for the plaintiff to have a viable claim, even in cases of intentional deceit.

        Vichi and Trimarchi deny that this accurately reflects Italian law. Trimarchi

relies, however, almost exclusively on Italian criminal case law to support his assertion

that Italian courts do not consider the reasonableness of a plaintiff‘s reliance in cases of

intentional misrepresentation.346    Trimarchi argues that this body of law is relevant

because intentional misrepresentations made for profit can be prosecuted as criminal

fraud in Italy, and defendants in these cases may be forced to pay damages to the

victims.347 The Italian law claims that Vichi asserts in this case, however, are based on

provisions of the Italian Civil Code, not the Italian Penal Code. Accordingly, they would


346
        See, e.g., Cass. Pen., 14 oct. 2009, n.41717; Cass. Pen., 3 jun. 2009, n.34059;
        Cass. Pen., 13 feb. 2003, n.14390. On the issue of reliance, Trimarchi also
        referenced a decision by the Civil Appellate Court of Milan, as did Bernava. See
        JX 869 (citing App. Milan, 10 jan. 1996); JX 880 (citing App. Milan, 24 mar.
        1995). That court‘s interpretation of Italian law, however, is less authoritative
        than the Italian Supreme Court‘s, see Tr. 411–13 (Trimarchi), and the two
        decisions from Milan referenced by the experts appear to reach opposite
        conclusions as to the proper application of the law. Thus, I gave little weight to
        those decisions.
347
        JX 880 ¶ 7; Tr. 389–90.

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be heard by civil courts if brought in Italy. Therefore, I give more weight to the civil case

law in determining the relevant Italian law for purposes of this conflict of laws analysis.

        Based on the experts‘ evidence and testimony and my review of the relevant

Italian statutes and cases, I conclude that Italian law, like Delaware law, requires that a

plaintiff‘s reliance be justifiable or reasonable in order for the plaintiff to have a valid

deceit claim, regardless of whether the deceit was intentional. Therefore, I find no actual

conflict between Delaware and Italian law as to reliance.

                                 c.     Vicarious liability

        Vicarious liability under Italian law is addressed in Article 2049 of the Italian

Civil Code, which states that ―[m]asters and employers are liable for the damage caused

by an unlawful act of their servants and employees in the exercise of the functions to

which they are assigned.‖348 Vichi contends that Delaware law and Italian law regarding

vicarious liability differ in a number of material respects. In particular, Vichi asserts that

Delaware law requires (and Italian law does not): (1) a traditional master-servant

relationship; (2) that the underlying conduct is neither intentional nor malicious; and (3)

foreseeability. Vichi also contends that, under Italian law, unlike Delaware law, ―it is

irrelevant that the tortious conduct exceeded the scope of the task assigned.‖349




348
        JX 858 Ex. 2.
349
        Pl.‘s Post-Trial Reply Br. 2.

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        Preliminarily, I note that, contrary to Vichi‘s assertions, Delaware‘s law of

vicarious liability does not require a traditional master-servant relationship.350

Furthermore, in the imposition of vicarious liability, ―it makes no difference whether the

tort is one of negligence only, or whether the tort is intentional or willful.‖351 For a

principal to be held vicariously liable for the acts of an agent, however, Delaware law

does require that a tort be ―committed by the servant within the scope of his

employment‖ and ―not [be] unexpectable in view of the duties of the servant.‖352

Whether Italian law imposes similar requirements for establishing vicarious liability is

hotly contested by the parties and their experts.

        As discussed in Section V.B infra, however, I ultimately conclude that, regardless

of these alleged differences, the same result would be reached under Delaware and Italian

law as to Vichi‘s assertion of vicarious liability. Thus, there is no genuine conflict

between the rules of vicarious liability in Delaware and Italy for purposes of this case.




350
        See Fisher v. Townsends, Inc., 695 A.2d 53, 58 (Del. 1997) (citing Restatement
        (Second) of Agency § 220 (1958)); Restatement (Second) of Agency § 220 cmt. b
        (1958) (―Non-contractual employment. The word ‗employed‘ as used in this
        Section is not intended to connote a contractual or business relation between the
        parties. In fact, as pointed out in Section 225, the relation may rest upon the most
        informal basis, as where the owner of a car invites a guest to drive the car
        temporarily in his presence or to assist him in making minor repairs.‖).
351
        Draper v. Olivere Paving & Constr. Co., 181 A.2d 565, 569 (Del. 1962). See also
        Simms v. Christina Sch. Dist., 2004 WL 344015, at *5 (Del. Super. Jan. 30, 2004).
352
        TD Ameritrade, Inc. v. McLaughlin, 953 A.2d 726, 735 (Del. Ch. 2008) (citing
        Draper, 181 A.2d at 569).

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                  2.       Prong 2: The most significant relationship

        Because I have concluded that no material conflict exists between Delaware and

Italian law as they relate to this case, I need not address the second prong of Delaware‘s

choice of law analysis, and I apply Delaware law.353 Vichi‘s fraud-based theory of

recovery against Philips N.V., therefore, will be assessed under Delaware law, via

Vichi‘s claims of common law fraud and negligent misrepresentation.               Having

determined the applicable law in this case, I next consider the admissibility of certain

contested evidence submitted by Vichi in support of his claims.

       IV.     MOTION TO ADMIT AND OTHER EVIDENTIARY ISSUES

             A.        The Role of Evidence of Price Fixing in This Action

        Although allegations that Philips N.V. and LPD participated in an illegal price

fixing cartel have permeated much of this case‘s protracted history, it was not until over

five years after the commencement of this action that Vichi first indicated his intent to

use Philips N.V. and LPD‘s alleged anticompetitive conduct to prove that Philips N.V.

committed fraud with respect to the Loan at issue in this case. In support of this

argument, Vichi has offered numerous and voluminous evidentiary exhibits. Philips N.V.

has objected to all of these exhibits on the grounds that they are inadmissible hearsay,

irrelevant, unduly prejudicial, or some combination thereof.

        To review the relevant chronology, approximately one year after the

commencement of this action in November 2006, it became known that the European



353
        See supra note 320.

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Commission (―EC‖) had launched an investigation into LPD and Philips N.V., among

other CRT manufacturers, on suspicion that they were engaged in illegal anticompetitive

conduct.354 Several years later, in December 2011, Vichi first began seeking discovery as

to Philips N.V. and LPD‘s possible involvement in a CRT price fixing cartel.               In

November 2012, counsel for Philips N.V. notified the Court and counsel for Vichi that it

was possible the EC would reach a decision before this case went to trial the following

month. When that possibility came to fruition and the EC imposed hefty fines for

anticompetitive conduct on Philips N.V. and several other companies, I allowed Vichi to

raise the argument that Philips N.V.‘s failure to disclose LPD‘s involvement in an illegal

price fixing cartel was fraudulent conduct. Importantly, however, despite that ruling, on

numerous occasions this Court has stated and Vichi has acknowledged that Vichi would

be limited to presenting a fraud, and not an antitrust, case in this Court.355




354
        See Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC Exs. A, B at 102.
355
        On June 4, 2012, for example, I stated that this Court is not ―getting involved in
        determining whether something is or is not an antitrust violation.‖ Conference Tr.
        23, 38. At trial, Vichi‘s counsel confirmed that Vichi did not seek to try an
        antitrust case, stating that ―[w]e are not trying a cartel case‖ and ―we are not
        asking the Court to try an antitrust case.‖ Tr. 309, 311. By June 2012, this case
        was well over five years old, had been the subject of numerous motions, both
        procedural and substantive in nature, and the parties had engaged in extensive
        discovery in several foreign countries. This Court, therefore, declined to expand
        the litigation‘s scope still further to encompass antitrust claims. The Court
        considers the limitation of this case‘s scope in that regard to be an exercise of ―the
        inherent power of a trial court to control its own docket, manage its affairs,
        achieve the orderly disposition of its business and promote the efficient
        administration of justice.‖ See Taylor v. LSI Logic Corp., 689 A.2d 1196, 1201
        (Del. 1997). See also Ct. Ch. R. 1.

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        In other words, this Court declined to entertain in the first instance new claims that

Philips N.V. and LPD violated antitrust laws, either in the European Union or the United

States. Nevertheless, to the extent Vichi could submit evidence having a preclusive

effect, such as through res judicata (i.e., claim preclusion) or collateral estoppel (i.e.,

issue preclusion), that Philips N.V. or LPD had engaged in such illegal conduct, I

expressed a willingness to accept that evidence for purposes of Vichi‘s fraud claim.

Conversely, I indicated that insofar as Vichi offered evidence from which this Court

would have to decide independently whether Philips N.V. and LPD violated any antitrust

laws, that evidence would not be admitted for that purpose. That is, such evidence would

not be relevant to an issue that could be tried within the boundaries established by this

Court to promote the orderly, efficient, and timely resolution of the litigation.356

        In the event that preclusive evidence of illegal price fixing was submitted, I

recognized, however, that some of the other proffered antitrust evidence might be

relevant to elements of Vichi‘s fraud claim that were only tangentially related to the price

fixing claims, such as the extent to which Philips N.V. was aware of LPD‘s allegedly

undisclosed illicit activity. I reserved the right, therefore, to admit any evidence that

might be ancillary to Vichi‘s fraud claim for a limited purpose,357 even though that




356
        See id.; D.R.E. 102, 401, 402 (―Evidence which is not relevant is not
        admissible.‖).
357
        See D.R.E. 105.

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evidence also might fall within the scope of Vichi‘s price-fixing-related evidence,

depending on the attendant circumstances.

        Against this backdrop, I turn next to the price fixing evidence that Vichi has

submitted in furtherance of his fraud claim. Among the challenged exhibits,358 two are of

particular importance to Vichi‘s claim: (1) the EC Decision holding Philips N.V. and

LPD liable for CRT price fixing activities359; and (2) hundreds of meeting minutes

prepared by Chunghwa Picture Tubes, Ltd. (―Chunghwa‖)360 that relate to Philips N.V.

and LPD‘s alleged participation in CRT cartel meetings. The importance of this evidence

stems from the fact that, as discussed in more detail below, the aspect of Vichi‘s fraud




358
        In addition to the EC Decision and the Chunghwa meeting minutes described in
        the text, the challenged price fixing evidence also includes the press release by the
        EC announcing its decision to impose fines against Philips N.V. and LPD for their
        involvement in the CRT price fixing cartel (JX 945), Samsung‘s guilty plea to
        United States antitrust authorities for involvement in an illegal CDT cartel (JX
        820), discovery responses and statements from parties in In re Cathode Ray Tube
        (CRT) Antitrust Litig., 075944SC (N.D. Cal.) M.D.L. No. 1917, a United States
        antitrust case in which Philips N.V. is a defendant (JX 822), and an EC decision
        regarding an LCD price fixing cartel, in which Philips N.V. also was alleged to be
        involved (JX 957).
359
        As discussed supra, the term CRT encompasses both ―Color Picture Tube‖
        (―CPT‖) and ―Color Display Tube‖ (―CDT‖) technologies, which are used,
        respectively, in televisions and computer monitors. JX 806 at 7. The EC found
        evidence of illegal, anticompetitive conduct in both the CPT and CDT markets.
        As LPD was active in both markets, however, for the sake of simplicity, I will
        refer only to the CRT market as a whole in discussing Philips N.V. and LPD‘s
        alleged price fixing conduct. In that regard, I refer to the alleged CPT and CDT
        price fixing cartels collectively as the ―CRT cartel.‖
360
        Chunghwa purportedly was a member of the CRT price fixing cartel with Philips
        and LPD.

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claim predicated on Philips N.V.‘s failure to disclose LPD‘s involvement in

anticompetitive activities requires proof that, at a minimum: (1) LPD was engaged in

illegal price fixing at the time it was soliciting an investment from Vichi; and (2) Philips

N.V. knew of LPD‘s illegal actions.

                                 B.      The EC Decision

        ―The doctrine of collateral estoppel ‗precludes a party to a second suit involving a

different claim or cause of action from the first from relitigating an issue necessarily

decided in a first action involving a party to the first case.‘‖361 The parties agree that ―the

preclusive effect of a foreign judgment is measured by [the] standards [used by] the

rendering forum.‖362

        Here, with respect to the EC Decision, the rendering body is an administrative

organization. Even so, Delaware courts have applied collateral estoppel to decisions

rendered by administrative bodies. For example, in Public Service Commission v. Utility

Systems, Inc.,363 this Court gave collateral estoppel effect to an agency‘s determination

and noted that the doctrine of collateral estoppel may extend to decisions of both courts




361
        Nelson v. Emerson, 2008 WL 1961150, at *6 (Del. Ch. May 6, 2008) (quoting One
        Virginia Ave. Condo. Ass’n of Owners v. Reed, 2005 WL 1924195, at *10 (Del.
        Ch. Aug. 8, 2005).
362
        Id. (quoting Columbia Cas. Co. v. Playtex FP, Inc., 584 A.2d 1214, 1217 (Del.
        1991)) (internal quotation marks omitted).
363
        2010 WL 318269 (Del. Ch. Feb. 18, 2010).

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and administrative agencies.364 Similarly, in Messick v. Star Enterprise,365 the Supreme

Court stated that ―[c]ollateral estoppel extends not only to issues decided by courts, but

also to issues decided by administrative agencies acting in a judicial capacity where the

parties had an opportunity to litigate.‖366

        The rendering forum in this case is the European Union. The Council of the

European Union is the chief legislative body of that forum, and comprises cabinet

ministers from the EU member states.367 Under Article 16(1) of European Council

Regulation No. 1/2003, ―[w]hen national courts rule on agreements, decisions or

practices under Article 81 or Article 82 of the Treaty [now Articles 101 and 102, i.e., the

European Union‘s antitrust rules] which are already the subject of an [EC] decision, they

cannot take decisions running counter to the decision adopted by the [EC].‖368 That is,

based on the regulations of the Council of the European Union, a national court in the

European Union ruling on an antitrust matter could not render a decision that would

conflict with a decision by the EC. I conclude, therefore, that Article 16(1) gives the EC

Decision at least partial preclusive effect in this case.




364
        Id. at *3 n.18 (citing Betts v. Townsends, Inc., 765 A.2d 531, 534 (Del. 2000)).
365
        655 A.2d 1209 (Del. 1995).
366
        Id. at 1211.
367
        Steven G. Calabresi & Kyle Bady, Is the Separation of Powers Exportable?, 33
        Harv. J.L. & Pub. Pol‘y 5, 16 n.10 (2010).
368
        Council Regulation 1/2003, art. 16, 2003 O.J. (L 1) 13 (EC).

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       According to Vichi, Article 16(1) applies to any ruling by a national court that

implicates a party‘s conduct under Articles 101 and 102, and is not limited to ―antitrust

proceedings.‖ Vichi avers, therefore, that Article 16(1) would extend to his fraud claim

against Philips N.V. and preclude a national court in an EU member state considering his

fraud claim from holding that Philips N.V. and LPD did not participate in an illegal price

fixing cartel, or that Philips N.V. was unaware of LPD‘s price fixing activities. Vichi

further argues that because the EC Decision would be preclusive in EU member state

courts, it also must be given preclusive effect under Delaware law.

       In response, Philips N.V. asserts that the preclusive scope of Article 16(1) is much

narrower than Vichi claims. Philips N.V. avers further that even if Vichi‘s interpretation

of Article 16(1) is correct, some of the EC‘s most significant findings in the price fixing

case would not have preclusive effect in either EU national courts or this Court because

those findings were based specifically on principles of EU competition law that are not

applicable in other contexts. In terms of scope, Philips N.V. characterizes Article 16(1)

as a limited regulation that only applies to antitrust proceedings in EU national courts

under Articles 101 and 102 of the EC Treaty. Therefore, because Articles 101 and 102

do not pertain to fraud, an EU national court considering a fraud claim against Philips

N.V., even one that relates to Philips N.V.‘s participation in conduct that would be

anticompetitive under EU competition law, would not be bound by the EC Decision.

       Philips N.V. also argues that preclusion would be improper because EU national

courts are not bound by the EC Decision, but only are prohibited from making decisions

―running counter‖ to it. This is significant for two reasons. First, if a national court

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disagrees with an EC decision, it can refer the matter to the European Court of Justice

(―ECJ‖), which has the authority to overrule the EC decision and authorize the national

court to disregard the EC‘s findings. Thus, according to Philips N.V., an EC decision

does not bind a national court definitively unless the ECJ determines that it does.

        Second, and of greater relevance to this case, Philips N.V. notes that the EC

Decision holding Philips N.V. liable for LPD‘s conduct is predicated on legal concepts

that are specific to European competition law. For example, under EU law, a parent

company can be held liable for the anticompetitive conduct of its subsidiary, including in

the joint venture context, without proof of the parent‘s participation in or actual

awareness of that conduct, under the theory that the parent and its subsidiaries comprise a

single economic unit. This single economic unit concept, known as an ―undertaking,‖ is

unique to EU competition law,369 or at a minimum, does not appear to have a counterpart

in Dutch, Italian, or Delaware law. Therefore, if a national court in the European Union

found that there was insufficient evidence to establish that Philips N.V. had actual

knowledge of LPD‘s wrongdoing for purposes of establishing a fraud claim, that decision

would not be ―counter to‖ the EC Decision because the EC‘s ruling was not dependent on

Philips N.V. having actual knowledge of LPD‘s malfeasance. Based on this possibility,

Philips N.V. argues that, in terms of Philips N.V.‘s knowledge of or participation in



369
        EC Decision ¶ 721 (―As a general consideration, the subject of the EU competition
        rules is the ‗undertaking,‘ a concept that that has an economic scope and that is not
        identical to the notion of corporate legal personality in national commercial or
        fiscal law.‖).

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LPD‘s price fixing activities, the EC Decision would not be given preclusive effect in an

EU national court. On that basis, Philips N.V. asserts that, under longstanding Delaware

law, the decision should not have preclusive effect in this case either.

       Having considered the parties‘ arguments, I am satisfied that Vichi has established

that the EC Decision should be given preclusive effect with respect to LPD‘s

participation in a price fixing scheme that violated EU competition law. In post-trial

briefing, both parties‘ discussion of whether the EC Decision would have preclusive

effect in an EU member state national court focused on the Italian case of Trib. Milano

8.5.2009. In that case, entities that the EC had deemed to have violated EU competition

law by forming a cartel sought a declaratory judgment from an Italian court that

essentially would overrule the EC‘s findings. Relying on Article 16(1), the Italian court

dismissed the action, in large part on the grounds that it had no authority to issue a ruling

that would conflict directly with the EC‘s decision that an illegal cartel had been formed.

       Although Trib. Milano 8.5.2009 was not a fraud case, I am convinced, contrary to

Philips N.V.‘s assertions otherwise, that its logic would extend to a fraud action

predicated on violations of EU competition law. One of the necessary showings for a

fraud claim based on nondisclosure of illegal anticompetitive conduct would be proving

that the illegal, anticompetitive conduct actually occurred. If the EC has issued a ruling

that an entity violated EU competition law, it is unclear how a court in an EU member

state could hold that, for purposes of a fraud claim based on the same conduct, that entity

had not engaged in illegal, anticompetitive activities. Any such ruling that the entity had

acted in accordance with EU competition law would ―run counter to the decision adopted

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by the Commission‖ in violation of the clear, unambiguous language of Article 16(1).

Consequently, with respect to the EC‘s determination that LPD violated EU competition

law, I find that that determination would have preclusive effect in EU member state

national courts. Under Delaware law, therefore, that determination should be given

preclusive effect in this case as well. Furthermore, admitting the EC Decision would not

prejudice Philips N.V. because the doctrine of collateral estoppel precludes Philips N.V.

from even relitigating the issue of LPD‘s liability that was determined adversely to it.370

        The same cannot be said, however, of the EC‘s determination that Philips N.V.

was aware of, and responsible for, LPD‘s illegal conduct. Having reviewed the redacted

excerpts of the relevant EC Decision submitted by the parties in this action, I conclude

that the EC‘s findings regarding Philips N.V.‘s liability for LPD‘s actions were in fact

predicated on theories of imputed liability unique to EU competition law. In that regard,

the EC Decision did not find that Philips N.V. participated in the CRT price fixing cartel




370
        For similar reasons to those set forth in this paragraph, I hold that the EC Decision
        also is entitled to preclusive effect as to its determination that certain Philips N.V.
        CRT subsidiaries engaged in illegal price fixing before the formation of LPD.

        In post-trial briefing, Vichi has argued that Philips N.V. cannot challenge evidence
        of its and LPD‘s price fixing, due to Philips N.V.‘s failure to cooperate during
        discovery and failure to produce any contrary evidence at trial. Because I find the
        EC Decision preclusive as to the price fixing conduct of LPD and the CRT
        subsidiaries that preceded it, those arguments are largely moot. I note, however,
        that in the context of this case, those arguments are also without merit for the
        reasons I previously have stated in numerous communications with the parties,
        including primarily my decision not to enlarge this already highly complex case by
        attempting to determine independently whether Philips N.V. or LPD violated EU
        competition laws.

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directly, either before or after the formation of LPD, or that it had actual knowledge of

LPD‘s price fixing activities. Rather, the EC concluded that Philips N.V. and LPD were

an ―undertaking‖ and on that basis imputed to Philips N.V. both knowledge of LPD‘s

illegal conduct and liability for LPD‘s price fixing. To the extent that the EC Decision

may contain language suggesting direct involvement in or actual knowledge of illegal

price fixing by Philips N.V., those statements do not appear to have been necessary to the

EC‘s holding as to Philips N.V.‘s liability and, therefore, I consider them non-binding

dicta.

         Thus, if a court in an EU member state were to hear a fraud case based on Philips

N.V.‘s failure to disclose LPD‘s violations of EU competition law, and then decide that

Philips N.V. lacked the actual knowledge of the illegal conduct necessary to sustain the

fraud claim against it, I concur with Philips N.V. that the ruling would not ―run counter

to‖ the EC Decision. Stated differently, a holding that Philips N.V. did not have actual

knowledge of LPD‘s actions still would be consistent with the EC Decision that Philips

N.V. was liable for LPD‘s illegal price fixing activity, because EU competition law does

not require, in the context of an ―undertaking,‖ the same level of knowledge as a fraud

claim.

         Thus, under the doctrine of collateral estoppel, the EC Decision is preclusive

evidence of LPD‘s participation in a CRT price fixing cartel that was illegal under EU




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law, and the EC Decision is admissible on that basis.371           The EC Decision is not

preclusive, however, as to Philips N.V.‘s knowledge of or participation in that CRT

cartel, because the extent of the EC‘s findings in that regard are not clear and, more

importantly, direct involvement or knowledge is not a prerequisite to holding a parent

company liable for the anticompetitive acts of its subsidiary under EU law.

        Philips N.V. also argues that the EC Decision is inadmissible hearsay. Vichi, on

the other hand, contends that it is exempted from the hearsay rule under Delaware Rules

of Evidence (―D.R.E.‖) 803(8) and 807. Rule 803(8) exempts ―reports . . . of a public

office or agency setting forth its . . . factual findings resulting from an investigation made

pursuant to authority granted by law.‖ But, Delaware courts have held that ―prior Court

opinions come in on an ‗all or nothing‘ basis. That is, they either come in under

collateral estoppel, as conclusive proof, or they do not come in at all, as hearsay.‖ 372 For

the reasons stated previously, an administrative ruling like the EC Decision would be

treated as a ―prior judicial decision,‖ under Delaware law for collateral estoppel




371
        First Nat. Bank of Palmerton v. A.E. Simone & Co., 1998 WL 437147, at *3 (Del.
        Super. May 18, 1998) (―Where the doctrines of res judicata, collateral estoppel, or
        claim or issue preclusion make the determinations in the first case binding in the
        second, not only is the judgment in the first case admissible in the second, but, as a
        matter of substantive law, it is conclusive against the party.‖) (quoting
        McCormick, Evidence § 298 (4th ed. 1992)) (internal quotation marks omitted).
372
        Cox v. Rauch & Tinius Olsen Testing, 1999 WL 1225779, at *1 (Del. Super. Nov.
        4, 1999); Alston v. Chrysler Corp., 1999 WL 463533, at *1 (Del. Super. Apr. 16,
        1999).

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purposes.373 Thus, I admit the EC Decision only to the extent that it has preclusive effect

and will not rely on it as evidence of Philips N.V.‘s knowledge of LPD‘s violation of EU

competition laws. Therefore, and to that extent, I overrule in part and sustain in part

Philips N.V.‘s objection that the EC Decision is inadmissible hearsay.

                               C.      JX 943 and JX 944

        Joint exhibits 943 and 944 comprise minutes and summaries of over 500 meetings

of CRT and LCD price fixing cartels in which Philips N.V. is purported to have

participated from 1996 to 2006 (the ―Meeting Minutes‖). The Meeting Minutes were

prepared by Chunghwa, an entity that ―received full immunity from fines under the

[EC‘s] 2006 Leniency Notice for [the CRT] carte[l], as [Chunghwa] was the first to

reveal [its] existence to the [EC].‖374 Philips N.V. has challenged the admissibility of the

Meeting Minutes on the grounds that they are, themselves, hearsay, and that they also

contain statements that are ―hearsay within hearsay.‖ Vichi counters that the Meeting

Minutes are, at a minimum, admissible as self-authenticating certified records of

regularly conducted activity under D.R.E. 902(12), and that the contents of the Meeting

Minutes either are not hearsay or fall within an exception to the hearsay rules.

        The relevant scope of the parties‘ disagreement is narrowed by my previous

guidance as to how I would consider evidence of illegal price fixing activity in this case.

To the extent Vichi offers the Meeting Minutes as evidence of LPD‘s or Philips N.V.‘s



373
        See supra notes 363–366 and accompanying text.
374
        JX 945 at 1.

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violation of U.S. or EU competition laws, they are inadmissible, regardless of whether

they are hearsay.375 Because I have concluded that the EC Decision is a preclusive

judgment of LPD‘s participation in a price fixing cartel that was illegal under EU law, the

Meeting Minutes can be considered for the limited purpose of demonstrating Philips

N.V.‘s knowledge of LPD‘s illicit actions. Philips N.V.‘s actual awareness, or lack

thereof, of LPD‘s illegal price fixing pertains to a necessary element of Vichi‘s claim that

Philips N.V. committed fraud by failing to disclose that illegal activity. Thus, accepting

the Meeting Minutes for the limited purpose of evaluating the merits of Vichi‘s fraud

claim is consistent with this Court‘s decision to avoid an unwieldy expansion of this

litigation to include an independent determination of whether LPD or Philips N.V.

violated antitrust laws.

        Having considered the parties‘ arguments as to the admissibility of the Meeting

Minutes, I conclude that the Meeting Minutes are ―records of regularly conducted

activity‖ within the meaning of D.R.E. 803(6). First, the Meeting Minutes have been

authenticated sufficiently. Regardless of whether the certifications of Chih-Chun Liu and

Sheng-Jen Yang that Vichi presented were adequate for purposes of D.R.E. 902(12), Liu

authenticated the Meeting Minutes through his testimony at trial. Based on the testimony


375
        The evidence would be inadmissible for two reasons. First, admission of non-
        preclusive evidence of illegal price fixing would turn this case into an antitrust
        matter, which as discussed, would be contrary to this Court‘s repeated statements
        to the contrary and would prejudice unfairly Philips N.V. See supra note 355.
        Second, because I consider the EC Decision to be preclusive evidence of LPD‘s
        violation of EU competition law, admitting the Meeting Minutes as evidence of
        that same point would be needlessly cumulative.

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of Liu,376 a former executive at Chunghwa who himself participated in many of the

alleged cartel meetings, I find that JX 943 and 944 satisfy the requirements of D.R.E.

901(a) because ―there is evidence sufficient to support a finding that the matter in

question [i.e., the set of Meeting Minutes from various cartel meetings] is what [Vichi]

claims‖ them to be.

        The next issue is whether the other elements of D.R.E. 803(6) are satisfied.

Philips N.V. denies that the Meeting Minutes are admissible pursuant to Rule 803(6)

because: (1) the minutes were prepared solely by Chunghwa and not shown to any other

alleged cartel member; (2) the Meeting Minutes contain indicia of a lack of

trustworthiness; and (3) Liu is not a ―qualified witness.‖ None of these arguments is

persuasive.

        First, it is unclear why the admissibility of the Meeting Minutes should turn on

whether they had been shown to Philips N.V., LPD, or any other alleged cartel member.

Philips N.V. has not cited any authority that suggests that Chunghwa‘s unilateral control

of the Meeting Minutes undermines their admissibility. Moreover, Vichi has proffered

the Meeting Minutes as evidence on the grounds that they were Chunghwa‘s business

records, kept in the regular course of Chunghwa‘s regularly conducted business. The fact

that the Meeting Minutes were created by agents of Chunghwa only and may not reflect

accurately the substance of the meetings recorded goes to the weight this Court should

afford the Meeting Minutes, not their admissibility as business records of Chunghwa.


376
        See Tr. 265–305.

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        Second, Philips N.V.‘s objection that the Meeting Minutes are untrustworthy

because they are not ―formal business records,‖ are occasionally illegible, and are often

handwritten rings hollow.         D.R.E. 803(6) expressly permits admission of a

―memorandum, report, record, or data compilation, in any form.‖ Philips N.V. has cited

no authority nor has it made any cogent argument as to why ―any form‖ would exclude

informal handwritten notes that were made in this case, for example, on hotel stationery

or on the letterhead of a shipping company. In fact, documents in that form would not be

surprising in this context given the participants allegedly were participating in illegal

price fixing meetings. Therefore, I reject the argument that the form of the Meeting

Minutes indicates a lack of trustworthiness.377

        Finally, despite some inconsistencies in his testimony, I find Liu to be a ―qualified

witness‖ within the meaning of Rule 803(6). A key inquiry in determining whether a

witness is qualified is whether the individual is familiar with the system that produced the

records at issue.    Liu attended a large percentage of the purported cartel meetings

documented in the Meeting Minutes and approved and supervised the preparation of

many of those documents.378 Consequently, Liu is sufficiently qualified to testify as to




377
        To the extent any portions of the Meeting Minutes were illegible and could not be
        translated, Vichi has agreed that he is not seeking admission of those portions in
        evidence. Pl.‘s Mot. to Admit JX 943 and JX 944 Hr‘g Tr. 73, June 3, 2013.
        Accordingly, the Court will exclude any such portions of the Meeting Minutes.
378
        See Tr. 278–79, 289–91, 300–01, 304 (Liu).

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whether the Meeting Minutes were prepared by Chunghwa in the normal course of

business as part of their participation in the alleged cartel meetings.

        Based on their familiarity with the system for creating and maintaining the

challenged documents, a ―qualified witness‖ also must be able to attest to the fact that:

(1) the declarant in the records had knowledge to make accurate statements; (2) the

declarant recorded statements contemporaneously with the actions that were the subject

of the reports; and (3) the declarant made the record in the regular course of business

activity.379 Although Liu does not appear to have thoroughly reviewed the Meeting

Minutes in preparing his declaration or for his deposition, he did review some of them

before testifying at trial.380 For the most part, however, it appears that Liu based his

testimony regarding the various declarants who composed the Meeting Minutes on his

memory of events that transpired close to when the documents were created, rather than

on any meaningful, recent review of the Meeting Minutes themselves. Although Vichi‘s

reliance on Liu‘s memory is less than ideal, Liu testified credibly that he reviewed and

checked the Meeting Minutes contemporaneously with their creation at alleged cartel

meetings.381 Based on Liu‘s direct involvement in preparing and reviewing the Meeting




379
        Trawick v. State, 845 A.2d 505, 508–09 (Del. 2004).
380
        See Tr. 292, 304.
381
        Specifically, Liu testified that what took place at CRT meetings ―was recorded [by
        Chunghwa] because that was the foundatio[n] to implement what was agreed upon
        during the meeting. . . . The person who took the records would have to submit
        this record to his or her boss for review . . . . [W]hen the meeting minutes [were]
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Minutes around the time they were created and his credible testimony about the

declarants of the Meeting Minutes, I find Liu to be a ―qualified witness‖ pursuant to Rule

803(6).

        Having concluded that the Meeting Minutes are admissible under Rule 803(6), I

address lastly Philips N.V.‘s argument that they contain ―double hearsay.‖ Initially, I

note that Philips N.V. concedes that statements ―demonstrat[ing] that CRT manufacturers

met and discussed prices‖ are admissible as non-hearsay.382 Based on that fact and the

limited purpose for which I am admitting the Meeting Minutes (i.e., as evidence of

Philips N.V.‘s knowledge of LPD‘s participation in an illegal price fixing cartel), most, if

not all, of the relevant portions of the Meeting Minutes will not be statements offered for

the truth of the matter asserted and will not constitute inadmissible hearsay.

        The issue is somewhat more complex to the extent Vichi seeks to rely on the

Meeting Minutes to prove how LPD‘s business was affected by its alleged participation

in an illegal price fixing scheme. In that regard, Vichi cannot rely on statements made in

the Meeting Minutes prepared by Chunghwa for the truth of a statement reportedly made

by a representative of another company, such as LPD, to support his position. I find, for

example, that the Meeting Minutes could be used to demonstrate that the meeting

attendees agreed to set prices at certain levels, but cannot be used as evidence that the



        prepared either by my colleagues or my subordinates, I reviewed them. I checked
        them.‖ Tr. 289–90, 304. Liu also testified that records generally would be
        finalized ―the very next day‖ after the meeting. Id. at 290.
382
        Def.‘s Opp‘n to Pl.‘s Mot. to Admit JX943 and JX 944 at 12–13.

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attendees actually implemented those prices, which would require taking out of court

statements recorded in the Meeting Minutes for their truth.          Thus, compliance or

noncompliance with the terms of any price fixing agreements cannot be established solely

by reference to the Meeting Minutes. With that limiting caveat, and because the outcome

of this case ultimately does not turn on the admissibility of this evidence, I also will

admit in evidence those portions of JX 943 and JX 944 that Vichi relied on to prove the

extent to which the alleged cartel affected LPD, provided those statements are non-

hearsay or are admissible under Rule 803(6) and do not constitute double hearsay.383

                                   V.      ANALYSIS

        The crux of Vichi‘s claim in this litigation is that Philips N.V. and its purported

agents, Albertazzi and Golinelli, fraudulently induced Vichi to execute the Notes

transaction with LPD and thus caused Vichi to suffer approximately €200 million in

losses when LPD ultimately defaulted on those Notes. Vichi bases his fraud claim on

both affirmative misrepresentations and material omissions related to: (1) Philips N.V.‘s

purported promise to ―stand behind‖ LPD; (2) LPD‘s financial condition and prospects;




383
        Vichi also has sought to admit various other evidence of price fixing against
        Philips N.V., including JX 820, JX 822, JX 945, and JX 957. See supra note 358.
        I will admit JX 945, the EC press release announcing the EC Decision, insofar as
        the statements within it are not being offered for the truth of the matter asserted.
        In all other respects, JX 945 is inadmissible. JX 820, JX 822, and JX 957 all are
        inadmissible because they constitute inadmissible hearsay, are needlessly
        cumulative, are non-preclusive evidence of LPD‘s price fixing activities, or some
        combination of those reasons.

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and (3) LPD‘s participation in and reliance on illegal price fixing. Vichi bears the burden

of proving his fraud claim by a preponderance of the evidence.384

                                     A.       Laches

        Philips N.V. asserts as an affirmative defense that Vichi‘s fraud claim is barred by

the doctrine of laches. In a court of equity, laches is the applicable defense for untimely

commencement of an action.385 This doctrine ―is rooted in the maxim that equity aids the

vigilant, not those who slumber on their rights.‖386 Although there are no hard and fast

rules regarding laches, courts typically find laches in situations where a plaintiff

unreasonably delays in bringing a lawsuit after learning that someone has infringed upon

his or her rights, thereby prejudicing the defendant.387 The principal inquiry is whether it

would be inequitable to permit the plaintiff‘s claim to be enforced.388




384
        Paron Capital Mgmt., LLC v. Crombie, 2012 WL 2045857, at *5 (Del. Ch. May
        22, 2012), aff’d, 62 A.3d 1223 (Del. 2013).
385
        See Winner Acceptance Corp. v. Return on Capital Corp., 2008 WL 5352063, at
        *13 (Del. Ch. Dec. 23, 2008); Reid v. Spazio, 970 A.2d 176, 182 (Del. 2009).
386
        Adams v. Jankouskas, 452 A.2d 148, 157 (Del. 1982).
387
        Whittington v. Dragon Gp. L.L.C., 2010 WL 692584, at *5 (Del. Ch. Feb. 15,
        2010) (citing Reid, 970 A.2d at 182). See also Homestore, Inc. v. Tafeen, 888
        A.2d 204, 210 (Del. 2005); U.S. Cellular Inv. Co. v. Bell Atl. Mobile Sys., Inc.,
        677 A.2d 497, 502 (Del. 1996).
388
        Reid, 970 A.2d at 183.

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        The Court of Chancery generally begins a laches analysis by applying the

analogous legal statute of limitations.389 The time fixed by the statute of limitations is

deemed to create a presumptive time period in which a plaintiff must bring a claim for

purposes of the Court‘s application of laches, absent unusual or extraordinary

circumstances that would make the imposition of the statutory time bar unjust. 390 The

analogous statute of limitations for fraud and negligent misrepresentation is three years,

under Title 10, Section 8106 of the Delaware Code. Absent a basis for tolling, discussed

infra, there are no unusual or extraordinary circumstances in this case that would make

the imposition of that time bar unjust.

        ―[A] cause of action ‗accrues‘ under Section 8106 at the time of the wrongful act,

even if the plaintiff is ignorant of that cause of action.‖391 At the summary judgment

stage, I held that Vichi‘s claims arise out of the inducement of Vichi to purchase the

Notes, and that, therefore, ―the latest date that the allegedly wrongful acts could have



389
        See, e.g., In re Primedia, Inc. S’holders Litig., 2013 WL 6797114, at *11 (Del. Ch.
        Dec. 20, 2013); Winner Acceptance Corp., 2008 WL 5352063, at *13; Albert v.
        Alex. Brown Mgmt. Servs., Inc., 2005 WL 1594085, at *12 (Del. Ch. June 29,
        2005).
390
        See Reid, 970 A.2d at 183 (―Under ordinary circumstances, a suit in equity will
        not be stayed for laches before, and will be stayed after, the time fixed by the
        analogous statute of limitations at law; but, if unusual conditions or extraordinary
        circumstances make it inequitable to allow the prosecution of a suit after a briefer,
        or to forbid its maintenance after a longer period than that fixed by the statute, the
        [court] will not be bound by the statute, but will determine the extraordinary case
        in accordance with the equities which condition it.‖) (quoting Wright v. Scotton,
        121 A. 69, 73 (Del. 1923)) (internal quotation marks omitted).
391
        Wal-Mart Stores, Inc. v. AIG Life Ins. Co., 860 A.2d 312, 319 (Del. 2004).

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occurred is July 9, 2002—the date Vichi actually purchased the Notes.‖392              Vichi,

however, did not file his original complaint until November 29, 2006, over four years and

four months after his fraud claims had accrued. Thus, Vichi‘s claims are presumptively

time-barred by laches.

        Under these circumstances, Vichi bears the burden of showing that one of the

tolling doctrines adopted by Delaware courts applies here and that his claims, therefore,

were still timely when filed.393 In that regard, Vichi argues in his post-trial briefing that

the statute of limitations should be tolled because: (1) Vichi‘s injuries were inherently

unknowable; and (2) Philips N.V. fraudulently concealed its misconduct.

        According to the doctrine of inherently unknowable injuries, sometimes referred

to as the ―discovery rule,‖ a statute of limitations will not run ―where it would be

practically impossible for a plaintiff to discover the existence of a cause of action.‖ 394 A

plaintiff bears the burden of demonstrating that he was ―blamelessly ignorant‖ of both the

wrongful act and the resulting harm.395 Thus, if objective or observable factors exist to

put the plaintiff on constructive notice that a wrong has been committed, he may not rely

on the discovery rule to toll a limitations period.396 Moreover, a statute of limitations will



392
        Vichi I, 62 A.3d 26, 43 (Del. Ch. 2012).
393
        Id. (citing Winner Acceptance Corp., 2008 WL 5352063, at *14).
394
        In re Tyson Foods, Inc., 919 A.2d 563, 584 (Del. Ch. 2007); In re Dean Witter
        P’ship Litig., 1998 WL 442456, at *5 (Del. Ch. July 17, 1998).
395
        In re Tyson Foods, Inc., 919 A.2d at 584–85.
396
        See id.; In re Dean Witter, 1998 WL 442456, at *5.
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begin to run when the plaintiff discovers facts ―constituting the basis of the cause of

action or the existence of facts sufficient to put a person of ordinary intelligence and

prudence on inquiry which, if pursued, would lead to the discovery of such facts.‖397

        In addition, a statute of limitations may be tolled where a defendant fraudulently

has concealed from a plaintiff facts necessary to put him on notice of a breach. 398 To toll

a limitations period under this doctrine, a plaintiff must allege an ―affirmative act of

‗actual artifice‘ by the defendant that either prevented the plaintiff from gaining

knowledge of material facts or led the plaintiff away from the truth.‖399 As with the

discovery rule, a statute of limitations is tolled only until the plaintiff becomes aware of

his rights or until he could have become aware by the exercise of reasonable diligence.400




397
        See Wal-Mart Stores, Inc. v. AIG Life Ins. Co., 860 A.2d 312, 319 (Del. 2004)
        (quoting Coleman v. Pricewaterhouse Coopers, LLC, 854 A.2d 838, 842 (Del.
        2004)) (emphasis in original) (internal quotation marks omitted). See also In re
        Tyson Foods, Inc., 919 A.2d at 585 (―no theory will toll the statute beyond the
        point where the plaintiff was objectively aware, or should have been aware, of
        facts giving rise to the wrong. Even where a defendant uses every fraudulent
        device at its disposal to mislead a victim or obfuscate the truth, no sanctuary from
        the statute will be offered to the dilatory plaintiff who was not or should not have
        been fooled.‖) (internal citations omitted).
398
        In re Tyson Foods, Inc., 919 A.2d at 585.
399
        Id.; In re Dean Witter, 1998 WL 442456, at *5 (―Unlike the doctrine of inherently
        unknowable injuries, fraudulent concealment requires an affirmative act of
        concealment by a defendant—an ‗actual artifice‘ that prevents a plaintiff from
        gaining knowledge of the facts or some misrepresentation that is intended to put a
        plaintiff off the trail of inquiry.‖).
400
        See In re Dean Witter, 1998 WL 442456, at *5.

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        Accordingly, as to each of the three categories of alleged fraud, I must decide

whether sufficient observable or discoverable information existed to put Vichi on notice

of the grounds for his claim more than three years before he filed his original

complaint—i.e., before November 29, 2003. I also must determine whether Philips N.V.

engaged in affirmative, fraudulent conduct that effectively prevented Vichi from

obtaining or appreciating the significance of any such information. If facts providing

notice of Vichi‘s claims were available before November 29, 2003 and were not

fraudulently concealed by Philips N.V., then Vichi‘s claims are barred by laches.

                  1.     Philips N.V.’s promise to “stand behind” LPD

        Vichi alleges that Philips N.V. engaged in fraud by falsely committing to ―stand

behind‖ LPD with respect to its obligation under the Notes. Specifically, Necchi testified

that, during the Loan negotiations, Philips N.V.‘s purported agent Albertazzi emphasized

that ―behind LPD, there was Philips,‖ and that ―Philips would stand behind LPD [to]

allow LPD to meet the obligations that they were undertaking with respect to Mr.

Vichi.‖401 When LPD was on the brink of bankruptcy in late 2005, it requested financial

support from Philips N.V.402 Philips N.V., however, declined to provide LPD with

additional capital and the joint venture subsequently went bankrupt.403 Vichi cites this as

evidence that Philips N.V. never intended to fulfill its promise to ―stand behind‖ LPD.



401
        Tr. 56.
402
        JX 742A at 160264–65.
403
        See id.; JX 806 at 204.

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        I find, however, that Vichi was on inquiry notice long before November 2003 that

Philips N.V. did not intend to ―stand behind‖ LPD in the sense of ensuring repayment of

the Notes. The Notes themselves, which were purchased by Vichi on July 9, 2002, state

that they are guaranteed by LPD and make no mention of any guarantee or other

commitment by Philips N.V., which was not a party to the Notes. 404 Furthermore, the

draft information memorandum that was prepared in connection with the Notes‘ Offering

Circular and sent to Vichi‘s advisors on July 2, 2002 disclosed that ―[f]or the avoidance

of doubt, these notes do not carry the implicit nor explicit guarantee of Philips and LG

Electronics.‖405 And the Offering Circular itself, which was issued on August 26, 2002,

stated that ―[n]either Philips nor LGE is a party or a guarantor to the Notes.‖406

        The draft information memorandum and the Offering Circular, therefore,

expressly stated that Philips N.V. was not guaranteeing the Notes. Nonetheless, Necchi

testified at trial that those documents were not ―completely inconsistent‖ with Philips

N.V.‘s ―stand-behind‖ promise, because that commitment was slightly different than the

disavowed guarantee.407 According to Necchi, he and Vichi understood Philips N.V.‘s

promise to ―stand behind‖ LPD as a commitment by Philips N.V. to ―always put [LPD]




404
        JX 427.
405
        JX 388 at 23085.
406
        JX 466 at 29833.
407
        Tr. 216–17, 198.

                                          116
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in a condition where they would be able to pay.‖408 Such a commitment, however, would

constitute a more onerous obligation than directly guaranteeing repayment of €200

million on the Notes. Indeed, in light of LPD‘s ongoing losses and other substantial

financial obligations, it ultimately would have required a capital injection of $1.3 billion

to ensure that LPD would have sufficient funds to repay the Notes.409

        I find that the express statements such as ―Philips . . . is [not] a guarantor to the

Notes‖ would give ―a person of ordinary intelligence and prudence‖ serious doubts as to

whether Philips N.V. was backing the Notes with an even greater, potentially unlimited

commitment, particularly in the absence of any written evidence to that effect. Thus, in

the exercise of reasonable diligence, Vichi should have made further inquiries to verify

that Philips N.V. was prepared to honor the expansive commitment that Vichi understood

it to have made. Had Vichi made these types of inquiries, he would have discovered that

Philips N.V. did not consider itself subject to any such obligation. I find, therefore, that

Vichi was on inquiry notice of the basis for his fraud claim related to Philips N.V.‘s

―stand behind‖ commitment by, at the latest, the release of the Offering Circular on

August 26, 2002, more than four years before the filing of his original complaint.

        This finding is bolstered by the fact that the interest rate on the Notes also should

have put Vichi on notice that they contained a significant risk of default and were not

backed by Philips N.V. At trial, Roberts Brokaw, a financial expert for Philips N.V.,


408
        Tr. 200.
409
        See JX 932.21 at 1518.

                                           117
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provided unrebutted expert testimony that the rate on the Notes, 2.625 percent over

Euribor, was ―consistent with a credit rating of either single B or BB,‖ which is indicative

of non-investment grade, speculative debt.410 By contrast, the much lower interest rate

that Philips N.V. was offering on its own debt at the time of the Notes transaction

reflected an A credit rating, which is medium investment grade.411 Similarly, MPS

Finance, the Italian bank advising Vichi in connection with the Notes, stated to Necchi:

               We feel that the spread that MIVAR can reasonably ask from
               the issuer [i.e., LPD] is around 180-190 [basis points]. This is
               given that, while [Philips N.V.] pays + 40 on mid-swaps for 2
               year [bonds], given that the joint venture is 50% with the
               South Korean partner, we have to assume a worse risk spread,
               i.e., [LGE], which pays +190 in USD on 3 year [bonds].412

Thus, Vichi was on notice that he was getting a significantly higher interest rate than he

would have received for notes issued by Philips N.V. Indeed, the margin of interest over

Euribor that he obtained for the Notes was six times greater than the margin that Philips

N.V. was offering at that time. As noted by Brokaw, ―the interest rate spread on the LPD

notes in question was inconsistent with any kind of real commitment from Philips.‖413

The high interest rate on the Notes, therefore, also should have alerted Vichi to the fact

that Philips N.V. was not directly or indirectly ensuring their repayment.




410
        Tr. 823–24.
411
        Id.
412
        JX 231 at 5499 (some alterations in original).
413
        Tr. 818–19.

                                           118
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        In addition, I find that, for purposes of tolling, Philips N.V. did not fraudulently

conceal the fact that it was not ensuring repayment of the Notes. The strongest evidence

that Vichi cites in support of this basis for tolling are statements made by LPD‘s CFO,

van Bommel. van Bommel apparently told Vichi at some point over the course of several

proposed Loan restructuring meetings held in late 2003 and early 2004 that Philips N.V.

was still ―strongly committed to LPD‖ and would ―stand behind LPD as previously

promised by Philips.‖414 As an initial matter, it is not clear that van Bommel, an LPD

executive, was authorized to speak as an agent for Philips N.V. in this context.

Furthermore, there is no indication that van Bommel‘s statements were made with an

intent to deceive. After he made those statements, Philips N.V. contributed an additional

$250 million in capital to LPD and offered to provide a $50 million guarantee on the

Notes in exchange for Vichi‘s agreement to restructure some of their terms—an offer that

Vichi rejected. These efforts may have fulfilled van Bommel‘s understanding of any

―stand behind‖ promise. In any event, it was incumbent upon Vichi, in the exercise of

reasonable diligence, to make inquiries as to the precise nature of Philips N.V.‘s ongoing

commitment vis-à-vis LPD and the Notes. This was particularly so in light of the Notes‘

high interest rate and the express disclaimers of any guarantee by Philips N.V.

        For these reasons, I find that, by the time the Offering Circular was released on

August 26, 2002, Vichi was on inquiry notice that Philips N.V. did not intend to ―stand

behind‖ LDP‘s obligation under the Notes in the manner that he claims Albertazzi had


414
        van Bommel Dep. 111–12 (May 16, 2012).

                                          119
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represented it would.415 Vichi was thus on notice of the grounds for this aspect of his

fraud claim over four years before he filed his original complaint, and he has failed to

establish any basis for tolling the analogous three-year statute of limitations. Vichi‘s

claim that Philips N.V. fraudulently induced him to execute the Notes by falsely

committing to ―stand behind‖ them, therefore, is barred by laches.

                    2.      LPD’s financial condition and prospects

        The second broad category of fraud that Vichi alleges is based on Philips N.V.‘s

purported misstatements and omissions related to LPD‘s financial condition and

prospects. In essence, Vichi claims that Philips N.V. and its purported agents, Albertazzi

and Golinelli, committed fraud by falsely leading him to believe that LPD was a strong

company with a bright future, when neither of these things were true. I find, however,

that by the release of the Offering Circular on August 26, 2002, at the latest, Vichi had

obtained sufficient information regarding LPD to put him on actual or inquiry notice that

LPD‘s financial condition was troubled, that investing in LPD involved substantial




415
        The record also indicates that, by late 2003 or early 2004 at the latest, Vichi had
        actual knowledge that Philips N.V. would not ensure repayment of the Notes. In
        December 2003, during restructuring negotiations with LPD, Necchi stated that
        Vichi ―understands that there is a possibility of losing his money.‖ JX 618 at
        8431. In January 2004, Luisa Vichi, Carlo Vichi‘s daughter, wrote to Necchi that
        ―[m]y father is very worried, and we all think we will never see the
        200,000[,000].00 again.‖ JX 636. Furthermore, in February 2004, Vichi
        unsuccessfully proposed that, in exchange for the Notes being restructured, Philips
        N.V. and LGE each would agree to guarantee 50% of the Notes‘ value. JX 647.
        These statements and actions are inconsistent with a belief by Vichi that Philips
        N.V. was obligated to ―always put [LPD] in a condition where they would be able
        to pay.‖ Tr. 200 (Necchi).

                                          120
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uncertainty and risk, and that LPD might fail. In other words, Vichi was on notice, more

than three years before he filed his original complaint, that LPD was not a strong

company and that LPD had, at best, an uncertain future. Thus, the aspect of Vichi‘s fraud

claim that is based on misstatements and omissions related to LPD‘s financial condition

and prospects is also barred by laches.

        Vichi predicates this aspect of his fraud claim primarily upon statements by

Albertazzi to Necchi or Vichi during the Loan negotiations. Albertazzi admittedly stated

during those negotiations that LPD: ―was a strong company,‖ ―had a bright future,‖ ―was

profitable,‖ ―was in good shape,‖ ―didn‘t need the support of its shareholders,‖ ―was very

competitive,‖ ―was in a better position than its competitors,‖ and ―had a plan to cut costs

in a very effective manner.‖416 Necchi testified that Albertazzi also stated that ―there

were a lot of opportunities in terms of market,‖ and although ―there were some

challenges that had to be met, . . . the company was well suited to rise to these

challenges.‖417 According to Necchi, Albertazzi described LPD as ―a market maker and

price maker all over the world‖ that was ―in a position to look at [its competitors] from

top down.‖418

        To support his claim, Vichi also relies on certain public statements by Philips N.V.

For example, a Philips N.V. press release issued on November 27, 2000, announcing the



416
        Albertazzi Dep. 147–50, 258.
417
        Tr. 72.
418
        Tr. 72–73, 79.

                                          121
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anticipated formation of LPD, declared that ―the new company will ensure a global

leadership position in the CRT market.‖419 Furthermore, Philips N.V. asserted in a 2001

annual report that ―[LPD]‘s market position in tubes is very strong.‖420 And in its first

quarterly report for 2002, Philips N.V. stated that ―[t]he CRT market, in general, although

still difficult, especially with pressure from the LCD products, has stabilized.‖421

        Vichi claims that these statements by Philips N.V. and its purported agent

Albertazzi were false and misleading because Philips N.V. had ―loaded th[e] joint venture

with a lot of problems,‖422 such that LPD lacked ―any chance of being competitive in the

market.‖423 Specifically, Vichi avers that these statements were false and misleading

because of the undisclosed facts that LPD: (1) had a tight financing structure; (2) had too

high of a cost structure to be competitive; (3) was significantly undercapitalized; (4)

could only succeed by increasing prices; (5) consistently reduced and then missed its

financial plans and projections; and (6) was formed with assets that were ―bleeding.‖424



419
        JX 51 at 1220.
420
        JX 924.03 at 6–7.
421
        JX 925.03 at 253.
422
        JX 515 at 104664.
423
        Demuynck Dep. 113–14 (May 11, 2012).
424
        See Pl.‘s Post-Trial Br. 27–28, 40. Vichi also alleges that Philips N.V.‘s and
        Albertazzi‘s statements were false and misleading due to LPD‘s undisclosed
        involvement in price fixing. I recognize that, to some extent, Vichi bases his fraud
        claim on a combination of the alleged misrepresentations as to LPD being a strong
        company with a bright future and the omission of any disclosures regarding
        Philips N.V.‘s and LPD‘s alleged price fixing activities. In this opinion, I have
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        At the outset, I note that Vichi‘s assertion that LPD could only succeed by

increasing prices does not appear to be accurate. Plaintiff‘s source for this claim is a

single statement taken from the minutes of a sales meeting between Philips N.V. and

LGE in May 2001, before LPD‘s formation, that ―[p]rices might go up if consolidation

happens, otherwise our profitability will never be realized.‖425 The assertion that LPD

could only succeed by increasing prices is rebutted, however, by the five-year income

projections that LPD actually formulated and later provided to Plaintiff‘s advisors. Those

projections disclosed the average sales price assumptions on which LPD based its

forecasts of long-term profitability, and indicate that overall CRT prices would remain

essentially flat over the projection period.426

        As to the other categories of allegedly undisclosed facts, the record indicates that

Vichi received ample disclosure as to each of them before the critical date for laches

purposes. This proposition was demonstrated effectively by a table from Philips N.V.‘s

post-trial briefing, reproduced in part below, with some minor modifications.           The

disclosures recited in this table are drawn primarily from LPD‘s annual report for 2001,

the Notes‘ Offering Circular, and the draft information memorandum created in



        considered that ―aggregate‖ theory as well as Vichi‘s separate ones. I find it most
        useful and informative, however, for laches purposes, to treat Vichi‘s fraud claim
        arising from LPD‘s undisclosed involvement in and reliance upon price fixing as
        being in a separate category. See discussion infra in Section V.A.3.
425
        See Pl.‘s Post-Trial Br. ¶ 38 (citing JX 86 at 48093).
426
        See JX 388 at 23123 (showing average CRT per unit price of $68 remaining
        relatively constant throughout the projection period, with only minor fluctuations).

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connection therewith.427 Each of these documents was provided by LPD to Vichi through

his agents before or in conjunction with the release of the Offering Circular on August

26, 2002.428 Although the record is unclear as to whether Vichi himself reviewed any of

the documents provided, ―the knowledge of an agent acquired while acting within the

scope of his or her authority is imputed to the principal.‖429 Thus, regardless of whether

Vichi personally reviewed the documents, he was on notice of the information they

contained by August 26, 2002.

What Plaintiff Claims “No         Information Provided by LPD to Plaintiff in
One Disclosed . . .” (Pl.’s       Connection With the Loan . . .
Post-Trial Br. ¶ 66)
LPD had ―a tight financing        ―We are highly dependent on a USD 2 billion
structure‖                        syndicated bank facility to fund on-going business.‖
                                  JX 466 at 29831.

                                  LPD ―has not adhered to certain financial covenants set
                                  out in the [US$2 billion] facility agreement . . . which



427
        JX 381; JX 466; and JX 388, respectively.
428
        Specifically, LPD‘s 2001 annual report was provided to MPS Finance and Allen &
        Overy on June 28, 2002, see JX 381; the draft information memorandum was
        provided to, at a minimum, Allen & Overy on July 2, 2002, see JX 388; and MPS
        Finance and Allen & Overy were directly involved in the preparation of the
        Offering Circular, which was released on August 26, 2002, see JX 466. Vichi
        engaged MPS Finance as an advisor and arranger in connection with the Loan.
        See JX 788; JX 806 at 79–80. MPS Finance, in turn, retained Allen & Overy to
        assist it in executing the transaction on Vichi‘s behalf. See JX 351; Second
        Amended Compl. ¶ 53 (―Allen & Overy . . . . the legal advisers of MPS Finance
        . . . acted also on [Vichi‘s] behalf.‖). Thus, both MPS Finance and Allen & Overy
        can be considered agents of Vichi for purposes of the Loan.
429
        Albert v. Alex. Brown Mgmt. Servs., Inc., 2005 WL 2130607, at *11 (Del. Ch.
        Aug. 26, 2005); Nolan v. E. Co., 241 A.2d 885, 891 (Del. Ch. 1968), aff’d sub
        nom. Nolan v. Hershey, 249 A.2d 45 (Del. 1969).

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                                  could result in cancellation of the loan facility.‖ JX
                                  381 at 22996.

                                  ―Compliance with [the Bank Loan covenants], in
                                  general, will require EBITDA improvements . . . .‖ JX
                                  466 at 29831.

                                  ―We face refinancing risk in year 2004 when a large
                                  part of the USD 2 billion facility expires . . . .‖ Id.
―. . . LPD had too high of a cost ―[W]e certainly will be forced to accelerate a number of
structure to be competitive‖      measures . . . to survive in this highly competitive
                                  market. These include, amongst others, speeding up
                                  the migration of our industrial base to low cost regions .
                                  . . .‖ JX 381 at 22980.

                                  ―Further restructuring is expected in 2002 as
                                  LG.Philips Displays continues to . . . clos[e] its loss
                                  making factories and mov[e] its production base to
                                  lower cost areas . . . .‖ Id. at 22984.

                                  ―The initiatives we have undertaken in restructuring our
                                  business, even if successfully implemented, may not be
                                  sufficient . . . .‖ JX 466 at 29827.
―. . . LPD was significantly      LPD provided detailed financial statements and
undercapitalized‖                 projections, JX 381 at 22990–93; JX 388 at 23118–25,
                                  from which it was possible to calculate LPD‘s
                                  capitalization ratios, as Vichi‘s accounting expert, Basil
                                  Imburgia, acknowledged at trial. Tr. 645. Indeed,
                                  Imburgia concluded that LPD‘s disclosed financial
                                  information and projections showed a ―thin
                                  capitalization‖ and demonstrated a ―substantial
                                  likelihood‖ that LPD would not be able to repay the
                                  loan. See JX 884 at 18.
―. . . LPD consistently reduced   ―The past six-months has been a challenging and
and then missed its financial     difficult period for our Company. Deteriorating market
plans and projections‖            conditions impacted across businesses all over the
                                  world. . . . Against this backdrop, we could not finish
                                  this period profitable. . . . The difficult start of our
                                  Company forced us to speed up our restructuring . . . .‖
                                  JX 381 at 22979. ―The road to making 2002 a
                                  Successful Turnaround Year will not be easy,‖ id.;
                                  2001 ―saw a dramatic drop on consumer spending in
                                  electronics,‖ id.; ―[l]ooking at the future, we continue
                                          125
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                                  to face a difficult and challenging year ahead…‖ id.;
                                  ―[o]verall volume in the CRT market fell by 13%.
                                  Prices fell across all the product types by 25-30% in
                                  CDT and 10-15% in CPT,‖ id. at 22984; ―[t]he CDT
                                  market was particularly hard hit by falling PC demand
                                  and price competition from LCD monitors,‖ id.; ―[t]he
                                  PC monitor market faced a significant downturn in
                                  2001 resulting in a weaker long-term outlook,‖ JX 388
                                  at 23086.

                                  See also id. at 23086 (graph showing that IDC, a well-
                                  known market research company, had decreased PC
                                  market forecast seven times from December 2000
                                  through December 2001).
―. . . LPD was formed with        LPD lost US $348 million in its first six months of
assets that were ‗bleeding‘‖      operations, JX 381 at 22979, an additional $196 million
                                  in the first quarter of 2002, id. at 23017, and was
                                  expected to continue losses through 2002, see JX 388 at
                                  23119.

        In addition to the foregoing disclosures, in LPD‘s annual report for 2001, LPD‘s

auditors noted their uncertainty as to whether LPD could survive as a going concern,430 a

fact that Vichi‘s own accounting expert described in his expert report as a ―red flag . . .

support[ing] the conclusion that a substantial likelihood existed that LPD would not be

able to repay the loan.‖431 Necchi also testified at trial that, had he fully reviewed the

information LPD had made available, it would have made him ―stop in [his] tracks‖ and

would have ―made a difference in terms of [his] advice to Mr. Vichi.‖432




430
        JX 381 at 22989.
431
        JX 884 ¶ 51.
432
        Tr. 213.

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        I find, therefore, that the disclosures LPD provided were sufficient to place Vichi,

at a minimum, on inquiry notice as to each of the material facts that he alleges were not

disclosed and which he asserts rendered Philips N.V.‘s and Albertazzi‘s statements false

and misleading. Accordingly, these disclosures, which revealed LPD‘s troubled financial

situation, ongoing losses, and the erosion in CRT prices and demand were sufficient to

put Vichi on inquiry notice that any unqualified statements to the effect that LPD was a

―strong company‖ with a ―bright future‖ were inaccurate or incomplete.433

        As noted previously, the disclosures discussed in this section were provided on or

before August 26, 2002. LPD provided those disclosures voluntarily, and Vichi has

adduced no evidence of fraudulent concealment by Philips N.V. for tolling purposes.

Thus, I find that Vichi was on inquiry notice by August 26, 2002, over four years before

Vichi filed his original complaint, of the grounds for his claim that Philips N.V. and

Albertazzi committed fraud through misstatements and omissions related to LPD‘s




433
        In arguing against this finding, Vichi emphasizes that the documents containing
        the referenced disclosures also contained optimistic statements regarding LPD and
        its prospects. In that regard, LPD‘s annual report for 2001 stated that LPD ―is one
        of the limited few in this business that has the potential for further strengthening‖
        as ―most of [its] competitors are already stretched.‖ JX 381 at 22981. Also, the
        draft information memorandum stated that CRT ―[p]rices have stabilized since the
        end of last year,‖ and that ―[w]e have in fact witnessed moderate upwards price
        adjustments of approximately 5% across the board,‖ which was ―an encouraging
        sign for the CRT industry.‖ JX 388 at 23088. While these types of statements
        may have put a positive spin on the bleak financial and market conditions
        confronting LPD, they are insufficient to negate the inquiry notice provided by
        LPD‘s affirmative disclosures regarding the challenges it faced.

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financial condition and prospects. That aspect of Vichi‘s fraud claim, therefore, is also

barred by laches.

                       3.      LPD’s involvement in price fixing

        The third category of alleged fraud in this case stems from alleged

misrepresentations and omissions related to LPD‘s involvement in and reliance on an

illegal price fixing cartel. Specifically, Vichi argues that numerous statements by Philips

N.V. and its purported agents regarding LPD, including the same ―strong company‖

―bright future‖ statements that form the basis for the other aspects of his claim, were false

or materially misleading because neither Philips N.V. nor its agents ever disclosed LPD‘s

involvement in price fixing.

        Regarding tolling of the statute of limitations as to this claim, I agree with Vichi

that LPD‘s cartel involvement was practically impossible for Vichi to have discovered

and that Vichi was blamelessly ignorant of this aspect of the alleged fraud during the

critical period. Necchi, who represented Vichi in the Loan negotiations, testified that at

―[n]o‖ ―point prior to the close of the 200 million euro loan[] did anyone disclose

whether LPD was involved in an illegal scheme to fix, maintain or stabilize prices.‖434

Furthermore, based on the evidence in the record, the first public indication of LPD‘s

potential involvement in price fixing activity did not occur until November 2007. That

month, the EC announced in a press release that it was investigating certain CRT

manufacturers, later revealed to include Philips N.V. and LPD, on suspicion that they


434
        Tr. 84.

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―may have violated EC Treaty rules on cartels and restrictive business practices.‖ 435 That

announcement did not occur until after Vichi had filed his original complaint.

        I also note that Philips N.V. has not identified any evidence suggesting that Vichi

knew or should have known about LPD‘s involvement in price fixing before the critical

date of November 29, 2003.              This is unsurprising, because ―[p]rice-fixing

schemes . . . are inherently self-concealing,‖436 and the participants in the CRT cartel in

which LPD was involved evidently attempted to keep the cartel secret. In that regard, the

members were advised, for example, not to record meeting minutes, and each member

was limited to only two to three attendees.437 Moreover, Philips N.V. itself has denied

the existence of a price fixing cartel since the beginning of this case and has objected to

producing documents related to that topic.438

        In spite of the foregoing facts, Philips N.V. opposes any tolling of Vichi‘s fraud

claim based on LPD‘s undisclosed involvement in price fixing. Philips N.V. asserts that,

under Delaware law, tolling only applies until the plaintiff ―should have discovered the

general fraudulent scheme,‖ which does not require knowledge of ―all of the aspects of



435
        Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC Ex. A. See also id. Ex. B at
        102.
436
        In re Issuer Pl. Initial Pub. Offering Antitrust Litig., 2004 WL 487222, at *4
        (S.D.N.Y. Mar. 12, 2004) (citing State of N.Y. v. Hendrickson Bros., Inc., 840 F.2d
        1065, 1084 (2d Cir. 1988)).
437
        JX 943.357. See also JX 943.454 (CRT cartel Meeting Minutes noting that LPD
        was chastised for inviting the general staff of a fellow cartelist to the meeting).
438
        See supra notes 219–220.

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the alleged wrongful conduct.‖439 According to Philips N.V., the failure to disclose the

cartel was part of the same alleged ―general fraudulent scheme‖ as the other

misstatements and omissions related to LPD‘s financial condition and prospects, and was

just one more example of an alleged failure to disclose that LPD was not a ―strong‖

company.     Philips N.V. argues that: (1) claims related to that aggregate, general

fraudulent scheme should be barred by laches because Vichi was on notice of it more

than three years before filing his original complaint; and (2) the later discovery of the

undisclosed price fixing activity should not reset the statute of limitations.

        I disagree with this argument. The undisclosed fact that LPD was involved in a

price fixing cartel is qualitatively different in kind from the other pieces of financial and

market information that Philips N.V. allegedly withheld, and of which I found Vichi had

inquiry notice—e.g., that LPD had a tight financing structure and was significantly

undercapitalized. LPD‘s active involvement in a price fixing cartel has been found to

constitute illegal activity under, at a minimum, EU law, and that involvement created

various risks distinct from those posed by the other pieces of allegedly undisclosed

information. These included the risk that the cartel would collapse due to cheating or

other factors, resulting in the rapid loss of whatever price-bolstering effect the cartel was

producing, or that the cartel would be discovered, resulting in possible civil and criminal




439
        In re Dean Witter P’ship Litig., 1998 WL 442456, at *7 (Del. Ch. July 17, 1998),
        aff’d, 725 A.2d 441 (Del. 1999).

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liability for LPD.440 Under these circumstances, I find that Philips N.V.‘s alleged failure

to disclose adverse financial and market information about LPD and its alleged failure to

disclose LPD‘s involvement in illegal price fixing were sufficiently distinct that notice of

one does not imply notice of the other. Accordingly, I do not consider it appropriate to

treat both alleged disclosure problems as part of the same ―general fraudulent scheme‖

for laches purposes.

         Therefore, for the reasons discussed earlier in this section, I find the most

reasonable inference to be that Vichi lacked actual or inquiry notice of LPD‘s

involvement in price fixing before November 29, 2003, and it is ―unlikely that greater

diligence on the part of the plaintiff would have uncovered the cause of action any

sooner.‖441 Thus, I conclude that LPD‘s cartel involvement was inherently unknowable

and that the statute of limitations on Vichi‘s fraud claim arising from LPD‘s undisclosed

involvement in a price fixing cartel was tolled until sometime after November 29, 2003.

Hence, that aspect of Vichi‘s fraud claim is timely and not barred by laches. As this

finding of inherent unknowability is sufficient to toll the statute of limitations and render

Vichi‘s claim timely, I do not reach the question of whether, for tolling purposes, Philips

N.V. fraudulently concealed the grounds for the price fixing aspect of Vichi‘s fraud

claim.



440
         See JX 866 ¶ 41; Tr. 541–43, 556–57 (Gilbert).
441
         Glazer Steel Corp. v. Toyomenka, Inc., 392 F. Supp. 500, 503 (S.D.N.Y. 1974);
         see also In re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827, 856 (N.D. Ill.
         2010).

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        The sole aspect of Vichi‘s fraud claim that is not time-barred by laches, therefore,

is that which is based on misrepresentations and material omissions related to LPD‘s

involvement in illegal price fixing. I next consider whether Philips N.V. can be held: (1)

vicariously liable for this alleged fraud based on the conduct of Albertazzi and Golinelli;

or (2) directly liable for this alleged fraud. I address first the issue of vicarious liability.

                                 B.        Vicarious Liability

        Vichi asserts that Philips N.V. is vicariously liable for the fraudulent conduct of

LPD salesmen Albertazzi and Golinelli. To ensure the absence of a genuine conflict

between Delaware and Italian law, I assess Vichi‘s theory of indirect liability under both

legal regimes. For the reasons set forth below, I find that Vichi has failed to establish

vicarious liability under either Delaware or Italian law.

                                      1.     Delaware law

        Vichi‘s theory of vicarious liability under Delaware law is premised on the

contention that Albertazzi and Golinelli were apparent agents of Philips N.V, and that, as

a consequence, Philips N.V. can be held liable for their fraudulent conduct. In that

regard, ―[a] principal is liable for the fraud of an agent even though the fraud was

committed without the knowledge, consent or participation of the principal if the act was

done in the course of the agent‘s employment and within the apparent scope of the

agent‘s authority.‖442



442
        In re Brandywine Volkswagen, Ltd., 306 A.2d 24, 27 (Del. Super.), aff’d sub nom.
        Brandywine Volkswagen, Ltd. v. State Dep’t of Cmty. Affairs & Econ. Dev., Div.
        of Consumer Affairs, 312 A.2d 632 (Del. 1973).

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        Apparent authority, in turn, ―is the power held by an agent or other actor to affect

a principal‘s legal relations with third parties when a third party reasonably believes the

actor has authority to act on behalf of the principal and that belief is traceable to the

principal‘s manifestations.‖443 In other words, ―apparent authority is such power as a

principal holds his [a]gent out as possessing or permits him to exercise under such

circumstances as to preclude a denial of its existence.‖444 Importantly, ―[i]n dealing with

the agent the third person must act with ‗ordinary prudence and reasonable diligence‘ in

ascertaining the scope of the agent‘s authority‖ and ―he will not be permitted to claim

protection if he ignores facts illustrating the agent‘s lack of authority.‖445

        Vichi avers that Albertazzi and Golinelli repeatedly emphasized their relationship

to the greater Philips family of companies and contends that Philips N.V. created a

situation whereby Vichi reasonably believed that Albertazzi and Golinelli were agents of

Philips N.V. with the authority to describe the condition of LPD. He bases that view on

the fact that Albertazzi and Golinelli were permitted to carry Philips business cards, to

send letters bearing the Philips N.V. trademark, and to communicate using Philips email

addresses with signatures that had Philips Italia in them. Vichi also highlights that



443
        Restatement (Third) of Agency § 2.03 (2006); see also Pevar Co. v. Hawthorne,
        2010 WL 1367755, at *4 (Del. Super. Mar. 31, 2010).
444
        Pevar Co. v. Hawthorne, 2010 WL 1367755, at *4 (quoting Dweck v. Nasser, 959
        A.2d 29, 40 (Del. Ch. 2008)).
445
        Int’l Boiler Works Co. v. Gen. Waterworks Corp., 372 A.2d 176, 177 (Del. 1977)
        (quoting Arthur Jordan Piano Co. v. Lewis, 154 A. 467, 472 (Del. Super. 1930))
        (internal citations omitted).

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Albertazzi and Golinelli operated out of Philips Italia‘s offices in Italy and ―Eindhoven at

Philips‘ headquarters.‖446

        In addition to the foregoing, Vichi bases his apparent agency theory on the fact

that there was general market confusion regarding LPD‘s relationship to Philips N.V.

For example, shortly before the LPD bankruptcy in 2006, the Board of Management of

Philips N.V. expressed concern about confusion over LPD being ―seen as part of

Philips‖:

               [I]n many European countries LPD is seen as part of Philips,
               not only because Philips is a 50% shareholder in LPD and
               most of the LPD-employees are former Philips-employees
               and most LPD-sites are former Philips-sites, closely located
               to present Philips sites, but also because LPD employees
               often participate in Philips pension plans. It is therefore
               possible that Philips will be put under strong pressure from
               stakeholders like unions, government, politics and the public
               opinion to support and provide adequate social measures for
               those LPD employees that lose their jobs.447

Similarly, in a presentation given at a Philips lawyers conference shortly after LPD had

filed for bankruptcy,448 Reinoud Mangelmans, the general counsel of LPD,449 observed

that ―the inclusion of ‗Philips‘ in the LG.Philips Displays name . . . is perceived as an

ongoing (moral) link with Philips.‖450 He also noted that ―JV employees at ex-Philips



446
        Tr. 39–40, 55–56 (Necchi).
447
        JX 927.88 at 13286.
448
        Mangelmans Dep. 187–88.
449
        Id. at 22.
450
        JX 903 at 157.

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sites continue to feel that they are part of the Philips Group‖ and that ―[e]x-Philips sites

are still referred to as Philips by the press and the public.‖451

        Based on the foregoing facts, there may have been some confusion among

members of the general public about LPD‘s structure and relationship to Philips N.V.

Nonetheless, I find Vichi‘s alleged belief that Albertazzi and Golinelli were agents of

Philips N.V. to be unreasonable because he ignored numerous facts to the contrary.452

This finding is informed, in part, by my prior determination that Vichi is a sophisticated

investor and was represented by competent advisors, including Necchi and MPS

Finance.453 The record reflects that all levels of the Mivar organization, including Vichi,

knew that LPD was a separate company from Philips N.V. Necchi, for example, was told

that ―the company form that provided the tubes would change as of 1 July 2001.‖454 He

also understood that Albertazzi signed the original €25 million loan on behalf of LPD,

pursuant to a written authorization that identified him as ―Sales Director of Region

Europe‖ for LPD.455 Franco Giavarini, who was the director of the purchasing office at

Mivar, knew that LPD was a joint venture between Philips N.V. and LGE and understood




451
        Id.
452
        See Int’l Boiler Works Co. v. Gen. Waterworks Corp., 372 A.2d 176, 177 (Del.
        1977).
453
        See Vichi II, 62 A.3d 26, 49–50 (Del. Ch. 2012).
454
        Necchi Dep. 28.
455
        JX 268.

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that Albertazzi was an employee of LPD.456 Vichi, himself, had learned that the ―LG‖ in

LG.Philips Displays came from the fact that ―Philips had done a joint venture with

LG.‖457

        Moreover, while Albertazzi and Golinelli may have used nonspecific Philips email

addresses at various points, their email signatures disclosed that they worked for LPD at

Philips Italia and had their physical offices at Philips Italia‘s address. 458   And, the

challenged letters bearing Philips N.V.‘s trademark typically accompanied invoices that

were from LPD and bore the separate LPD logo.459 Thus, even the evidence that Vichi

cites in support of his theory of apparent agency reflects the fact that Philips N.V. and

LPD were distinct entities.

        To the extent Vichi considered the available information concerning Albertazzi

and Golinelli‘s roles somewhat conflicting and confusing, Vichi should have ―ma[d]e a


456
        Tr. 435, 440–41 (Giavarini).
457
        Vichi Dep. 20–21.
458
        For example, in an email to Necchi dated April 12, 2002, Golinelli used the
        following for his signature:

              Fabio Golinelli
              LG.Philips Displays – Area South
              presso (at)
              PHILIPS S.p.A.
              Via Casati, 23
              20052 MONZA (MI)
              ITALY

        JX 248.
459
        See, e.g., JX 493; JX 581; JX 697.

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preliminary investigation as to the agent[s‘] apparent authority and additional

investigations if the facts so warrant[ed].‖460 In neglecting to do so, Vichi failed to act

with reasonable diligence in ascertaining the scope of Albertazzi‘s and Golinelli‘s

authority.461 Had Vichi or his advisors undertaken an adequate investigation, they would

have been able to confirm that neither Albertazzi nor Golinelli were agents of Philips

N.V., and that neither of them had the authority to bind or speak on behalf of it.

        Additionally, even if it were reasonable for Vichi to believe that Albertazzi and

Golinelli were agents of a Philips entity other than LPD, it would not have been

reasonable for Vichi to believe that they were agents of Philips N.V., the ultimate Philips

parent and an entity by which neither of them ever had been directly employed.462

Indeed, the entity that employed Albertazzi and Golinelli before their time at LPD and

during their relationship with Vichi was Philips Italia, not Philips N.V.463 Thus, for Vichi

reasonably to have believed that Albertazzi and Golinelli were agents of Philips N.V., he

effectively would have had to ignore at least two distinct layers of corporate separation—

that between LPD and Philips Italia, and between Philips Italia and Philips N.V. In the

circumstances of this case, such a disregard for the corporate form is unjustifiable.



460
        Int’l Boiler Works Co. v. Gen. Waterworks Corp., 372 A.2d 176, 177 (Del. 1977).
461
        See id.
462
        See Albertazzi Dep. 32 (Q: Were you ever employed by Philips N.V.? A: As I
        said initially, no. . . . For sure, it‘s no.); Tr. 38 (Necchi) (testifying that Golinelli
        was ―below Mr. Albertazzi within the [Philips] organization structure‖).
463
        See Albertazzi Dep. 8–11, 221–22.

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        Furthermore, even if the reasonable belief requirement of apparent agency were

satisfied in this case, and it is not, apparent agency also requires that a person‘s belief in

the agency relationship be ―traceable to the principal‘s manifestations.‖464 Specifically,

the alleged principal must have created the impression that the apparent agent ―ha[d]

authority to act with legal consequences‖ on its behalf.465 Here, Philips N.V. had little to

no direct involvement in the negotiation or execution of the Notes transaction and never

indicated that Albertazzi or Golinelli had authority to act for Philips N.V. in regard to that

transaction. Although Philips N.V. was informed about the Loan negotiations in April of

2002 and ultimately approved the transaction via its Joint Venture Office and its

representatives on LPD‘s Supervisory Board, Loan negotiations were conducted

exclusively through LPD representatives, including Albertazzi, Golinelli, and Ho.466

Furthermore, the uncontroverted testimony of Ad Huijser, a member of Philips‘ Board of

Management at the time of the Loan negotiations, is that the Board of Philips N.V. never



464
        Restatement (Third) of Agency § 2.03 (2006).
465
        Id. § 3.03.
466
        See Tr. 50–51 (Necchi) (―Q: With whom did you negotiate the 200 million euro
        loan? A: I remember Mr. Albertazzi, Mr. Golinelli, and Mr. K-K Ho.‖); Tr. 902
        (Spaargaren) (―Q: Did you involve yourself in the discussions at all, the
        negotiations with the representatives of Mr. Vichi in any way in the loan? A: No.
        I did not. Q: To the best of your knowledge, did anybody from Philips involve
        themselves in those discussions? A: No, they did not.‖); Warmerdam Dep. 196
        (―Philips was in no way, neither was LG, involved in the borrowing by LPD from
        Mr. Vichi.‖). See also JX 754 (January 2006 internal email by Albertazzi, stating
        that Vichi ―was convinced (in good faith) to have given [the Loan] to Philips . . . .
        [d]espite [] the fact that we (I myself) reminded him—several times in the last 4
        years—that he gave the money not to Philips but to another company.‖).

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authorized Albertazzi, Golinelli, or anyone else to make representations or promises on

behalf of Philips N.V. in connection with the Loan.467 While it may have been careless

for Philips N.V. to permit employees of its subsidiaries to use, for example, generic

Philips email addresses and send correspondence bearing the Philips N.V. logo, that does

not, in this instance, amount to a manifestation that such employees ―ha[d] authority to

act with legal consequences‖ on Philips N.V.‘s behalf.

        Recognizing these obstacles to the establishment of apparent agency, Vichi

advances a theory that Philips N.V. ratified Albertazzi‘s authority to make statements on

its behalf.    According to the Restatement (Third) of Agency, ―Ratification is the

affirmance of a prior act done by another, whereby the act is given effect as if done by an

agent acting with actual authority.‖468 A person ratifies an act by ―manifesting assent that

the act shall affect the person‘s legal relations‖ or by engaging in ―conduct that justifies a

reasonable assumption that the person so consents.‖469 In order for such ratification to be

effective, ―the agent must fully disclose all relevant circumstances with respect to the

transaction to the principal prior to the ratification.‖470

        Vichi contends that Philips N.V. ratified Albertazzi‘s authority to make statements

on its behalf by using him during efforts to renegotiate the Loan in 2004. Albertazzi‘s



467
        Huijser Dep. 106–08.
468
        Restatement (Third) of Agency § 4.01(1) (2006).
469
        Id. § 4.01(2).
470
        Lewis v. Vogelstein, 699 A.2d 327, 334 (Del. Ch. 1997).

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role during the 2004 restructuring attempt, however, was limited to that of a driver,

translator, and facilitator.471 In that regard, Albertazzi would pick up and accompany

various LPD representatives or Warmerdam, who represented LPD‘s shareholders, to

meetings at Mivar, in which Albertazzi would serve as translator.472 Albertazzi also was

used to transmit communications to Vichi from LPD and Warmerdam, but his job

appears to have been limited to attaching translations or brief Italian language cover

letters to documents prepared by others.473 Nothing in these limited duties reasonably

could be interpreted as indicating that Philips N.V. was giving retroactive assent to the

representations Albertazzi allegedly made on its behalf two years earlier, in connection

with the Notes transaction.

        Furthermore, there is no evidence that Philips N.V. was ever informed, let alone

fully informed, as to the content of Albertazzi‘s communications with Vichi during the

Loan negotiations, including his allegedly fraudulent statements. This absence of full

disclosure poses yet another bar to Vichi‘s theory that Philips N.V. ratified Albertazzi‘s

authority to speak on its behalf during the initial Loan negotiations.




471
        Albertazzi Dep. 266 (―Q. . . . You participated in discussions concerning
        renegotiation of the loan, right? A. In those I had a role as -- yes, I had a role as a
        facilitator, as a driver, taxi driver, as a translator.‖).
472
        Id. at 82–83.
473
        See JX 649 (―Please find attached the offer that I was asked to send you, which
        was first made this afternoon by Mr. Peter Warmerdam over the phone.‖); JX 651
        (Albertazzi transmitting to Vichi another proposal from Warmerdam); JX 714
        (Albertazzi forwarding to Necchi an agreement from Mangelmans).

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        For all of these reasons, I conclude that Vichi has failed to demonstrate, under

Delaware law, that Philips N.V. is liable for the allegedly tortious conduct of Albertazzi

and Golinelli.

                                    2.      Italian law

        Vichi‘s theory of vicarious liability under Italian law is similarly unavailing.

Article 2049 of the Italian Civil Code describes the concept of vicarious liability as

follows: ―Masters and employers are liable for the damage caused by an unlawful act of

their servants and employees in the exercise of the functions to which they are

assigned.‖474 Both parties‘ experts agreed that, under certain circumstances, a defendant

may be held vicariously liable for the actions of a person who is not their employee, but

that this extension of vicarious liability requires the defendant to have assigned or

authorized the person to perform a task in connection with the wrongdoing.475 As Vichi‘s

Italian law expert, Trimarchi, acknowledged at trial: ―what is required for vicarious

liability under [Italy‘s Civil Code] is that the company to be held liable actually employs




474
        JX 858 Ex. 2, Ital. Civ. Code Art. 2049; accord JX 865 ¶ 39 (citing Ital. Civ. Code
        Art. 2049).
475
        See JX 858 ¶ 19 (―The case law has interpreted Article 2049 to include liability for
        persons who may not be employees but who have been assigned a task by the
        principal and committed an unlawful act, causing damage, while performing that
        task.‖); JX 865 ¶¶ 19, 45 (stating Philips N.V. only vicariously liable for
        Albertazzi and Golinelli if they ―were performing a task explicitly, implicitly, or
        indirectly authorized by Philips [N.V.].‖)

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or tasks the wrongdoer with the assignment or task that led to the liability.‖476         In this

case, there is no evidence that Philips N.V., as distinct from LPD, employed Albertazzi or

Golinelli or assigned them any task in connection with the Notes transaction. Thus, Vichi

has failed to establish that Philips N.V. could be held vicariously liable under Italian law

for Albertazzi‘s and Golinelli‘s allegedly tortious conduct related to the Loan.




476
        Tr. 410. Vichi argues for a standard of vicarious liability under Italian law that is
        more expansive than the one proposed by his own expert. Specifically, Vichi
        asserts that all that is required to hold an alleged principal vicariously liable is that
        he ―ma[d]e[] possible, or also only facilitate[d], the occurrence of the wrongful
        act‖ of someone operating within the ―framework of the [principal‘s]
        organization,‖ which Vichi suggests would include a group of related entities,
        such as the Philips family of companies. Pl.‘s Post-Trial Reply Br. 33–34 (citing
        Trib. Milano 11.3.2006, Cass. Civ. 16.3.2010, n.6325).

        Based on the expert testimony presented at trial and the Italian case law submitted,
        I find that this is an overbroad statement of the standard for vicarious liability in
        Italy, for two main reasons. First, as the experts have confirmed, a necessary
        prerequisite to vicarious liability in Italy is that the alleged principal either
        employed the agent or assigned a task to him or her. It is only once the court has
        determined that this prerequisite is met that it will look to whether the assigned
        task ―made possible‖ or ―facilitated‖ the ―wrongful act,‖ for the purpose of
        determining whether the wrong fell within the scope of employment. See JX 865
        ¶ 42.

        Second, the language that Vichi cites regarding ―the framework of the [principal‘s]
        organization‖ came from a case in which a broadcasting company was held liable
        for the defamatory on-air statements of one of its commentators; it was unrelated
        to broadening vicarious liability to other legal entities within a group of
        companies, see Cass. Civ. 16.3.2010, n.6325, as Vichi‘s expert conceded, see Tr.
        401–03. Thus, to the extent Vichi cites this language for the proposition that the
        vicarious liability of a subsidiary could be attributed to a parent company, I find
        that he misstates Italian law.

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        As for employment, there is no evidence in the record that either Albertazzi or

Golinelli ever were direct employees of Philips N.V.477           Rather, prior to LPD‘s

formation, Albertazzi and Golinelli were employees of Philips Italia, a Philips N.V.

subsidiary.478 After LPD was formed, Philips Italia and LPD entered into a ―Sales

Support Agreement‖—a type of ―Service Level Agreement‖ or ―SLA‖—whereby Philips

Italia agreed to promote and support the sale of certain products in Italy and Slovenia on

behalf of LPD.479      As part of that agreement, a sales support group that included

Albertazzi and Golinelli was assigned to ―provide their services full time‖ to LPD and

could not ―be replaced or reassigned without prior consultation of [LPD].‖480 Although

Albertazzi and Golinelli remained formally employed by and on the payroll of Philips

Italia, this appears to have been primarily for administrative reasons, and the full costs of

their employment were reimbursed by LPD.481 Philips N.V. was neither a party to the

Sales Support Agreement nor even mentioned in that agreement.

        Thus, by the time of the Loan negotiations in 2002, Albertazzi and Golinelli were

effectively full time employees of LPD, with ―100%‖ of their services assigned to the




477
        See supra note 462.
478
        See Albertazzi Dep. 8–11, 221–22.
479
        JX 105.
480
        Id. ¶ 2.2, Ex. A.
481
        Id. ¶ 7.1, Ex. A.

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joint venture.482 Albertazzi was LPD‘s ―Sales Director of Region Europe,‖ and Golinelli

sold LPD CRTs to Italian clients, including Mivar.483         In that regard, Albertazzi‘s

superior was Jim Smith, LPD‘s Regional Managing Director for Europe,484 and

Golinelli‘s immediate superior was Joaquin Iglesias, an LPD area sales manager.485 To

the extent that Albertazzi and Golinelli remained formal employees of Philips Italia after

execution of the SLA, that fact also would not qualify them as employees of Philips N.V.

Vichi‘s veil-piercing arguments were dismissed from this litigation years ago,486 and

Vichi has neither briefed nor argued a veil-piercing claim under Italian law.487

        Because Albertazzi and Golinelli were not employees of Philips N.V., the sole

question that remains for vicarious liability purposes is whether Philips N.V. assigned or

authorized them to perform a task that resulted in the alleged fraud, such as to participate

in substantive communications related to the negotiation of the Loan transaction with


482
        Id. Ex. A.
483
        See JX 268; Necchi Dep. 25.
484
        Albertazzi Dep. 31.
485
        Id. at 241–42.
486
        Vichi I, 2009 WL 4345724, at *19–20 (Del. Ch. Dec. 1, 2009). See also Vichi II,
        62 A.3d 26, 49 (Del. Ch. 2012) (―While the ‗One Philips‘ concept may reflect a
        marketing program or corporate philosophy that Philips touted as part of an effort
        to create a unified company, Vichi has not presented evidence sufficient to support
        a reasonable inference that it was meant to eradicate the corporate structure of
        Philips N.V. and its subsidiaries.‖).
487
        See Tr. 399 (Pl.‘s counsel objecting to line of questioning regarding veil-piercing
        on the grounds that ―[Trimarchi] hasn‘t been asked to give an opinion and has not
        given an opinion about corporate finality under Italian law.‖).

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Vichi and his agents. I find that there is no evidence to suggest that Philips N.V. assigned

this task to Albertazzi and Golinelli, or authorized them to perform it. As noted, by the

time the Loan discussions began, Albertazzi and Golinelli were ―provid[ing] their

services full time‖ to LPD, and had been integrated into LPD‘s organization.            The

assignment that precipitated the discussions resulting in the €200 million Loan from

Vichi to LPD was Smith‘s directive to LPD salesmen, including Albertazzi, to seek

prepayment from LPD customers, such as Vichi, for the purpose of alleviating LPD‘s

capital shortage.488 There is no evidence that Philips N.V. prompted this prepayment

initiative or was involved in the decision to assign the relevant task to LPD‘s salesmen.

        Furthermore, although Philips N.V. eventually was notified about the Loan

negotiations, there is no evidence that it ever authorized or was even aware of the roles

played by Albertazzi and Golinelli in those negotiations. As noted previously, Philips

N.V. was not significantly involved in the negotiation of the Loan.489 One of the earliest

emails that Vichi cites from LPD notifying a Philips N.V. representative of the Loan was

sent by Ho, and described the proposed Loan as having arisen from ―Jim Smith‘s initial

discussion with Mivar.‖490 Although the Loan was mentioned in presentations given to




488
        Albertazzi Dep. 97–98 (―[e]verything started when my boss, Mr. Smith, . . . asked
        me and asked all the European people to try to reduce the payment terms with all
        the customers because we need for our cash [sic]. And if that was not possible, we
        had to try to receive prepayments.‖)
489
        See supra note 466.
490
        JX 235 at 4692.

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Philips N.V.‘s Board of Management in three barrel meetings, the Loan was mentioned

on the last slide of those presentations, in a timeline of upcoming events that merely

noted LPD was ―[e]xpect[ed] to conclude deal with a customer Mivar group to raise Euro

200M 5 year money at a price equivalent to a BBB-/BB+ credit rating.‖491 Moreover, the

persons who attended those meetings testified that they did not know of Albertazzi or

Golinelli, or anything that was said by them during the Loan negotiations.492 Thus, Vichi

failed to prove that Philips N.V. had actual knowledge of the task being performed by

Albertazzi and Golinelli in connection with the Loan or that Philips N.V. authorized them

in the performance of that task.493




491
        See JX 266 at 4710; JX 276 at 34422; JX 346 at 4928.
492
        See Hommen Dep. 109; Huijser Dep. 107–08. See also van der Poel Dep. 102–03.
493
        In his effort to establish Philips N.V.‘s awareness of Albertazzi‘s and Golinelli‘s
        conduct during the Loan negotiations, Vichi relies heavily upon a June 30, 2002
        email from Hommen, then CFO of Philips N.V. and a member of Philips N.V.‘s
        Board of Management, see JX 855 Revised Sched. A, to other Philips N.V.
        executives. In the email, Hommen states: ―We have a new problem at LPD . . . .
        [I]t is time for corporate to step in and help where possible . . . . I want the
        operating people to focus on improving operations and not run around with
        bankers doing creative financing arrangements.‖ The context of these statements
        makes clear, however, that the problem to which Hommen was referring was
        LPD‘s possible breach of its financial covenants under the Bank Loan, and the
        referenced ―creative financing‖ arrangements were enumerated in the email to
        which he was responding and also related to the Bank Loan. The email makes no
        mention of Vichi, the Loan, or Albertazzi and Golinelli, and Hommen later
        confirmed that the email was in reference to the Bank Loan. See Hommen Dep.
        87. Thus, I find that this email does not support Vichi‘s contention that Philips
        N.V. knew of Albertazzi‘s and Golinelli‘s involvement with the Loan
        negotiations.

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        Through a tenuous line of reasoning, Vichi argues that Philips N.V., nonetheless,

can be deemed to have ―implicitly or indirectly‖ authorized the tasks that Albertazzi and

Golinelli performed at LPD.494 In that regard, Vichi notes that Philips N.V. had agreed,

in a contract executed with LPD, to ―cause its affiliates . . . to assist [LPD] and [LPD]

subsidiaries . . . in the conduct of the CRT Business.‖ 495 From this, Vichi infers that

Philips N.V. compelled Philips Italia to enter into the Sales Support Agreement, thereby

causing Albertazzi and Golinelli to provide services at LPD. Consequently, Vichi argues,

Philips N.V. can be deemed to have implicitly or indirectly authorized the tasks that

Albertazzi and Golinelli performed at LPD and, therefore, can be held liable for any

tortious conduct that arose from the performance of those tasks.496




494
        See Pl.‘s Post-Trial Br. 69–70 (citing JX 865 ¶ 45).
495
        JX 938.022 at 198.
496
        Vichi also asserts that Philips N.V. should be precluded from contesting Vichi‘s
        evidence and offering its own evidence regarding Philips N.V.‘s role at Philips
        Italia. Vichi seeks preclusion on this issue, because Philips N.V. was not fully
        forthcoming with discovery related to Philips Italia and refused to answer several
        interrogatories related to Philips Italia on relevancy grounds. JX 826 at Interrog.
        Resp. Nos. 2–4.         The contested information related to Philips Italia‘s
        organizational structure, the constitution of its Board of Directors and Supervisory
        Board, and the meetings of Philips Italia‘s Supervisory Group. Id. For the
        following reasons, I deny this request by Vichi for preclusion. First, Vichi has not
        pointed to any evidence that was withheld during discovery that Philips N.V. now
        seeks to use in its defense, which is the typical circumstance under which
        preclusion will be granted. See, e.g., Chesapeake Corp. v. Shore, 771 A.2d 293,
        301 (Del. Ch. 2000) (precluding defendant from using evidence withheld as
        privileged as a ―sword‖); Sammons v. Doctors for Emergency Servs., 913 A.2d
        519, 529–30 (Del. 2006) (precluding expert testimony when party failed to notify
        opponent in advance as to the nature of that testimony). Second, it does not
        appear that Vichi moved to compel the disputed evidence that it now complains
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        Vichi‘s argument is flawed for at least three reasons. First, there is no direct

evidence that Philips N.V. compelled Philips Italia to enter the Sales Support Agreement.

Although Philips N.V. did agree to ―cause its affiliates . . . to assist [LPD],‖ ostensibly

through SLAs, that agreement specified the forms of assistance to be provided to include

―Administrative Services,‖ ―IT Services,‖ and ―Site Services,‖ and did not include sales

support.497 Moreover, in a May 2001 email to LGE, Philips N.V. noted: ―we are pleased

with the offer of Philips Italy to guarantee the service level of today also to LG.Philips

Displays.‖498 That Philips Italy offered to guarantee services to LPD is inconsistent with

it being compelled to do so.

        Second, even if Philips N.V. did cause Philips Italia to enter the Sales Support

Agreement, the purpose of that agreement, and thus of the transfer of Albertazzi and

Golinelli to LPD, was ―to promote and support the sale of and solicit orders for‖ LPD

products.499 Thus, to the extent that it facilitated the Sales Support Agreement, Philips

N.V. cannot reasonably be considered to have authorized Albertazzi and Golinelli to

engage in loan discussions with LPD customers, a task unrelated to the purpose of the

agreement.




        was not produced by Philips N.V. In these circumstances, I do not consider a
        preclusion order appropriate.
497
        JX 938.022 at 198–99, Apps. A, B, D.
498
        JX 85 at 2770.
499
        JX 105 ¶¶ 2.1, 2.2.

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        Finally, Vichi has cited to no Italian case law supporting the proposition that a

chain of authorization as tenuous as the one existing between Philips N.V.‘s alleged

initiation of the Sales Support Agreement and LPD‘s assignment to Albertazzi and

Golinelli of the task of seeking prepayment from customers could support vicarious

liability under Italian law. Rather, each of the cases that Vichi cites in which a principal

was held liable for the acts of a non-employee involved the principal directly assigning or

authorizing the person to perform a task.500        While it is conceivable that indirect

authorization could form the basis for vicarious liability under Italian law under certain

circumstances, Vichi has failed to show the existence of such circumstances here.

        For the foregoing reasons, I conclude that Vichi has failed to prove any basis for

holding Philips N.V. vicariously liable, under Italian law, for the allegedly tortious

conduct of Albertazzi and Golinelli during the Loan negotiations with Vichi. Therefore,

Vichi has failed to establish his indirect theory of liability against Philips N.V. under both




500
        See, e.g., Cass. Civ. 16.3.2010, n.6325 (defendant television broadcast company
        liable for defamatory on-air statements of a commentator to whom it assigned a
        political and social commentary program); Cass. Civ. 5.3.2009, n.5370 (defendant
        insurance company liable for fraudulent sales of an independent contractor whom
        they had authorized to sell insurance and collect premiums on their behalf); Cass.
        Civ. 22.6.2007, n.14578 (same); Cass. Civ. 21.6.1999, n.6233 (defendant financial
        firm liable for the financial misappropriation of a consultant whom they had
        presented as their agent and charged with finding new clients, despite the lack of a
        formal employment agreement); Trib. Milano, 11.3.2006, in Juris Data Giuffré
        (defendant association liable for the acts of volunteer whom it had tasked with
        driving an ambulance, when that volunteer exited the ambulance and assaulted
        someone in traffic).

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Delaware and Italian law. Having reached that conclusion, I next examine whether Vichi

has established a direct theory of liability against Philips N.V.

                                      C.       Fraud

        To prove a claim for fraud, a plaintiff must prove by a preponderance of the

evidence that: (1) the defendant made a false representation; (2) the defendant knew the

representation was untrue or made the statement with reckless indifference to the truth;

(3) the defendant intended for the plaintiff to rely on the representation; (4) the plaintiff

justifiably relied on the representation; and (5) the plaintiff suffered causally related

damages.501 In addition to arising from overt misrepresentations, fraud also may occur

through deliberate concealment of material facts, or by silence in the face of a duty to

speak.502

        Following the application of laches, the only aspect of Vichi‘s fraud claim that

remains is that which is based on alleged misrepresentations and omissions related to

LPD‘s involvement in an illegal price fixing cartel. Vichi initially based this aspect of his

fraud claim both on statements by Philips N.V. and on statements by its purported agents,

Albertazzi and Golinelli. As determined supra in Section V.B, however, Vichi has failed

to establish, under either Delaware or Italian law, that Philips N.V. is vicariously liable




501
        See Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del. 1983); In re
        Wayport, Inc. Litig., 76 A.3d 296, 323 (Del. Ch. 2013); Paron Capital Mgmt.,
        LLC v. Crombie, 2012 WL 2045857, at *5 (Del. Ch. May 22, 2012).
502
        Stephenson, 462 A.2d at 1074.

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for the allegedly tortious conduct of Albertazzi or Golinelli. Thus, Philips N.V. can only

be held liable for fraud that it is alleged to have committed directly.

        In that regard, Vichi claims that Philips N.V. is directly liable for fraud as a result

of statements it made that were false or misleading in light of LPD‘s undisclosed

participation in an illegal price fixing cartel.503 Specifically, Vichi bases his direct theory




503
        In less than two pages of his post-trial briefing, Vichi also suggested a new theory
        of direct liability for fraud under Italian law based on Philips N.V.‘s alleged
        ―scheme‖ of ―forming, financing, and intimately involving itself in the affairs of
        LPD, while concealing its and LPD‘s continuing involvement in the CRT cartels.‖
        Pl.‘s Post-Trial Br. 65. I find this belated theory of direct liability to be
        procedurally improper and otherwise without merit.

        This newly asserted theory appears to be an attempt to repackage in the guise of
        fraud what is, in essence, the civil conspiracy claim that I refused to allow Vichi to
        add to his complaint in the proposed TSAC, namely, the claim that Philips N.V.
        and LPD conspired ―to conduct LPD‘s business without disclosing LPD‘s price-
        fixing activities.‖ Pl.‘s Post-Trial Br. 76–77. To the extent that this theory of
        direct liability under Italian law can be considered distinct from Vichi‘s civil
        conspiracy claim, I nonetheless decline to consider it as part of this litigation for
        similar reasons, i.e., its introduction at this late stage would be highly prejudicial
        to Philips N.V. See Ct. Ch. R. 15(b); supra note 230 and accompanying text.

        Moreover, even if Vichi were permitted to seek recovery based on his newly
        proffered theory, it would fail on legal and factual grounds. Legally, Vichi has not
        established any definition of fraud under Italian law that would be broad enough to
        encompass a defendant‘s ―forming, financing, and intimat[ely] involv[ing itself]‖
        in a subsidiary engaged in illegal activity, see supra note Error! Bookmark not
        defined., and there has been no assertion that such conduct would constitute fraud
        under Delaware law. Factually, Vichi‘s claim is premised on the assertion that
        Philips N.V. concealed ―its and LPD‘s continuing involvement in the CRT
        cartels.‖ For the reasons set forth supra in Section Error! Reference source not
        found..B, however, there is insufficient admissible evidence in the record to
        support a finding that Philips N.V., as distinct from LPD, actually participated in
        the illegal price fixing cartel. In addition, Vichi‘s primary source of evidence of
        active concealment are statements in the Meeting Minutes that likely amount to
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of liability upon public statements that were included in two Philips N.V. press

releases,504 Philips N.V.‘s 2001 Annual Management Report,505 and Philips N.V.‘s first

quarterly report for 2002.506 Below, I note the most salient examples of the statements

upon which Vichi relies.

        In March of 2000, Philips N.V. issued a press release (the ―March press release‖)

that described the CRT market as ―highly competitive‖ and quoted Gerard Kleisterlee,

then CEO of Philips Components, a Philips N.V. subsidiary and leading supplier of

CRTs,507 as stating that ―Philips N.V. has a competitive position as the world‘s leading

supplier of color picture tubes.‖508 Similarly, a Philips N.V. press release issued in

November of 2000 (the ―November press release‖) announced the signing of a letter of

intent to form LPD and declared that the new joint venture would ―ensure a global

leadership position in the CRT market.‖509 It also quoted LGE‘s CEO as stating that ―the




        inadmissible hearsay and, in any event, are from cartel meetings that Philips N.V.
        has not been shown to have attended.

        For the foregoing reasons, Vichi‘s newly proffered theory of direct liability for
        fraud under Italian law is unavailing.
504
        JX 23; JX 51.
505
        JX 924.03.
506
        JX 925.03.
507
        See JX 925.03 at Mgmt. Rpt. 24.
508
        JX 23.
509
        JX 51.

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decision for the alliance [between LGE and Philips N.V] was made in order to become

the Global leader amidst fierce competition.‖ In the same press release, Kleisterlee, who

by then had become Executive Vice President and COO of Philips N.V., declared that

―[t]he joint venture [i.e., LPD] puts us in a clear cost leadership position in a mature

market‖ and that ―based on the relationship we have developed with LG . . . we have full

confidence in this new joint venture.‖

        Philips N.V. also asserted in its 2001 Annual Management Report that ―[LPD]‘s

market position in tubes is very strong.‖510 And in its first quarterly report for 2002,

Philips N.V. stated that ―[LPD] achieved a break-even result, excluding special items.

The CRT market, in general, although still difficult, especially with pressure from the

LCD products, has stabilized.‖511

        As to the statements just recited, Vichi essentially asserts a fraud by omission

theory. In that regard, Vichi alleges that Philips N.V. committed fraud by making these

statements without disclosing LPD‘s participation in an illegal price fixing cartel. The

question remains, therefore, whether Philips N.V., through its affirmative statements and

non-disclosure of price fixing, fraudulently induced Vichi to enter the €200 million Loan

with LPD and, therefore, can be held liable for Vichi‘s losses.

        Ultimately, I conclude that Vichi has failed to establish by a preponderance of the

evidence that Philips N.V. is liable for fraud, because Vichi has not demonstrated at least


510
        JX 924.03 at 6–7.
511
        JX 925.03 at 253.

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three necessary elements of that claim. Specifically, Vichi has not shown: (1) that Philips

N.V. acted with the intent to induce Vichi to enter the Loan; (2) that Vichi actually relied

upon the allegedly misleading statements that he challenges; or (3) that those statements

and the non-disclosure of price fixing caused his losses. Before turning to those three

elements, however, I briefly address the other elements of fraud, namely, a false

representation or omission by Philips N.V., and Philips N.V.‘s scienter. Although Philips

N.V. strenuously denies the existence of either of these elements, the opposite conclusion

is sufficiently supported by the record that I assume, for the purposes of argument, that

Philips N.V. did make a false representation or omission and that it acted with scienter.

                 1.      False representation or omission and scienter

        As noted at the outset, fraud need not take the form of an overt misrepresentation;

it also may occur through concealment of material facts, or by silence when there is a

duty to speak. A duty to speak arises if a party chooses to speak, and ―his words are

materially misleading.‖512 Philips N.V.‘s public statements as to the competitiveness of

the CRT market and LPD‘s strength within that market arguably were misleading.

Philips N.V. described the CRT market as ―highly competitive‖ and quoted an LGE

executive as saying that LPD was formed ―amidst fierce competition.‖             In reality,

however, at the time these statements were made, the major players in the CRT Market—




512
        Corp. Prop. Assocs. 14 Inc. v. CHR Hldg. Corp., 2008 WL 963048, at *6 (Del.
        Ch. Apr. 10, 2008). See also Metro Commc’n Corp. BVI v. Advanced
        Mobilecomm Techs. Inc., 854 A.2d 121, 154 (Del. Ch. 2004).

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including, after its formation, LPD—were colluding in a global price fixing cartel.513

Philips N.V. also stated, among other examples, that LPD would have ―a global

leadership position in the CRT market‖ and that ―LPD‘s market position in tubes is very

strong,‖ when LPD‘s market position was at least partially supported by an illegal price

fixing cartel, the members of which faced the risk that the cartel could collapse or be

discovered and prosecuted by antitrust authorities.514 Thus, Vichi at least arguably has

shown that Philips N.V.‘s public statements were materially misleading and created a

duty on the part of Philips N.V. to disclose LPD‘s involvement in illegal price fixing.

        As for scienter, the plaintiff in a common law fraud case ―must show that the

[defendant‘s] statements were made with contemporaneous knowledge or reckless

disregard of the information which rendered misleading the statements actually made.‖515

In this case, the information that rendered Philips N.V.‘s statements misleading was

LPD‘s involvement in an illegal price fixing cartel and, for those statements made before

LPD‘s formation, the involvement of Philips N.V.‘s other CRT subsidiaries in illegal

price fixing. I have determined that the EC Decision is not preclusive as to Philips

N.V.‘s knowledge of the CRT cartel, because it is not clear that the EC reached that

specific issue and, even if it did, the EC‘s finding on that issue was not necessary to its




513
        See EC Decision; JX 945.
514
        See JX 866 ¶ 41; Tr. 541–43, 556–57 (Gilbert).
515
        Metro Commc’n Corp. BVI, 854 A.2d at 154.

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holding.516 Nonetheless, there is sufficient admissible evidence in the record to support a

reasonable inference that Philips N.V. was aware of LPD‘s and its other subsidiaries‘

participation in an illegal price fixing cartel.

        In that regard, although the EC Decision was not preclusive as to Philips N.V.‘s

knowledge, it was preclusive as to the fact that LPD was involved in an illegal price

fixing cartel under EU law and that, before LPD‘s formation, other Philips N.V.

subsidiaries had been active in the same cartel.517 Thus, before and after the creation of

LPD, there was a continuity of involvement of Philips-affiliated entities in the CRT

cartel. Moreover, the record reflects that many of the same individuals who represented

Philips subsidiaries in the cartel before the joint venture‘s formation continued to

represent LPD in the cartel after it was formed.518 In addition, Philips N.V. formed LPD

with LGE, another entity that was found liable by the EC for price fixing activity that



516
        See Section IV.B supra.
517
        Id.
518
        These individuals included, for example, Milan Baran and Leo Mink. Baran was
        the account manager for the Philips Monitors Division before LPD‘s formation,
        and he became ―Global Sales Optimization Director‖ for LPD after it was formed.
        Baran Dep. 14–19. Mink was the Commerce and Supply Manager for a Philips
        N.V. CRT subsidiary before LPD‘s formation, and he later was appointed Senior
        Commercial Manager of LPD. Mink Dep. 18–21. In his role as Commerce and
        Supply Manager, Mink was responsible for setting the prices of CRT products
        sold by Philips companies in Europe. Id. at 23–24. Following LPD‘s formation,
        Mink served on LPD‘s Pricing Board, which was responsible for setting the prices
        of the CRTs sold by LPD. Id. at 67–68. Baran and Mink attended numerous CRT
        price fixing meetings both before and after LPD‘s formation. See, e.g., JX
        943.084 (Baran); JX 943.282 (Mink); JX 943.300 (Baran); JX 943.371 (Mink); JX
        943.400 (Mink); JX 943.450 (Baran); JX 943.456 (Baran); JX 943.464 (Mink).

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preceded the creation of LPD.519         Taken together, these facts provide persuasive

circumstantial evidence that Philips N.V. was aware of its subsidiaries‘ involvement in a

CRT price fixing cartel at the time it made the statements that Vichi challenges, and I

conclude that this evidence is at least arguably sufficient to establish scienter.

        It also appears likely that knowledge of the price fixing cartel can be imputed to

Philips N.V., based on the activities of David Chang, an employee within the Philips

family of companies. Prior to LPD‘s formation, Chang was employed as the regional

executive for the Asia Pacific region by Philips Components.520 During his time at

Philips Components, Chang was actively involved in the CRT price fixing cartel, and

served as chairman of the cartel for two years.521 Following LPD‘s formation, Chang

was reassigned to serve as CEO of Philips China and also was appointed by Philips N.V.

to serve on LPD‘s Supervisory Board in June of 2001.522 Although there is no evidence

of Chang‘s continued involvement in the price fixing cartel after the creation of LPD, 523 a

reasonable inference—given the extent of his previous involvement—is that he at least

continued to be aware of the price fixing cartel and LPD‘s participation therein. In his

capacity as a Philips N.V. appointee to the LPD Supervisory Board, Chang both



519
        See EC Decision; JX 945.
520
        JX 855 Revised Sched. A.
521
        See Tr. 275–78, 280 (Liu).
522
        JX 855 Revised Sched. A.; Tr. 925–26 (Spaargaren).
523
        See Tr. 296 (Liu).

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represented Philips N.V.‘s interests and reported to Philips N.V.524 Thus, Chang served

as an agent of Philips N.V. on LPD‘s Supervisory Board and, therefore, his knowledge of

LPD‘s involvement in an illegal price fixing cartel reasonably could be imputed to

Philips N.V. as of June 2001.525

        For the foregoing reasons, I assume, without deciding, that Philips N.V. made

misleading statements that would have given rise to a duty to disclose LPD‘s

involvement in price fixing, and that Philips N.V. made those statements and omitted

LPD‘s cartel involvement with the requisite scienter.

                             2.      Intent to induce reliance

        To succeed in his fraud claim, Vichi also must show that Philips N.V. made its

misrepresentations ―with the intent to induce action or inaction by‖ Vichi.526 ―A result is




524
        See JX 180 (January 28, 2002 email from Spaargaren, Head of Philips‘ Joint
        Venture Office, to Chang stating that the Philips N.V. Board of Management had
        agreed that ―a meeting [to discuss LPD] should take place each quarter, preferably
        shortly before the [LPD] Supervisory Board Meeting, to also agree on a mandate
        for the Philips representatives. The [Board of Management] has also made it clear
        they expect to be able to give their opinion on the strategic plan as well as the
        budget, before the Supervisory Board signs it off.‖); Spaargaren Dep. 165 (May
        24, 2012) (Q: The members of the supervisory board provided feedback to LPD
        shareholders, right? A: Yes.).
525
        See supra note 429 and accompanying text.
526
        In re Wayport, Inc. Litig., 76 A.3d 296, 325 (Del. Ch. 2013) (quoting Stephenson
        v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del. 1983)). Based on the
        declarations and testimony of the parties‘ Italian law experts, Defendant‘s intent to
        induce reliance does not appear to be a necessary element of an Italian law claim
        for deceit by a third party during contract negotiations. See JX 858 ¶ 27; Tr. 742–
        43 (Bernava). I ultimately conclude, however, that Vichi also has failed to
        establish fraud due to his failure to demonstrate two additional elements—reliance
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intended if the actor either acts with the desire to cause it or acts believing that there is a

substantial certainty that the result will follow from his conduct.‖ 527 The Restatement

(Second) of Torts defines the intent requirement as follows:

                 One who makes a fraudulent misrepresentation is subject to
                 liability to the persons or class of persons whom he intends or
                 has reason to expect to act or to refrain from action in reliance
                 upon the misrepresentation, for pecuniary loss suffered by
                 them through their justifiable reliance in the type of
                 transaction in which he intends or has reason to expect their
                 conduct to be influenced.528

In this case, where Vichi‘s claim is premised on misrepresentations and a material

omission by Philips N.V., Vichi must show that Philips N.V. misrepresented or did not

disclose LPD‘s participation in the cartel, despite having a duty to do so, in order to

induce Vichi to make the Loan to LPD.

        Vichi has not met his burden in this regard. With respect to the press releases

issued in March and November of 2000, the following facts support this conclusion.

Although the letter of intent to form LPD was signed between Philips N.V. and LGE in

November 2000, LPD was not actually formed until June 11, 2001.529 Moreover, LPD




        and causation—that are required under both Delaware and Italian law. Tr. 391
        (Trimarchi). Thus, even if an Italian deceit claim does not require proof of an
        ―intent to induce reliance,‖ that would not alter my holding that there is not a
        genuine conflict between Delaware and Italian law for purposes of this case.
527
        In re Wayport, Inc. Litig., 76 A.3d at 325 (quoting Restatement (Second) of Torts
        § 531 cmt. c (1977)).
528
        Restatement (Second) of Torts § 531 (1977).
529
        JX 93.

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was financed initially with the $2 billion syndicated Bank Loan.530 It was not until

October 2001, after four months of substantial losses, that LPD actively began pursuing

additional sources of capital.531 In that month, or shortly thereafter, LPD requested

additional equity from its parent companies and, around December 2001, LPD salesmen

such as Albertazzi were directed to seek prepayment from LPD customers.532

Albertazzi‘s request for prepayments from Mivar in early 2002 led to loan discussions

that resulted in the execution of a short term €25 million loan from Mivar to LPD in April

2002,533 followed by the larger €200 million Loan from Vichi to LPD on July 9, 2002.534

        Thus, the March 2000 press release was issued before Philips N.V. and LGE had

even solidified an intent to form LPD. The November 2000 press release was issued

upon the signing of the letter of intent between Philips N.V. and LGE, but over seven

months before LPD was actually formed, nearly a year before LPD‘s need for

supplemental financing was apparent, and well over a year before the Loan negotiations

with Vichi actually commenced. Under these circumstances, I find that it would be

unreasonable to infer that Philips N.V. issued its press releases, or failed to disclose




530
        Tr. 936 (Spaargaren).
531
        JX 131.
532
        Albertazzi Dep. 97–98.
533
        Id.; Tr. 45–49 (Necchi).
534
        JX 418.

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information needed to prevent those press releases from being misleading, with an intent

to induce Vichi, or similarly situated potential creditors, to make loans to LPD.

        Vichi also challenges statements in Philips N.V.‘s Annual Management Report for

2001 and first quarterly report for 2002, which were released on approximately February

8, 2002 and April 17, 2002, respectively.535 The record indicates that Philips N.V. first

learned about the Loan discussions with Vichi on or about April 8, 2002.536 By October

2001, however, Philips N.V. was aware that LPD would require additional capital.

Philips N.V., as an LPD shareholder, had an interest in LPD obtaining a third party loan,

as it would provide an additional source of financing that Philips N.V. would not have to

contribute.537 It also would decrease the odds of LPD defaulting on its preexisting debt

and thereby triggering a default payment obligation for Philips N.V. and LGE.538 Thus,

in both February and April of 2002, it is plausible that Philips N.V. could have


535
        To the Court‘s knowledge, no evidence as to the specific release dates of these
        documents was submitted by the parties. Therefore, I take judicial notice of the
        fact that Philips N.V.‘s Annual Report and fourth quarterly report for 2001 were
        filed with the United States Securities and Exchange Commission (―SEC‖) on
        February 8, 2002, and I assume that the Annual Management Report for 2001 was
        released at approximately the same time. I also take judicial notice of the fact that
        Philips N.V.‘s first quarterly report for 2002 was filed with the SEC on April 17,
        2002, and I assume that it was released to investors on approximately that date.
        See D.R.E. 201(b) (the Court may take judicial notice of facts ―capable of accurate
        and ready determination by resort to sources whose accuracy cannot reasonably be
        questioned‖); http://edgar.sec.gov/edgar/searchedgar/companysearch.html (search
        ―Koninklijke Philips‖).
536
        See JX 235.
537
        olde Bolhaar Dep. 297–98.
538
        Ingen Housz Dep. 92–94.

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misrepresented or concealed information about LPD with the intent to induce potential

creditors, such as Vichi, to lend money to the joint venture.539

        The statements that Vichi challenges as fraudulent, however, are inconsistent with

such an intent. In Philips N.V.‘s Annual Management Report for 2001, Vichi challenges

the assertion that ―LPD‘s market position in tubes is very strong.‖ That quote, however,

appears in a sentence that signals the obsolescence of CRTs and the rise of competing

technology. Specifically, the full sentence reads: ―Although [CRTs] can still generate

substantial income for us in years to come—[LPD]‘s market position in tubes is very

strong—the real future of displays lies with newer technologies such as LCD.‖540 The

challenged statement in the first quarterly report for 2002 was similarly qualified. It

noted that: ―[LPD] achieved a break-even result, excluding special items. The CRT

market, in general, although still difficult, especially with pressure from the LCD

products, has stabilized.‖541 The express acknowledgement within these statements that

LCDs represent ―the real future of displays‖ and were ―pressur[ing]‖ the ―still difficult‖

CRT market belies Vichi‘s allegations that the statements he challenges were made with



539
        See Restatement (Second) of Torts § 531 cmt. e (1977) (The maker [of a
        misrepresentation] may have reason to expect that his misrepresentation will reach
        any of a class of persons, although he does not know the identity of the person
        whom it will reach or indeed of any individual in the class . . . . The class may
        include a rather large group, such as potential sellers, buyers, creditors, lenders or
        investors, or others who may be expected to enter into dealings in reliance upon
        the misrepresentation.) (emphasis added).
540
        JX 924.03 at 6–7.
541
        JX 925.03 at 253.

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the intent to induce Vichi or the broader class of prospective LPD creditors to lend

money to LPD.

        For the foregoing reasons, I conclude that Vichi has not demonstrated that Philips

N.V. made the challenged statements, or failed to disclose information needed to prevent

those statements from being misleading, with the intent to induce him to enter into the

Notes transaction with LPD.

                                3.       Justifiable reliance

        In addition to an intent by the defendant to induce reliance, common law fraud

requires that the plaintiff ―must in fact have acted or not acted in justifiable reliance on

the representation.‖542 ―Justifiable reliance requires that the representation relied upon

involve a matter which a reasonable person would consider important in determining his

choice of action in the transaction in question,‖ i.e., that the matter misrepresented is

material.543 In a non-disclosure claim arising from a duty to speak, the Court will

examine whether the plaintiff justifiably relied on the statements that gave rise to the duty

to speak and, if so, whether the omitted information would have been material to the

plaintiff and affected the plaintiff‘s decision.544




542
        In re Wayport, Inc. Litig., 76 A.3d 296, 325 (Del. Ch. 2013) (quoting NACCO
        Indus., Inc. v. Applica Inc., 997 A.2d 1, 29 (Del. Ch. 2009)).
543
        Lock v. Schreppler, 426 A.2d 856, 863 (Del. Super. 1981); see also Restatement
        (Second) of Torts § 538 (1977).
544
        See Lock v. Schreppler, 426 A.2d at 862–63; Tam v. Spitzer, 1995 WL 510043, at
        *9 (Del. Ch. Aug. 17, 1995). See also In re Wayport, Inc. Litig., 76 A.3d at 325.

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        Vichi has failed to demonstrate that he actually relied upon the Philips N.V.

documents containing the statements he challenges, namely, the March and November

press releases, Philips N.V.‘s Annual Management Report for 2001, and Philips N.V.‘s

first quarterly report for 2002. The record reflects, and Vichi has asserted,545 that in

deciding whether or not to make the Loan to LPD, Vichi principally relied on three

categories of information: (1) what LPD representatives told Vichi in discussions

regarding the Loan;546 (2) what LPD representatives told Vichi‘s agent Necchi in

discussions regarding the Loan;547 and (3) the documents that were provided to Vichi‘s

agents MPS Finance and Allen & Overy, before execution of the Loan.548                 The

documents that were provided prior to execution of the Loan included, among others:

LPD‘s 2001 Annual Report, LPD‘s 2001 audited financial statements, LPD‘s first quarter

2002 unaudited financial statements, and an information memorandum prepared in

connection with the Offering Circular. Those documents did not include, however, any

of the Philips N.V. documents that Vichi now contends contributed to the fraud.

        Moreover, Vichi has not identified a single piece of evidence or specific testimony

reflecting his reliance on these Philips N.V. documents. Instead, Vichi argues that the

Court should infer his reliance based on the Court‘s finding on summary judgment that



545
        See Pl.‘s Post-Trial Br. ¶¶ 56–64.
546
        Vichi Dep. 52–53, 61; Tr. 90–92 (Necchi).
547
        Vichi Dep. 47; Tr. 21, 50–51, 57–59, 86–87 (Necchi).
548
        See generally JX 381; JX 388.

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Vichi is a sophisticated party,549 and on the facts that Vichi obtained additional

information about LPD from his bankers550 and from newspaper sources.551 I am not

persuaded by this argument. Vichi bears the burden of demonstrating his reliance on the

statements that he claims fraudulently induced him to enter into the €200 million Loan

with LPD. The fact that one employee of Mivar testified that he learned LPD was a 50-

50 joint venture from an unspecified newspaper—the source for Vichi‘s claim that he

relied on newspaper sources—does not support an inference that Vichi relied on Philips

N.V.‘s press releases. Similarly, Vichi‘s status as a sophisticated party and the fact that

he was advised by bankers does not eliminate his burden to adduce evidence of his actual

reliance on Philips N.V.‘s Annual Management Report for 2001 and first quarterly report

for 2002. Ultimately, Vichi did not satisfy that burden.

        Citing federal securities fraud case law, Vichi argues, in the alternative, that

because his claim is principally one of fraud by omission, he does not need to prove

reliance in order to recover.552 As an initial matter, I note that the standards for proving

fraud claims under federal securities law and Delaware state law are similar,553 and that



549
        Vichi II, 62 A.3d 26, 49 (Del. Ch. 2012).
550
        Tr. 187 (Necchi); JX 231.
551
        Tr. 435, 440 (Giavarini).
552
        See, e.g., Affiliated Ute Citizens of Utah v. U. S., 406 U.S. 128, 153–54 (1972)
        (stating that in cases ―involving primarily a failure to disclose, positive proof of
        reliance is not a prerequisite to recovery.‖).
553
        See Brug v. Enstar Gp., Inc., 755 F. Supp. 1247, 1252 (D. Del 1991).

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federal case law, therefore, can serve as a valuable reference point in this area of the law.

Nonetheless, common law fraud in Delaware differs from federal securities fraud in

terms of reliance. As this Court stated in NACCO Industries, Inc. v. Applica Inc.554:

               Delaware‘s common law fraud remedy does not provide
               investors with expansive, market-wide relief. That is a
               domain appropriately left to the federal securities laws, the
               SEC, and the federal courts. Our law instead requires that a
               plaintiff show reliance, and our Supreme Court has declined
               to permit the fraud-on-the-market theory to be used as a
               substitute.555

Thus, contrary to Vichi‘s assertion, he is required to demonstrate actual reliance to

recover on his fraud by omission claim against Philips N.V., and the fact that the

statements he challenges as misleading and giving rise to a duty to speak were made

publicly does not eliminate that requirement.

        For the foregoing reasons, I find that Vichi has failed to demonstrate a necessary

element of his remaining fraud claim, namely, his actual reliance on the statements that

he alleges gave rise to Philips N.V.‘s duty to disclose LPD‘s involvement in price fixing.

Without Vichi‘s actual reliance on the statements giving rise to that duty, Philips N.V.‘s

failure to disclose the joint venture‘s price fixing activities is not actionable fraud under

Delaware law.




554
        997 A.2d 1 (Del. Ch. 2009).
555
        Id. at 29.

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                           4.      Causally-related damages

        My previous conclusions that the challenged statements by Philips N.V. were not

made with the intent to induce reliance and were not actually relied upon each provide an

independent and sufficient basis for holding that Vichi has failed to establish his claim for

fraud against Philips N.V. Even if, however, Vichi had been able to clear those hurdles,

for example, by establishing Philips N.V.‘s vicarious liability for the statements of

Albertazzi and Golinelli, I find that Vichi‘s claim still would have failed. Specifically,

Vichi‘s claim that Philips N.V. committed fraud by failing to disclose LPD‘s involvement

in illegal price fixing cannot succeed, due to Vichi‘s failure to prove a sufficient causal

relationship between the allegedly fraudulently withheld information and the damages

that Vichi suffered.

        To be actionable, a fraudulent misrepresentation or omission must cause the

plaintiff to suffer damages.556 The necessary causal relationship has two dimensions.

First, the misrepresentation or omission must be a factual cause of the harm in the sense

that the harm would not have occurred but for the misrepresentation or omission.557

Second, the misrepresentation or omission also must be a legal cause of the harm,

meaning that it must be a sufficiently significant cause of the harm to impose liability. 558

According to the Restatement (Second) of Torts, ―[a] fraudulent misrepresentation is a



556
        Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del. 1983).
557
        NACCO Indus., Inc. v. Applica Inc., 997 A.2d 1, 32 (Del. Ch. 2009).
558
        Id.

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legal cause of a pecuniary loss resulting from action or inaction in reliance upon it if, but

only if, the loss might reasonably be expected to result from the reliance.‖559

        In cases of fraud based on omission or nondisclosure, many courts have

interpreted legal or proximate causation as including a ―loss causation‖ requirement,

meaning that the loss ultimately must be caused by ―the materialization of the concealed

risk.‖560 Although the loss causation requirement has been most prominent in federal

securities fraud cases,561 it frequently has been analogized to the common law‘s

proximate causation requirement and extended to common law fraud claims.562 A loss




559
        Restatement (Second) of Torts § 548A (1977).
560
        Lentell v. Merrill Lynch & Co., 396 F.3d 161, 173 (2d Cir. 2005). See also Beck v.
        Prupis, 162 F.3d 1090, 1097 (11th Cir. 1998), aff’d, 529 U.S. 494 (2000) (holding
        that claim asserting ―had [plaintiff] known about the illegal activities he would not
        have made the same financial decisions‖ fails because this type of ―but for
        causation is insufficient to sustain a claim of fraud‖). See infra notes 561 & 562.
561
        See, e.g., In re Williams Sec. Litig., 558 F.3d 1130, 1142–43 (10th Cir. 2009)
        (affirming dismissal of securities fraud claims where there was no showing that
        company‘s insolvency was caused by concealed risks); Metzler Inv. GMBH v.
        Corinthian Colleges, Inc., 540 F.3d 1049, 1057 (9th Cir. 2008) (allegation that the
        company‘s ―financial performance was materially driven by [underlying fraud]
        and could cease at any time‖ insufficient to establish loss causation, when drop in
        company‘s share price was attributable to other factors); McCabe v. Ernst &
        Young, LLP, 494 F.3d 418, 425–39 (3d Cir. 2007) (explaining loss causation
        requirement and affirming dismissal of claims where plaintiff could not ―point to
        sufficient record evidence to show that the very facts misrepresented or omitted by
        [defendant] were a substantial factor in causing the [plaintiffs‘] economic loss‖).
562
        See, e.g., McAdams v. McCord, 584 F.3d 1111, 1114 (8th Cir. 2009) (―Loss
        causation in a securities fraud case is analogous to the common law‘s requirement
        of proximate causation. The plaintiff must show ‗that the loss was foreseeable and
        that the loss was caused by the materialization of the concealed risk.‘‖) (citations
        omitted); Schaaf v. Residential Funding Corp., 517 F.3d 544, 550 (8th Cir. 2008)
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causation requirement is also suggested by the Restatement (Second) of Torts, which

illustrates legal causation by noting that if a person were to ―misrepresent[] the financial

condition of a corporation in order to sell its stock‖ there would be no liability ―to a

purchaser who relies upon the misinformation . . . . [if] the shares go down because of the

sudden death of the corporation‘s leading officers.‖563 In such a case, ―[a]lthough the

misrepresentation has in fact caused the loss, since it has induced the purchase without

which the loss would not have occurred, it is not a legal cause of the loss for which the

maker is responsible.‖564

        In extending the loss causation requirement to negligence-based informed consent

actions, the Delaware Superior Court has noted that ―[m]any courts of other jurisdictions

analyzing the proximate cause element . . . have required a plaintiff to demonstrate that

. . . the undisclosed risk actually occurred, causing harm to the [plaintiff]. This approach




        (affirming dismissal of statutory and common law fraud claims and holding that:
        ‗[t]hough loss causation is an ‗exotic name‘ for this concept, the standard does not
        differ from that employed in a common law fraud case. . . . [T]he plaintiff must
        show ‗that the loss [was] foreseeable and that the loss [was] caused by the
        materialization of the concealed risk.‘‖) (citations omitted); McCabe, 494 F.3d at
        438–39 (3d Cir. 2007) (affirming dismissal of common law fraud and negligent
        misrepresentation claims, in addition to securities fraud claim, for failure to show
        loss causation). See also Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 341–42
        (2005) (rejecting argument that ―transaction causation‖ is sufficient for securities
        fraud claim and identifying the federal claim‘s common law roots.)
563
        Restatement (Second) of Torts § 548A cmt. b (1977).
564
        Id.

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is consistent with Delaware‘s definition of proximate cause.‖565        I concur with the

Superior Court. Although there does not appear to be any Delaware case law addressing

this precise issue in the fraudulent nondisclosure context,566 Delaware‘s definition of a

proximate cause as ―that direct cause without which [plaintiff‘s injury] would not have

occurred‖ supports the imposition of a loss causation requirement.567

        Vichi argues, however, that to the extent Delaware law incorporates a loss

causation requirement, Delaware and Italian law conflict, as Italian law does not impose

such a requirement on a plaintiff‘s ability to recover on a deceit claim. At the outset, I

note that Vichi‘s Italian law expert, Trimarchi, did not address the causation element of

an Italian deceit claim in any depth. His expert report merely states that an Italian deceit

claim will permit recovery of damages ―provided that causation is established.‖568




565
        Spencer v. Goodill, 2009 WL 4652960, at *7 (Del. Super. Dec. 4, 2009) (citation
        and internal quotation marks omitted).
566
        The absence of case law on this specific issue is unsurprising, as loss causation is
        undisputed in many fraud cases based on nondisclosures. See, e.g., Lock v.
        Schreppler, 426 A.2d 856, 860 (Del. Super. 1981) (real estate agent‘s
        nondisclosure of prior termite infestation alleged to be fraudulent by home buyers
        where termites had caused severe structural damage to the home); Tam v. Spitzer,
        1995 WL 510043 (Del. Ch. Aug. 17, 1995) (business seller‘s nondisclosure of the
        business‘s faltering relationship with its main customer alleged to be fraudulent by
        business acquirer when business suffered post-acquisition loss of revenues from
        that customer).
567
        Beard Research, Inc. v. Kates, 8 A.3d 573, 609 (Del. Ch. 2010), aff’d sub nom.
        ASDI, Inc. v. Beard Research, Inc., 11 A.3d 749 (Del. 2010).
568
        JX 865 ¶ 37. See also Tr. 391 (Trimarchi).

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Furthermore, Trimarchi confirmed at trial that ―defendant‘s wrong must have caused the

plaintiff‘s los[s],‖569 which is, at least, suggestive of a loss causation requirement.

        Nonetheless, Vichi appears to argue that, under Italian law, a plaintiff effectively

need only establish factual causation to recover on a deceit claim. In that regard, Vichi

asserts that, under Italian law, a tortfeasor is liable for all harmful consequences that its

victim suffered and would not have suffered but for the tortfeasor‘s conduct, 570 unless

plaintiff‘s harm arose from a supervening event with ―complete, exceptional, and atypical

autonomy‖ barring ―any connection between the remote cause and the [harmful]

event.‖571 I conclude that Vichi has failed to establish that this is an accurate summary of

Italian law regarding the causation requirement of a deceit claim, or that Italian law lacks

a proximate or loss causation requirement.

        As an initial matter, the case that Vichi cites concerning what constitutes a

supervening cause is not inconsistent with a broader proximate causation requirement for

civil liability.   Indeed, that case elsewhere notes: ―[t]he prevailing opinion is that

causation must be excluded when the [harmful] event, even if linked with a[n] action, is

not the result of what normally and naturally happens: the preceding action, even if it is a

necessary element [is] thus only a circumstance.‖572



569
        Tr. 397.
570
        D.I. No. 804 at 3 n.1 (Letter from Pl.‘s counsel to Ct.).
571
        Id. (quoting Cass Civ. 22.10.2003, n.15789) (internal quotation marks omitted).
572
        Cass Civ. 22.10.2003, n.15789.

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        Furthermore, other case law cited by Vichi‘s expert confirms the existence of a

proximate causation requirement in Italian law. In one relevant case, the Italian Civil

Supreme Court noted that:

              a harmful event is caused by another even if, without
              prejudice to the other conditions, the first event would not
              have occurred without the second (so-called condicio sine
              qua non theory). However, this causal nexus is not sufficient
              to determine a legally relevant causality. Within the causal
              chain so determined, the only causal links that are relevant are
              those that, when the event at the top of the chain occurred
              were not highly unlikely to occur (so-called adequate
              causality theory . . . ).573

        Thus, Italian law recognizes an additional prerequisite to ―legally relevant

causality,‖ namely, ―adequate causality.‖ Adequate causality precludes a party from

being held liable for events that were ―highly unlikely to occur‖ as a result of the alleged

wrongdoing—i.e., that were unforeseeable. Thus, adequate causality appears closely

analogous to proximate causation and may also include a loss causation component. The

burden of proving foreign law falls on the party seeking its application,574 yet Vichi failed

to address or even to acknowledge Italian law‘s adequate causality requirement. Because

Vichi failed to introduce more evidence explaining adequate causality, I am unable to




573
        Cass Civ. 7.7.2009, n.15895.
574
        See supra note 267 and accompanying text.

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ascertain the full scope and content of that requirement, including whether it conforms to

or conflicts with Delaware law. As a result, I apply Delaware law as to causation.575

        In this action, Vichi alleges that, because of Philips N.V.‘s failure to disclose

LPD‘s involvement in an illegal price fixing cartel, Vichi made a €200 million loan to

LPD and suffered significant losses. Specifically, on July 9, 2002, Vichi purchased €200

million of Notes from LPD‘s subsidiary, LPD Finance, which were guaranteed by

LPD.576 LPD made interest payments on the Notes for several years, but went bankrupt

in January 2006, before the principal on the Notes had been repaid.577 At some point

before LPD‘s collapse, Vichi successfully resold €5 million of the Notes to a third party

acquirer.578 Thus, Vichi claims that he is entitled to an award of €195 million in damages

from Philips N.V., plus pre-judgment interest.

        I find that Vichi has established, by a preponderance of the evidence, that Philips

N.V.‘s failure to disclose LPD‘s involvement in illegal price fixing was a factual cause of

his losses—i.e., that but for Philips N.V.‘s failure to disclose LPD‘s involvement in price

fixing, Vichi would not have made the Loan. In that regard, I accept the testimony of



575
        Id.; accord Restatement (Second) of Conflict of Laws § 138 cmt. h (1971)
        (―[W]here either no information, or else insufficient information, has been
        obtained about the foreign law, the forum will usually decide the case in
        accordance with its own local law except when to do so would not meet the needs
        of the case or would not be in the interests of justice.‖).
576
        JX 418.
577
        JX 806 at 204.
578
        JX 672 at 94–95.

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Vichi‘s antitrust expert, Richard Gilbert, that involvement in an illegal price fixing cartel

exposes a company to considerable risks. Price fixing cartels are inherently unstable and

often collapse after a few years, due to cheating or other factors, thus resulting in the

rapid loss of any price-bolstering effect they initially may have produced.579 Moreover,

the members of a price fixing cartel face a constant threat that their cartel activities will

be discovered and prosecuted by government antitrust authorities, potentially resulting in

crippling civil or criminal liability.580

        These risks likely would deter a reasonable investor from entrusting large amounts

of money to an entity it knew was involved in illegal price fixing. In addition, I find that

Vichi would have been especially unlikely to invest in LPD had he been aware of its

participation in a price fixing cartel, because, as an LPD CRT customer, he was a victim

of that cartel.581 Necchi also testified that Vichi would not have made, and Necchi would

not have recommended making, the Loan had either of them been aware of LPD‘s

involvement in price fixing.582 For these reasons, I find that Vichi has shown factual




579
        See JX 866 ¶ 41; Tr. 541–43, 556–57 (Gilbert). See also Tr. 641–42 (Imburgia).
580
        See Tr. 542 (Gilbert); JX 945. See also Tr. 642 (Imburgia).
581
        As an apparent victim of the CRT price fixing cartel, Vichi, either directly or
        through his company Mivar, likely has an independent cause of action that he or
        Mivar could bring against LPD and, perhaps, Philips N.V. for damages caused by
        their anticompetitive behaviors. Such a claim, however, is beyond the scope of
        this action and is not part of the cause of action being adjudicated here.
582
        Tr. 89.

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causation as to his claim that Philips N.V. committed fraud by failing to disclose LPD‘s

involvement in illegal price fixing.

        Vichi has not shown, however, that Philips N.V.‘s failure to disclose LPD‘s

involvement in illegal price fixing was the legal cause of his damages, because he has

failed to demonstrate that the undisclosed price fixing caused or contributed to LPD‘s

bankruptcy and ultimate inability to repay the Loan. Rather, the record reflects that

LPD‘s bankruptcy was precipitated by ―the much more rapid decline than expected of the

demand for CRT monitors and TVs‖ and the ―much more rapid than expected rise and

market penetration of LCD screens.‖583

        The existence of the CRT price fixing cartel was not established until years after

LPD‘s bankruptcy—indeed, the EC did not begin investigating CRT manufacturers on

suspicion of price fixing until nearly a year after Vichi commenced this litigation.584

Moreover, Vichi has adduced no evidence linking LPD‘s cartel involvement to its

collapse, such as evidence that there was a weakening of the cartel that negatively

impacted LPD‘s financials. In that regard, Vichi‘s expert Gilbert stated in his report:

―[t]o be clear, it is not my claim that the CRT cartel was necessarily responsible,

primarily or at all, for LPD‘s bankruptcy.‖585 Gilbert also acknowledged at trial that he

was not ―offering any opinion as to whether Mr. Vichi‘s losses were greater or less



583
        JX 806 at 12–13.
584
        Def.‘s Opp‘n to Pl.‘s Mot. for Leave to File TSAC Ex. A.
585
        JX 882 ¶ 11.

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because of any alleged cartel‖ and admitted that ―unforeseen competition from LCD was

a main factor in LPD‘s bankruptcy.‖586 Vichi‘s accounting expert Imburgia similarly

acknowledged that he did not examine any data regarding the actual contribution, if any,

of the CRT Cartel to LPD‘s eventual failure.587 In short, no persuasive evidence was

presented to rebut the otherwise reasonable inference that whatever presumably positive

effect the CRT cartel was having on LPD‘s performance at the time of the Loan

continued unabated throughout the relevant period.588

        For his part, Vichi effectively concedes that LPD‘s involvement in the price fixing

cartel was not a causal factor in LPD‘s bankruptcy. In a pretrial submission, Vichi‘s

counsel stated that he ―is not contending, and has never contended, that the price fixing



586
        Tr. 575–78.
587
        See Tr. 653–54.
588
        In his post-trial brief, Vichi argues that a weakening of the cartel should be
        inferred based on statements in some of the CRT cartel Meeting Minutes
        suggesting that various participants were not adhering to the agreements. Pl.‘s
        Opening Post-Trial Br. 64 (citing JX 943.300; JX 943.313; JX 943.327; JX
        943.371; JX 943.394; JX 943.433; JX 943.446; JX 943.450; JX 943.460; JX
        943.465; JX 943.467). Finding noncompliance based on such statements would
        require relying upon the statements for their truth, however, which would pose a
        hearsay, and likely a double hearsay, problem. As discussed in Section IV.C,
        supra, I have sustained Philips N.V.‘s double hearsay objections. Moreover,
        nearly half of the Meeting Minutes referenced by Vichi in support of this
        argument are from meetings that occurred before LPD‘s formation. Thus, to the
        extent the Meeting Minutes suggest some level of nonadherence, it appears to
        have been a longstanding issue in the cartel. On both of these grounds, therefore,
        the Meeting Minutes provide insufficient evidence from which to infer that
        nonadherence contributed to a terminal failure or weakening of the cartel prior to
        LPD‘s bankruptcy or, more generally, had an adverse effect on LPD‘s
        performance during the relevant period.

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hastened LPD‘s bankruptcy‖589 and Vichi acknowledged in post-trial briefing that

―Philips may be correct to note that LPD‘s participation in the cartels did not in and of

itself cause LPD‘s bankruptcy.‖590 Vichi argues, nonetheless, that any ―loss causation‖ or

―materialization of the concealed risk‖ requirement is satisfied, because the risks that

ultimately did contribute to LPD‘s failure—including its precarious financial condition,

the weakening CRT market, and competition from LCDs—effectively were concealed by

LPD‘s undisclosed involvement in price fixing and by the artificial boost to LPD‘s

financials that it provided. In essence, Vichi asserts that the undisclosed price fixing

―created the false appearance of health, when, in reality, LPD was deadly sick.‖591

        This argument is unpersuasive for two primary reasons. First, Vichi has not

submitted probative evidence as to the effect of the CRT cartel on LPD‘s performance.

Neither Gilbert nor Vichi‘s accounting expert, Imburgia, modeled the actual effects of the

CRT cartel on LPD or presented other evidence on that issue.592 Gilbert opined that

LPD‘s financial forecasts were sensitive to changes in price, but he did not examine what

effect, if any, the CRT cartel actually had on prices in the CRT market or on LPD‘s

financial performance.593 Similarly, Imburgia did not attempt to analyze the CRT cartel‘s



589
        Pl.‘s Opp‘n to Def.‘s Mot. in Limine to Exclude Evidence and Args. Concerning
        Price Fixing ¶ 2.
590
        Pl.‘s Post-Trial Opening Br. 64.
591
        D.I. No. 804 at 5 (letter from Pl.‘s counsel to Ct.).
592
        See Tr. 575–78 (Gilbert); Tr. 653–54 (Imburgia).
593
        See JX 866; Tr. 575–78 (Gilbert).
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real world impact on market prices, instead relying on ―median‖ cartel price impact

figures taken from various sources and assuming that they approximated the actual effect

of the CRT cartel.594 As Philips N.V.‘s antitrust expert, Robert Pindyck, noted in his

expert report, however, such an approach is problematic, because there is considerable

variation in the effect that cartels have on prices and there are numerous examples of

cartels that ―were entirely or nearly entirely unsuccessful at raising prices above

competitive levels.‖595

        In the present case, I find that it is reasonable to infer that the CRT cartel did raise

CRT prices above competitive levels to some extent because, if it did not, it would not

have made sense for LPD and its predecessors to remain involved in the cartel and to

assume the risk of being found liable for antitrust violations. Without more evidence as

to the actual impact of the CRT cartel on LPD‘s performance, however, I am unable to

conclude that the impact of the cartel was large enough to mask significantly the nature

and extent of the risks that ultimately led to LPD‘s bankruptcy.

        Second, contrary to his denials in this litigation, Vichi was on notice, when he

made the Loan, of the main risk factors that later contributed to LPD‘s bankruptcy. As

previously discussed, Vichi received extensive disclosures as to LPD‘s troubled financial

condition before execution of the Loan.596 In addition, the major market factors that



594
        See JX 884 ¶¶ 65–66; Tr. 653–54 (Imburgia).
595
        JX 877 ¶ 17.
596
        See supra Section V.A.2.

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ultimately led to LPD‘s bankruptcy, including decreased demand for CRTs, CRT price

erosion, and competition from LCDs, were risks that already had begun to manifest

themselves by the time of the Loan and were disclosed to Vichi. As LPD noted in its

Annual Report for 2001, which was provided to Vichi before execution of the Loan, ―for

the six month period [before] December 31, 2001 . . . . [o]verall volume in the CRT

market fell by 13%. Prices fell across all the product types by 25–30% in CDT and 10–

15% in CPT. The CDT market was particularly hard hit by falling PC demand and price

competition from LCD monitors. . . . [LPD‘s net loss] was $348 million.‖597 As Imburgia

acknowledged, in 2000, 2001, and 2002, the CRT market was characterized by severe

price erosion and was under high pressure due to competition from LCDs.598 Thus, the

risks of a weakening CRT market and competition from LCDs were known to Vichi at

the time of the Loan.

        Therefore, Vichi has not proven by a preponderance of the evidence that LPD‘s

collapse was due to the materialization of the primary risks that were concealed by LPD‘s

undisclosed involvement in the price fixing cartel—e.g., the risk that the cartel would

collapse or be discovered. There is also no evidence that the undisclosed price fixing

effectively concealed other risk factors that did contribute to LPD‘s bankruptcy, such as

its fragile financial condition, the weakening CRT market, and competition from LCDs.

Rather, the record reflects that Vichi had been informed and was aware of these risks at


597
        JX 381 at 22984.
598
        See Tr. 659; JX 884 ¶ 16.

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the time he made the Loan. For these reasons, I conclude that, even if Vichi had

established the other elements of his claim that Philips N.V. committed fraud by failing to

disclose LPD‘s involvement in illegal price fixing, Vichi ultimately would have been

unable to prevail on that claim due to his failure to establish the ―loss causation‖

component of legal or proximate causation.

                          D.      Negligent Misrepresentation

        Finally, Vichi also asserted a negligent misrepresentation claim against Philips

N.V. based on the same challenged statements that formed the basis of his fraud claim,

namely, statements in the March and November 2000 press releases, Philips N.V.‘s 2001

Annual Management Report, and Philips N.V.‘s first quarterly report for 2002.

        As noted previously, negligent misrepresentation is essentially a species of fraud

with a lesser state of mind requirement, but with the added element that the defendant

must owe a pecuniary duty to the plaintiff. Specifically, to recover on a negligent

misrepresentation claim, a plaintiff must demonstrate that: (1) the defendant had a

pecuniary duty to provide accurate information, (2) the defendant supplied false

information, (3) the defendant failed to exercise reasonable care in obtaining or

communicating the information, and (4) the plaintiff suffered a pecuniary loss caused by

justifiable reliance upon the false information.599




599
        Corp. Prop. Assocs. 14 Inc. v. CHR Hldg. Corp., 2008 WL 963048, at *8 (Del.
        Ch. Apr. 10, 2008) (citing Steinman v. Levine, 2002 WL 31761252, at *15 (Del.
        Ch. Nov. 27, 2002)).

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        Philips N.V., as LPD‘s 50% plus one shareholder, arguably had a pecuniary

interest in the Loan, because it represented an additional source of capital that Philips

N.V. would not have to contribute.600 It also decreased LPD‘s odds of defaulting on its

other obligations, thereby reducing the likelihood that Philips N.V. would have to honor

its fiscal obligations triggered by an LPD default.601 The statements by Philips N.V. that

Vichi challenges, however, were not made within the context of the Loan transaction.

Rather, they were general public statements. Thus, it would not appear that Philips N.V.

owed Vichi a pecuniary duty as to those statements.

        Furthermore, even if Philips N.V. did owe such a duty, Vichi‘s negligent

misrepresentation claim would fail for the same reasons as those set forth previously in

my discussion of Vichi‘s fraud claim. Vichi has failed to demonstrate his actual reliance

upon the statements by Philips N.V. that he alleges were false or misleading. 602 Vichi

also has failed to demonstrate that those statements—or the undisclosed price fixing that

allegedly made those statements misleading—were proximate causes of the losses he

ultimately suffered when LPD was unable to repay the Loan. 603 Thus, Vichi‘s negligent

misrepresentation claim against Philips N.V. also fails.




600
        olde Bolhaar Dep. 297–98.
601
        Ingen Housz Dep. 92–94.
602
        See supra Section V.C.3.
603
        See supra Section V.C.4.

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                                VI.     CONCLUSION

       For the reasons stated in this Opinion, I conclude that Vichi has failed to prove his

claims against Philips N.V. for fraud under Delaware law or deceit under Italian law. I

also grant in part and deny in part Vichi‘s Motion for Leave to File the TSAC, which was

filed under Court of Chancery Rules 15(b) and 15(d). Specifically, I grant Vichi‘s

motion in part by treating the negligent misrepresentation claim included in the proposed

TSAC submitted with Vichi‘s motion as if it had been raised in the pleadings. To clarify

the record, I also grant Vichi leave to file a modified form of the TSAC, which shall

include all unchanged material from the previous operative complaint and paragraphs 244

through 326, including relevant section headings, from the proposed TSAC. In all other

respects, Vichi‘s Motion for Leave to File the TSAC is denied. In addition, I grant in part

Vichi‘s motion to admit JX 943 and 944 to the extent indicated in this Opinion; in all

other respects, that motion is denied. Finally, I hold that Vichi failed to prove his claim

for negligent misrepresentation under Delaware law, as reflected in the TSAC, and

dismiss that claim, as well.

       I am entering concurrently with this Opinion, therefore, a Judgment in favor of

Philips N.V. on all the remaining claims in this action and dismissing those claims with

prejudice.




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